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             Exhibit 361
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      THE DEEP RIG: HOW
    ELECTION FRAUD COST
     DONALD J. TRUMP THE
    WHITE HOUSE, BY A MAN
    WHO DID NOT VOTE FOR
             HIM

    (or what to send friends who ask,
   "Why do you doubt the integrity of
            Election 2020?")




               PAT R I C K B Y R N E




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THE DEEP RIG: HOW ELECTION FRAUD COST
DONALD J. TRUMP THE WHITE HOUSE, BY A
     MAN WHO DID NOT VOTE FOR HIM
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First Printing, 2021
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        Dedicated to the team of cyber-ninjas and otherwise-
      warriors who comprised the "Bad News Bears," and to all
       who remember that, "just government derives its powers
        from the consent of the governed," our consent being
          determined in elections that are free, fair and
                            transparent.
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  “Political language is designed to make lies sound truthful and murder
respectable, and to give an appearance of solidity to pure wind.”
                                                  - Politics & The English Language,
                                                                George Orwell (1946)




  “… the participants want the secret history of the 2020 election told, even
though it sounds like a paranoid fever dream–a well-funded cabal of powerful
people, ranging across industries and ideologies, working together behind the
scenes to influence perceptions, change rules and laws, steer media coverage and
control the flow of information. They were not rigging the election; they were
fortifying it. And they believe the public needs to understand the system’s fragility
in order to ensure that democracy in America endures.”
   – “The Secret History of the Shadow Campaign That Saved the 2020 Election”
                                                          (Time, February 4, 2021)




  Great minds discuss ideas. Average minds discuss events. Small minds discuss
people.
  - Eleanore Roosevelt
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                                          1



                            Introduction

Introduction

I had a ringside seat to election events from November 3, 2020 to January 20,
2021, and feel a duty to tell the world what happened. I will not be regurgitating
the headline events everyone will have read, but will aim to explain what was
going on behind the scenes, and give my best account of why things played out as
they did.

Between January 9 and January 21, 2021, I had Covid. When I recovered, out of
an interest in not letting the public suffer from my procrastination and weakness,
I drafted and published this story in installments (reserving the right to re-edit as I
went) that appeared from January 23 to February 9, 2021 on DeepCapture.com,
the anti-corruption website. Thus you might think of the exercise as having been
an odd one, wherein I drafted this book but did so publicly, that the public need
not wait to begin having its curiosity addressed. I have taken those installments as
a starting point, but have substantially reorganized, rewritten, and added material.

It would be natural for the reader to question my motives, to wonder if I have an
ax to grind or wish to accomplish something in writing this other than what I
claim (that I feel a duty to my country to give an honest account of what I saw
over those nine weeks, and to do so with dispatch). So I close this with four
statements to clarify my philosophical orientation:
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1. I have always voted Libertarian for President, and have never voted for a
   Republican or Democrat for President. Thus voting for Donald Trump was
   never a consideration for me, one way or the other.

   1. I agree with about 75% of Trump’s policy positions. Our nation is
      supposed to embody “consent of the governed,” yet I do not remember
      “the governed” ever signing up for forever-wars; or agreeing to
      outsource our middle class to China, or agreeing (without evidence or
      even discussion) to disband our borders and thus do away with the
      Westphalian nation-state system that has served the world for three and
      a half centuries. I remember our elites doing that, but not the governed.
      So I agree with Donald Trump’s policy direction, but still fault him for
      one big thing: he should have made ethnic relations more central to his
      presidency. And I am not sure he did not, on occasion, tickle sentiments
      that shouldn’t be tickled (e.g., discussing how “Mexico is sending us
      their rapists” was bringing up an issue worthy of discussion, but it have
      been brought up in a more respectful way).
   2. While I was even once Left-curious, and tried to maintain a position of
      being Left-friendly, and I confess that at this point I find the majority of
      activist Democrats to be intellectually dishonest and lacking in the most
      fundamental understanding of what made our republic work and how
      to fix it. Moreover, I am disgusted by the Goon-ism they have embraced
      as a political creed.

2. Having been inside this election fraud issue for months, having gotten to
   know some big brains in it, professors and technologists and computer
   scientists, the estimate I trust the most comes from one of them, an esteemed
   government scientist (think “rocket science” but I may be being
   metaphorical to some degree). For a couple decades, this scientist and
   colleagues from an esteemed government laboratory have been making a
   hobby of the study of election fraud. The final estimate of this scientist is
   that Donald Trump probably got around 79 million votes and Joe Biden got
   68 million votes. Through chicanery, Trump ended up with 74 million,
   Biden with 80 million. The professor in question may not be exactly right,
   but his numbers convey my rough sense of the magnitude of this election
   steal.
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3. This steal, the “Deep Rig”, should have been child’s play to reveal and
   reverse. On December 18, President Trump and I spent 4.5 hours together,
   and I let him know that I believed defeating it was a 3-foot putt (I’ve never
   golfed a hole in my life, but I hoped the metaphor might speak to him). His
   team was pursuing a 40-foot shot from the sand trap that they needed to
   sink, but if he would just listen to Flynn, Sidney, and me, there was an easy 3-
   foot putt he was not seeing. In the course of that meeting there came a
   moment that I felt something much different for Donald Trump than I had
   expected I would feel, something that made me want to go put an arm
   around the man and give him a long squeeze of reassurance. What was it I
   felt? I’m still not sure: Commiseration for a tired man? A kind of love? Or
   just deep sadness, that I could see he understood he was failing on the most
   colossal of scales, he was losing, but he could not put the pieces together? Yet
   it was child’s play to defeat. I wanted to scold him and weep for him at the
   same time. Yet I hadn't even voted for him.
4. How do I feel about Donald Trump? Any good explanation needs to start
   with family’s history as a Horatio Alger dream.

   1. My folks were of working-class Irish roots from New Jersey
      (Bridgeport, Paterson, Atlantic City, Wildwood, and Cape May). My
      Pop was Rutgers ’52 (Air Force ROTC), and when my folks were living
      poor as church-mice at the U of Michigan, my Pop studying actuarial
      math, when their three sons began popping into existence. I was last,
      born in Ft. Wayne, Indiana, in 1962. We grew up bouncing around
      New England as my father changed life insurance jobs nearly every year.
      Passed over in 1976 in Hartford for a promotion at Travelers Insurance
      that he thought he deserved, my Pop took a job at a broken and
      insolvent auto insurer in the South: a month later an odd fellow from
      Omaha showed up on our doorstep, met my dad, and began investing
      heavily in his new employer. That same day, my Pop cancelled his order
      for our family’s first new car (a station wagon) and sunk it into stock in
      his new friend’s firm. My dad’s new employer, GEICO, went on to big
      things, and my dad’s investment in the stock of his new Omaha friend,
      Warren Buffett, also worked out well for our family. Most importantly,
      Buffett became my tutor in life.
   2. As the years went by my family grew wealthy (by the time I was 16 my
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      parents were millionaires, and by the time I finished college they were
      millionaires many times over), and Buffett grew into a billionaire and
      then into the mythical figure he has since become. All along the way, a
      continual topic of conversation among Buffett, myself, and my parents,
      the most continual conversation, was the role of the affluent in society,
      their proper behavior, their duties to other citizens and to the country
      (unlike lots of other rich guys, both Buffett and my Pop were always
      intensely patriotic men).
   3. Stylistically, Donald J. Trump is the embodiment of everything I was
      raised to think was wrong about rich people in America. After JFK, my
      parents never voted anything but Republican, but my mother did not
      vote for Trump in 2016, voted Libertarian (!) in 2020, and by January
      6, 2021 though Trump was a madman who should be dragged from the
      White House. My father died in 2013, but I don’t know if he would
      have voted for Trump in 2016, or in 2020. So if you wish honest
      account of the intellectual milieu from which I hail, that is it.
   4. As for myself, frankly, the braggadocio, the gaudy display of wealth, the
      loudness in manner and taste with which Trump burst onto the scene in
      the 1980s, turned me off so much that I never tuned in to him again.
      For example, I never once saw his TV show. Only when he ran for
      President did I tune in again on Donald J. Trump. Since then, and
      especially in recent months, my feelings about him became decidedly
      more complex, as will be revealed in this book.

So that is my orientation. Enjoy the tale. I didn’t enjoy writing it, but I felt I owed
it to you.

Your humble servant,

Patrick M. Byrne

February 11, 2021
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                                        1



         Chapter 1: Why I Got Involved Before
        November 3 & What I Learned Because I
                         did



CHAPTER 1: WHY I GOT INVOLVED BEFORE NOVEMBER 3 &
           WHAT I LEARNED BECAUSE I DID

  In late July, 2020 a friend from Montana, a stolid, part Native American fellow
several years my junior, visited me at home in Utah to check on my health. Over
the first months of the pandemic one of my legs had gone paralyzed, in early July I
had surgery on my spinal cord. My friend wanted to see if I could walk again, and
when he saw I could, to tell me of a group of people, some ex-federal some not,
some cyber-experts and some of other expertise, who were organizing on the
subject of election fraud. He was adamant I get involved to help them. My friend
was a squared-away individual, and I took his advice and requests seriously.
  The next day, August 1, my friend died in a plane crash. As the coincidence was
troubling, I looked into it (I am a multi-engine instrument land and seaplane
pilot). It does seem to me to have been the error of his instructor, who flew the
plane into a Montana box canyon without enough power to climb out.

  At my friend’s funeral I met some of the people he had described. A sober, quiet
man with a FEMA background and a deep knowledge of bio-warfare; a retired
Army Colonel with a background in Military Intelligence including psyops; other
men and women with backgrounds in everything from law enforcement to cyber
operations in military contexts and in support of law enforcement (such as, most
recently, operating against human trafficking rings in the Southwest), to the study
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of reverse-engineering mass election fraud.
   Why were they studying the subject of mass election fraud? Because there were
irregularities in the Dallas 2018 election, and those events had spawned a network
of cyber-enthusiasts working on election fraud. They were convinced that
industrial scale election fraud was possible, and on its way. Soon, key players were
dropping through and seeing me in Utah, and I, still recovering from surgery, was
driving around to meet them in other cities.

  I will write of, “white hat hackers”. I should make clear that I am referring to
people who not only follow the law, they operate under contract and at the
direction of law enforcement at state and federal levels. There is a certification for
working in the field of cyber-forensics, a certification that means you can crack
open and image hard drives, perform forensics on them, swear out affidavits, and
produce work that is admissible in court. Sometimes law enforcement uses white
hat hackers in offensive cyber-missions (e.g., smashing a child trafficking/porn
ring). The white hat hackers of whom I write are people with such skill sets, and
who operate under contract to law enforcement doing things law enforcement
needs done but which are beyond the in-house capabilities of law enforcement.
  White hat hackers answer to other terms of endearment: “cyber-ninjas”, “geeks”,
and “dolphin-speakers” (the last one, in honor of their tendency to congregate and
squeak to each other in acronyms no one else can understand: “TCP/IP on NSF
mount…”).

  Over September and October I was introduced by these white hat hackers to
security vulnerabilities of the technology used in election equipment. Obvious
vulnerabilities existed, such as (per this CNET video, "Hackers target 30 voting
machines at Defcon"), the existence of RS-232 ports such that any technician who
can plug-in a cord will get root-level access to the machine without a password
(thus compromising the machine forever). Or an IC socket in motherboards that
should be soldered shut, but which are open (so that anyone who can slip a chip
into that socket for a few seconds can compromise the machine forever).

  See CnnTech (2017), "We watched hackers break into voting machines":
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  They drew my attention to strange violations of good computer science
practice, such as an oddly-architected database within the machines, with three
different layers but without integrity among the layers. Audit logs that were
editable by precinct administrators (making them not "audit logs" at all), and
lacking in fixed numbering systems that could reveal tampering.

 Let me point out that a year ago, this was not considered a partisan issue. We all
wanted elections that were fair, free, and transparent, and we all had deep
misgivings about where we stood thanks to these new machines.

 Here is a fine 4 minute video and story from the 2018 New York Times:

                    "I Hacked an Election. So Can the Russians"


    "All cybersecurity experts who have given electronic voting machines any
    thought agree. These machines have got to go... the electronic voting
    machines Americans got to solve the problem of voting integrity ... turned
    out to be an awful idea. That’s because people like me can hack them all too
    easily. I’m a computer scientist who has hacked a lot of electronic voting
    machines... Imagine what the Russians and North Koreans can do... Our
    highly computerized election infrastructure is vulnerable to sabotage and
    even to cyber-attacks."


  So wrote the same New York Times where now, two years later, the possibility of
an election being hacked is now verboten to mention.

  From Bloomberg, November 2019: "Expensive, Glitchy Voting Machines
Expose 2020 Hacking Risks: Paper ballots may be safer and cheaper, but local
officials swoon at digital equipment."

  It came to be widely acknowledged in the tech world. See this 7 minute story
"Voting Machine Hacks at DefCon" from 2018.
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  Here is CNN in 2019: "Watch this hacker break into a voting machine: At the
largest convention of hackers in the world, voting machines were turned inside
out as hackers demonstrated how easy it could be to disrupt democracy."

  From NBC News, January 2020: "Online and vulnerable': Experts find nearly
three dozen U.S. voting systems connected to internet".

  From the British Left-of-Center The Guardian, this in March, 2020 (ten
months ago as I write): "Hack the vote: terrifying film shows how vulnerable US
elections are". This was a review of the HBO documentary "Kill Chain: The
Cyber War on America’s Elections", which appeared in March, 2020. The
Guardian's view was that the case made by the documentary was horrifying, and
they piled on with some good reporting of their own. Note that making claims
now such as were made 10 months by HBO (and lauded by The Guardian) will
today get one banned from social media, and may be illegal under the Democrats'
new bill to combat "domestic terrorism".

  From Mother Jones, September 2019: "Researchers Assembled over 100 Voting
Machines. Hackers Broke Into Every Single One. A cybersecurity exercise
highlights both new and unaddressed vulnerabilities riddling US election
systems" [emphasis mine].

  Lastly, Fox from 2016: "Princeton Professor Hacks Dominion Voting Machine
in Seven Minutes":

  One day I asked the white hat hackers who had been bringing me up to speed to
rate for me the security of these voting systems we were researching. I asked them
to use 1 (= "worst") to 10 (= "best") to rate the systems. Their considered answer
was: “2, maybe a 1”.

  So allow me to point out that as of October, 2020 (just four months ago as I
write), there probably was not a single subject one could find with such
unanimity of conscience across the political spectrum, as our vulnerability to mass
election fraud. From Mother Jones to CNET to Bloomberg to CNN to New York
Times to Fox, our world was in rare agreement on the subject. Only months ago,
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concern over the possibility of mass election fraud enjoyed the broadest consensus
of any subject in our society I can think of.
  It seems worthy of mention, given that its possibility is now being flushed down
the Orwellian Memory Hole.

  Beyond those hacks, they began to introduce me to other “hacks” understood in
a broader sense. The extraordinary privileges enjoyed by precinct administrators,
for example, to drag-and-drop queues of ballots waiting for adjudication (a point
confirmed by the machine's operating handbook). Evidence of offshore packet
traffic to certain locations during elections, though we did not yet fully
understand why this happened.

  They described how in several foreign elections marred by allegations of election
fraud there had been windows where vote counting was shut own unexpectedly,
and in those shut-down periods there had been large and controversial injections
favoring one candidate. It had happened in an African nation, and in Serbia, and
in one other nation where such systems had been used and been the cause of a
scandal surrounding an election.
  A technique used in that regard that was explained to me before the election, was
the subject of a Gateway Pundit video after the election:

     Click to play: Drop and Roll' - How The 2020 Election Was Stolen From
                                Donald Trump

  They told me to watch for counting being shut down during the election. It had
happened in three other nations where sketchy elections had taken place. If it
happened in our election, they warned me, it would be a sign that The Deep Rig
was occurring. I thought it was preposterous: who ever heard of vote counting
getting stopped in the middle of an election, in America?

  As the weeks ticked by this late summer into autumn I came to know these folks
who were convinced we were on the edge of a massive election steal. They had
meetings arranged with DHS in their state, and in September, DHS officials in
their state took two briefings, which were propelled up the chain of command….
only to be killed from Washington. In particular, a portion of DHS called CISA
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(“Cybersecurity & Infrastructure Security Agency”) put the kibosh on further
meetings. Election security is within CISA’s mandate: one might have thought
they might be interested.
  Let me remind the reader, this was not just a ragtag bunch of misfits
("pajamahadeen" as I sometimes all them): these were professionals with extensive
federal backgrounds, with all kinds of experiences of and certifications in matters
cyber. They had detailed information about the security of the upcoming
election, and were briefing DHS officials. Then CISA shut down their briefings.
  That seemed odd, as we approached our Election Day of November 3.
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                                           2



          Chapter 2: Election 2020 (November 3)



            CHAPTER 2: ELECTION 2020 (NOVEMBER 3)

  On November 3 everything they had been predicting to me would happen,
happened. Counting of votes stopped, precisely as I had been warned might
happen.

  In my twenties something happened to me from which I learned much: I had
cancer three times, and spent much of three years in hospitals (to know more
about that particular bacchanal in my life, see "A PMC Threshold Moment by
Billy Starr"), and several years in convalescence. What I did with my time for
those 6-7 years was a PhD in philosophy at Stanford. One of my great takeaways
from that erstwhile hub of analytic philosophy is, The power of any theory is its
ability to make predictions. The dolphin-speakers with whom I had become so
friendly over those months had made a far-out prediction about vote counting
stopping... and then it happened.

  Not only that, counting had stopped not just anywhere, but in six key locations
that were anchor cities for swing states, swing states that, if flipped, also flipped
the election nationally. The logic of the plan leapt off the page to anyone with a
passing understanding of electoral politics.

  Ask your local political science professor to explain why it is the case that to steal
the national election one does not need, “widespread election fraud”. If the
professor is honest, you will hear, "Because it does not take widespread election
fraud, it only takes deep election fraud in six cities to flip the swing states they are
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in, to thereby flip the electoral college, and to thereby steal the national election.
Those cities are Atlanta, Philadelphia, Detroit, Milwaukee, Phoenix, and Las
Vegas."

  And what do you know? On November 3, election night, vote counting in
precisely those six cities took unprecedented turns. As James Woods put it
elegantly, “Since when do they just stop counting votes on election day in
America?” Yet that happened in various ways across those six cities (it is hard to
remember now, but in early November it seemed strange that they stopped
counting votes on election day in those cities, though it has been normalized
since).

  On November 4, numerous articles appeared discussing the significance of the
count stoppages. For example, see “Ballot Counting Is Delayed In These Six States
With Legal Battles On The Horizon: Several of these states will ultimately end up
quite close, perhaps even with recounts. Will the Election Night leaders end up
losers?” (The Federalist, November 4, 2020) That is worth noting, because it has
become another truth they are trying to flush down the Orwellian Memory Hole.
They are trying to convince people that it never happened (though everyone I
know remembers it happening, and dozens of stories appeared on November 4
describing it).

  In Atlanta's State Farm Arena, a "water-main break" forced the evacuation of
the vote counting area of the arena: it later turned out to be fake ("BUSTED:
Evidence Proves ‘Burst Water Pipe’ In Georgia Was Used As Cover For Secret
Vote-Counting") . In the few hours when the counting was “closed”, hundreds of
thousands of votes were pushed through the system. The "water-main break"
turned out to be a urinal that had overflowed ("Reported Burst Pipe in Atlanta
Ballot-Count Area Was Overflowing Urinal: Investigator").

   In one location, multiple security cameras caught workers grabbing suitcases of
ballots out of hiding and feeding them into machines while counting was
officially stopped and all others had been shooed from the area.

                 Suitcases of ballots after hours prove fraud Georgia
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   Georgia State Farm Arena Footage Shows Poll Workers Stay Behind, Pulling
                         Out Suitcases With Ballots

    Suitcases of Ballots Pulled From Under Table AFTER Poll Watchers Were
                                   Told to Leave

  Some of these cities saw goons muscle observers away from counting centers on
gobbledygook reasons, while others taped pizza boxes across windows to block
poll observers from observing.




                    How Detroit treats its polling "observers"

 In the days after the election, suspicion that untoward things were occurring
was ubiquitous.
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   “Yes, Democrats Are Trying To Steal The Election In Michigan, Wisconsin,
And Pennsylvania: In the three Midwest battleground states, vote counting
irregularities persist in an election that will be decided on razor-thin margins” (The
Federalist, November 4, 2020).

 Blogs appeared with screenshots of history that could not be discounted:
“WHEN THE VOTE COUNTING STOPPED ON ELECTION NIGHT,
THESE WERE THE NUMBERS” (November 9).

  Suspicion came to focus on Dominion Voting ("Dominion Machines Cover
Millions of Voters, But Watch How Easy It Is To Rig One of Them" Western
Journal, November 13, 2020). However, in my opinion that focus insufficiently
appreciates the true nature of the issue of election fraud in the USA, its scope and
varieties.

  Within days, the cyber teams with whom I was working were coming up with
data that showed what had happened in those windows where counting had been
"stopped": hundreds of thousands of ballots had been injected, often running
99.4% and even 100% Biden.
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  Here is a good example of a statistically impossible event our dolphin-speakers
noticed as they rummaged through the data. There were occasions where a group
of precincts in a state would, in lockstep, begin counting all presidential votes
17/18 for Biden, 1/18 for Trump. A number of precincts, simultaneously, all did
that together. Then after 90 minutes, their counting would go back to normal,
but another set of precincts in the state would suddenly all flip to counting 17/18
votes for Biden, 1/18 for Trump. Precisely, for 90 minutes. Then they would flip
to normal, and another set of precincts would pick up the Rig. Over and over
around the state. That fact alone demonstrates that the entire election in that
state must be discounted: it is 0% trustworthy.

  One place (but not the only place) this happened was Georgia. A researcher
named Edward Solomon reported on this oddity in Georgia:

 Click to play video: Edward Solomon - Geometric Proof for Georgia

 And then for Pennsylvania:

  Click to play video: PA Edward Solomon has found *disturbing* signs of
statistically impossible patterns

  As the quants and dolphin-speakers with whom I was working began putting
such numbers together, something else happened: a self-organized digital army
sprung into existence. Networks of volunteers in various states, self-organizing
and diving in on various aspects of the Rig: what people had experienced in
polling stations, what they had been told by precinct workers, what polling
observers had experienced. These networks sent delegations to find me. Soon
there were witnesses to various events flying in, along with the "leaders" of
networks who had found them. I was deluged with offers of assistance: volunteers
from all over the country, many with backgrounds in law enforcement and
military, were getting in touch through the grapevine and asking to be allowed to
help in any way. It seemed that to anyone with any independence of thought, the
Deep Rig was clear.
  None of them wanted to be paid. At the expense of DeepCapture, I did fly
people to see other people and put them up in hotels to get debriefed.
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   Sometimes I referred to the scattered organizers and seed crystals of these
networks as, “the pajamaheddin” (which is like being a mujaheddin, but you get
to do it from your basement in your pajamas). I do mean to belittle their
contribution in putting the pieces together: it was seminal. They were willing to
research any question we needed answered, anywhere in the country; people
willing to track down others and record experiences; precinct voters who had
experienced some of the techniques of the fraud first-hand at retail level; precinct
workers describing extraordinarily lax enforcement of standards; freight drivers
and postal workers who had realized they were moving hundreds of thousands of
fake ballots. Lawyers who were able to mobilize and research local laws for us.
People who could gather sworn statements. It quickly became clear that the
problem was not going to be turning up facts, it was going to be managing the
fire-hose of evidence that poured in. More and more Americans were stepping
forward with details of things they had experienced or witnessed on Election Day.
These networks began finding each other, than finding me, and I greased
whatever needed to be greased until we had pulled together a team of people who
could handle such a flow of information: a cyber team collecting and processing
data, and affidavits were coming in by the dozens, then hundreds, and then
thousands (ultimately I heard that grassroots organizations across America
collected 50,000 signed affidavits from Americans concerning their experiences).

  Some of the irregularities were so "problematic" they were being called out
publicly by people with only modest levels of expertise. For example, in one, a web
designer discussed oddities in the Edison database (provided by The New York
Times). One of his complaints was misguided (he did not recognize the "z" at the
end of the timestamp to mean "Zulu", which is to say, "UTC" or "Universal Time
Coordinated", which makes his time zone analysis misguided). But in his
otherwise excellent 16 minute video, he discussed other anomalies in the data that
were shocking, and indicative of election fraud on an industrial scale. And this
from someone without a lot of expertise.
  Unfortunately, the video in question was taken down as soon as I wrote about it
on DeepCapture. However, an equally interesting video is still up, one put up on
November 10, that is like a time-capsule, reminding us of the election
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irregularities (reviewing it is a useful exercise, as the MSM will eventually try to tell
you that you don’t actually remember any of this).

       Click to play video: Mass Election Fraud is Popping out of the Walls

  One thing that drew the attention of all was the ability of bad actors to game
these systems via the latitude afforded to precinct administrators. An example
would be the adjudication process. This was explored with regards to Dominion
machines in Georgia in two videos:

   Click to play video: Dominion Voting Machine Flaws -- 2020 Election Coffee
                           County, Georgia Video 1
   Click to play video: Dominion Voting Machine Flaws -- 2020 Election Coffee
                           County, Georgia Video 2

  So what had spun up between August, 2020 and November 3 (a group of cyber-
ninjas who were studying election fraud), was augmented after that date by a
massive flow of information from the public. All that was narrowed and filtered
by a set of debriefers, and fed into a team of analysts and dedicated quants who
shared their findings and generated a finished product.

  Because of our preparation and because of the assistance of so many, we quickly
had more than a rough idea how the various frauds had occurred, in various
permutations, on retail, wholesale, and industrial scales, in the different states in
question. We knew that nailing things down for the benefit of a court of law
someday might require examining hard drives and performing other computer
forensics, but (as I walked through in the paragraphs above) the rough outline of
the steal was child’s play to see. The mountains of new statements and affidavits
and data that surfaced daily further confirmed that larger theory (for example,
that odd "Sharpie switcheroo" of Phoenix-Maricopa county became explicable
when one understands that ballots poorly read by the machines become fodder
for the "mass adjudication" of which we had confirmed the machines were
capable).

  By a week after the election the cyber-sleuths and investigators with me already
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had things perhaps 50% sorted out. They had the strategy behind the theft: forego
“widespread” election fraud and instead pick those six cities to cheat like hell, flip
the states they are in, and thus flip the electoral college and the nation. More
refined versions of the strategy evolved over subsequent weeks (we found, for
example, that whoever was doing the stealing in Georgia also targeted heavily red
counties and shaved several percentage points in each). Statistical outliers were
showing up of astronomical unlikelihood, rivers of affidavits were gushing in
where people reported experiences consistent with what our team had predicted
was happening under the hood of the steal, and so on and so forth.

  In general, as the month of November developed, people with increasing levels
of expertise came forward with analyses consistent with what our own team was
discovering. These were no longer people with odd things to describe from their
experiences on voting day, or web designers looking at databases and seeing things
that look non-kosher, but mathematicians, scientists, and econometricians
elaborating on the same statistical improbabilities bubbling up through the
November 3 data that we were coming across.

  Mathematicians began turning up with analyses that confirmed what we were
putting together empirically, only some of which made it into the press. For
example, see MIT statistician shows certainty of massive computer vote fraud in
2020 Presidential election: Dr. Shiva Ayyadurai (Dr. Shiva) provides an MIT PhD
analysis of Michigan voting patterns.....

 Click to play video: Dr.SHIVA LIVE: MIT PhD Analysis of Michigan Votes
Reveals Unfortunate Truth of U.S. Voting Systems

  An excellent quant (Seth Keshel) who joined our team went on to give a rather
dense analysis to the public on January 1. In truth, however, what Seth says here,
he (and the team of quants he led for us) were putting together by mid-
November. So for those who want to see a good quantitative explanation (with
maps) which gives a sense of the kind of work we were doing in those days, watch
this 20 minutes:

               Click to play video: Doug Wade Interviews Seth Keshel
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  By November 12, Dr. Shiva , who holds a PhD in Math from MIT (and with
whom my cyber-pals were in contact), did another thorough, quantitative analysis
of Michigan Election Fraud.

         Click to play video: Dr. SHIVA Analysis of Michigan Vote Fraud

   Regarding Pennsylvania's irregularities, a Williams math professor laid it on the
line ("Yale Trained Mathematician Flags 100,000 Pennsylvania Ballots As Likely
Fraudulent"). This led to an official reaction ("Federal Elections Commission
Chairman Trey Trainor says new analysis by professor Steven Miller 'adds to the
conclusions that some level of voter fraud took place in this year’s election'").
Professor Miller's affidavit appears at the end of this chapter.

  Before the end of 2020 noted economist John Lott would come out with a
paper: "A Simple Test for the Extent of Vote Fraud with Absentee Ballots in the
2020 Presidential Election: Georgia and Pennsylvania Data".
  Lott's findings were summarized in the popular press, "Expert: Biden win
‘suspicious,’ 289,000 election-changing ‘excess’ votes".

  And so on and so forth.

   I have recounted how I got involved in this; what I was warned election fraud (if
it occurred) would look like; how what did occur matched the prediction; and
how through November the Rig was being reverse-engineered by a team of cyber-
ninjas, augmented by a platoon of volunteers, with assistance of networks around
the country. In the process I laid out dozens of links you can go to for further
information. I will assume that any reasonable reader who has made it thus far
must have at least some doubt about the integrity of Election 2020.

  That is before considering the foreign involvement effect on Election 2020,
which is the subject to which I will turn (after presenting Professor Miller’s
affidavit, as previously promised).
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                                        3



              Chapter 3: Election 2020 Foreign
                        Interference




    CHAPTER 3: ELECTION2020 FOREIGN INTERFERENCE

  The occasion was a 1950’s drunken Hollywood party. The leading men of the
day were holding an impromptu contest of a certain form. Jackie Gleason
famously shouted to Milton Berle: “Hey Miltie, do us all a favor and only pull out
enough to win!”

 I will follow that principle here, presenting enough evidence to convince anyone
open to being convinced.

  On the dictum that “a picture is worth 1,000 words,” I start with the question
of whether Dominion machines are partially made in China.
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  Case closed.
  ————————————————————————————————

  Now let us turn to a statement by a retired senior military officer that lays things
out rather clearly (there is a fair bit of “dolphin-speak” below, but if that bothers
you, just skim it looking for the sections in English, and you will understand it just
fine):

  Declaration of XXXXXXXX

1. My name is XXXXXXXXXXXXXXXXXXXX, and I am a resident of
   XXXXXXXXXX. I hold an MBA from XXXXXX University, and a
   Bachelor of Science from XXXXXX University. I am retired from the US
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   Army where I worked as an Air Cavalry Officer, a Psychological Operations
   Officer, and Information Operations Officer. I specifically conducted
   Special Technical Operations, analyzed and applied All-Source Intelligence
   to operational requirements. With a specialized team of military members, I
   helped author the Joint Urgency of Needs Statement for the CAUI EXORD
   (Countering Adversary Use of the Internet) and stood up the first two
   special category cyber-enabled operations under a unique Secretary of
   Defense authority. I am currently the manager of a Cybersecurity Company
   based in Texas. Our emphasis is on digital forensics and incident response
   (DFIR) cybersecurity, analysis of publicly available information (PAI),
   penetration testing of networks, and problem solving through operations
   integration. We use state-of-the-art tools and employ a wide variety of cyber
   and cyber-forensic analysts. My colleague and I are currently contracted to a
   cybersecurity and forensics firm that focuses on election systems.
2. We have examined the various Companies, Networks, Structures, Machines
   and related global infrastructures directly tied to the US Election.
3. This is a preliminary report on the various aspects of FOREIGN
   INTERFERENCE as defined by Executive Order 13848 issued on
   September 12, 2018.

   1. Section 8 (f) defines the term “foreign interference,” with respect to an
      election, to include any covert, fraudulent, deceptive, or unlawful actions
      or attempted actions of a foreign government, or of any person acting as
      an agent of or on behalf of a foreign government, undertaken with the
      purpose or effect of influencing, undermining confidence in, or altering
      the result or reported result of, the election, or undermining public
      confidence in election processes or institutions.
   2. There is clear and definitive evidence that foreign interference, as defined
      in the above Executive Order, occurred prior to, and during, the General
      Election on November 3, 2020.
   3. In addition, Section 1 (b)(ii) states “if any foreign interference involved
      activities targeting the infrastructure of, or pertaining to, a political
      organization, campaign, or candidate, the extent to which such activities
      materially affected the security or integrity of that infrastructure,
      including by unauthorized access to, disclosure or threatened disclosure of,
      or alteration or falsification of, information or data.”
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   4. There is also clear and definitive evidence that foreign interference and
      unauthorized access to information and data, as defined in the Executive
      Order above, occurred prior to, and during, the General Election on
      November 3, 2020.

  Dominion Voting Systems and Scytl/Clarity Elections:

  4. Dominion Voting Systems is owned and controlled by foreign entities. We
lose control of the data when it goes to a foreign country. For example:
  • The electronic information went to Germany, Barcelona, Serbia, and Canada
  • Dominion Servers in Belgrade Serbia. P 82.117.198.54 (ASN Range:
82.117.192.0/19)
  • Dominion Servers ftp.dominionvoting.com with IP 69.172.237.100 (ASN
Range: 69.172.236.0/22) is located in Toronto, Canada
  • www.scytl.com with IP 52.57.209.147 (ASN Range: 52.57.0.0/16) is (was)
located in Frankfurt Germany
  • support.scytl.com with IP 213.27.248.118 (ASN Range: 213.27.128.0/17) is
located in Barcelona, Spain
  • scytl-com.mail.protection.outlook.com with IP 104.47.10.36 (ASN Range:
104.40.0.0/13) is located in Ireland
  • On election night the DE-CIX Frankfurt there was a 30% spike over the
previous high rate of traffic. One stated probable cause was increased data flow to
servers supporting the US Election.

  Dominion Voting Systems and related companies are owned or heavily
controlled and influenced by foreign agents, countries, and interests. The forensic
report we prepared found that “the Dominion Voting System is intentionally and
purposefully designed with inherent errors to create systemic fraud and influence
election results”.

  5. The system intentionally generates an enormously high number of ballot
errors…The intentional errors lead to bulk adjudication of ballots with no
oversight, no transparency, and no audit trail. This is the exact type of issue that
leads to voter and/or election fraud.
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  6. The report found the election management system to be wrought with
unacceptable vulnerabilities— including access to the internet— a key indicator
to find evidence of fraud, and numerous malicious actions.

  7. The numerous similarities will find that Dominion Voting Systems,
Smartmatic, Electronic Systems & Software, and Hart Inter Civic, Clarity
Election Night Reporting, Edison Research, Sequoia, Scytl, and similar or related
entities, agents or assigns, have the same flaws and were subject to foreign
interference in the 2020 election in the United States.

  8. These systems bear the same crucial code “features” and defects that allowed
the same outside and foreign interference in our election, in which there is the
probability votes were in fact altered and manipulated contrary to the will of the
voters.

1.
     1. Each of the companies use EML (Election Markup Language) and are
        susceptible to cross site scripting attacks (XSS) as described on page 7 in the
        Joint Cybersecurity Advisory.
     2. Cross-site scripting (also known as XSS) is a web security vulnerability
        that allows an attacker to compromise the interactions that users have
        with a vulnerable application. It allows an attacker to circumvent the
        same origin policy, which is designed to segregate different websites from
        each other. Cross-site scripting vulnerabilities normally allow an attacker
        to masquerade as a victim user, to carry out any actions that the user is
        able to perform, and to access any of the user’s data. If the victim user has
        privileged access within the application, then the attacker might be able to
        gain full control over all of the application’s functionality and data.
     3. Most, if not all, related sites were created using WordPress. WordPress
        currently has 2,675 CVE (Common Vulnerabilities and Exposures) listed
        on cve.mitre.org.
     4. I performed a OpenVAS Vulnerability assessment for both Dominion
        and Scytl. There were multiple issues related to, out-of-date plugins and
        themes, which leaves sites vulnerable to attack.
     5. With the various mergers, acquisitions, license agreements and
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      partnerships the entire Election ecosystem in the United States is one and
      the same of any other Country where these systems are based, created,
      designed, used and so on. Namely Venezuela and their investment into
      Smartmatic.

      1. Dominion’s purchase of Sequoia Voting Systems from Smartmatic
         has resulted in the same “Source Code” being used today.
      2. During the Forensic audit we observed WinEDs and GEMS in the
         Dominion Voting System EMS (Election Management System).
         Both of those modules have been included in adverse findings from
         the EAC but are still in use today.
      3. With the overlap between Dominion and Smartmatic, including
         the shared address in Barbados, the FCC Report ID: 2AGVK-
         VIU811 issued by the CCIS Lab in Shenzhen, China is very
         concerning. The Voter Identification Unit report was issued on July
         23, 2020 and would give China insight on how to exploit the voting
         machines used in the US Election.

   9. Dominion Voting Systems is based in Toronto, Canada, and assigns its
intellectual property including patents on its firmware and software and
trademarks to Hong Kong and Shanghai Bank Corporation (HSBC), a bank with
its foundation in China and its current headquarters in London, United
Kingdom.

  10. Multiple expert witnesses and cyber experts identified acts of foreign
interference in the election prior to November 3, 2020 and continued in the
following weeks. In fact, there is evidence of a massive cyber-attack by foreign
interests on our crucial national infrastructure surrounding our election—not the
least of which was the hacking of the voter registration system by Iran. (E.O.
13800 of May 11, 2017)

  11. This is compounded by the magnitude of the Solar Winds exploit that has
exposed the private, public and government related companies and agencies. This
includes the companies and agencies directly involved with securing our elections.
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  12. The FBI and CISA issued a joint Cybersecurity Advisory on October 30,
2020 (Report ID: AA20-304A).

1. This joint cybersecurity advisory was coauthored by the Cybersecurity and
   Infrastructure Security Agency (CISA) and the Federal Bureau of
   Investigation (FBI). CISA and the FBI are aware of an Iranian advanced
   persistent threat (APT) actor targeting U.S. state websites—to include
   election websites. CISA and the FBI assess this actor is responsible for the
   mass dissemination of voter intimidation emails to U.S. citizens and the
   dissemination of U.S. election-related disinformation in mid-October 2020.1
   (Reference FBI FLASH message ME-000138-TT, disseminated October 29,
   2020). Further evaluation by CISA and the FBI has identified the
   targeting of U.S. state election websites was an intentional effort to
   influence and interfere with the 2020 U.S. presidential election.

  13. Dominion and Smartmatic share a physical address in Barbados despite their
insistence that there is no relationship between the companies. They also have a
mutual non- compete agreement detailing shared resources and code.

  14. Hootan Yaghoobzadeh is the CEO and Chairman of Staple Street Capital,
which is the entity that owns Dominion. Yaghoobzadeh was a close confidant to
Sadaam Hussein and worked for the Saudi Bin Laden group. He previously
worked at the Carlyle Group and Cerberus Capital Management.

 Staple Street Partners

  15. Staple Street Partners is a Private Equity firm that owns Dominion Voting
Systems.

  16. 9/25/19 – Dominion Voting Systems based in Toronto entered into a
Security Agreement with HSBC Bank, assigning all intellectual property and
assets including Trademarks, Patents and Software (see below).

  17. 10/8/20 – $400,000,000 from UBS Securities a Chinese managed subsidiary
of UBS Global AG (see below).
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 18. Dominion shares an address with Smartmatic in Barbados (see below)

 19. Dominion data is seen going to their headquarters in Serbia and Toronto.

 20. The following link analysis was gathered through open source
methodologies and is easily verifiable.

  21. As Dominion and Smartmatic makes claims that they are not connected in
any way, not only are they connected but their business registration was in the
same building on a foreign island to obfuscate their business dealings.
                 https://offshoreleaks.icij.org/nodes/101732449
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https://offshoreleaks.icij.org/nodes/101724285 Dominion Certificates
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  25. Dominion can be seen using open-source methodology that the SSL
certificates from *.dominionvoting.com were registered on the 24th of July 2019.
This SSL certificate were used multiple times from locations ranging from
Canada, Serbia, and the United States. These images verify that Dominion
systems were connected to foreign systems across the globe. Also seen is that the
SSL certificate is used for the email server that was the same for the secure HTTP
connections.

  443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c




  All share:
  443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9
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Email ip address: 206.223.168.94
Serbian ip address 82.117.198.54
Dominion site 204.132.219.214
Cloudflare link 104.18.91.9
Canadian ip address 206.223.190.85
Denver ip address 204.132.121.11
Page: 1/1 Results: 7 Time: 155ms
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  206.223.168.94 (webmail.dominionvoting.com)
  BEANFIELD (21949) Toronto, Ontario, Canada
  443/https
  *.dominionvoting.com, dominionvoting.com
  443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
82.117.198.54
  SERBIA-BROADBAND-AS Serbia BroadBand-Srpske Kablovske mreze d.o.o.
(31042) Kac, Vojvodina, Serbia
  443/https
  *.dominionvoting.com,                                          dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
204.132.219.214
  CENTURYLINK-US-LEGACY-QWEST (209) United States
  443/https
  *.dominionvoting.com,                                          dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
104.18.91.9
  CLOUDFLARENET (13335) United States 443/https, 80/http, 8080/http
Direct IP access not allowed | Cloudflare *.dominionvoting.com,
dominionvoting.com                443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
104.18.90.9
  CLOUDFLARENET (13335) United States
  443/https, 80/http, 8080/http Direct IP access not allowed | Cloudflare
*.dominionvoting.com,                                            dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
206.223.190.85 (206-223-190-85.beanfield.net)
  BEANFIELD (21949) Toronto, Ontario, Canada
  22/ssh,       443/https        *.dominionvoting.com,           dominionvoting.com
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443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
204.132.121.11 (204-132-121-11.dia.static.qwest.net)
  CENTURYLINK-US-LEGACY-QWEST (209) Denver, Colorado, United
States 21/ftp, 22/ssh, 443/https, 80/http DVS Fileshare *.dominionvoting.com,
dominionvoting.com                443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c

     Kavtech

     26. A Pakistan based Business Intelligence firm with ties to the ISI.

     27. The lead data scientist named Bilal Khan Nawabzada tweets directly to ISI.

  28. The Co-Founder Waqas Butt is cc’d on emails containing personally
identifiable voter information from the Nevada Secretary of State.

1.
      1. This is a similar and deliberate act of unauthorized access of
         information and data as the hacking of the voter registration system by
         Iran. (E.O. 13800 of May 11, 2017)

  29. Kavtech is a Pakistan based Business Intelligence firm with ties to the
Pakistani intelligence ISI. The lead data scientist named Bilal Khan Nawabzada
directly references Pakistani ISI in his social media.

 30. Kavtech using Natural Language Processing and Sentiment Analysis to sway
Voter opinion and intent to ultimately influence the election.
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  Supply Chain Concerns
  31. One in five components used in voting machines are from China-based
companies
  32. On January 6, 2017 DHS Secretary Jeh Johnson on the Designation of
Election Infrastructure as a Critical Infrastructure Subsector.

1. This means that election infrastructure becomes a priority within the
   National Infrastructure Protection Plan. It also enables this Department to
   prioritize our cybersecurity assistance to state and local election officials, but
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   only for those who request it. Further, the designation makes clear both
   domestically and internationally that election infrastructure enjoys all the
   benefits and protections of critical infrastructure that the U.S. government
   has to offer. Finally, a designation makes it easier for the federal government
   to have full and frank discussions with key stakeholders regarding sensitive
   vulnerability information.

 33. With that in mind, it is incredible that the Election equipment used in the
November 3, 2020 election was manufactured in Russia, China and undisclosed
Asian and European Countries (see below).




  _________________________________
  Reference:
  https://us-cert.cisa.gov/sites/default/files/2020-10/AA20304A-
Iranian_Advanced_Persistent_Threat_Actor_Identified_Obtaining_Voter_Registration_Data
  https://www.whitehouse.gov/presidential-actions/executive-order-imposing-
certain-sanctions-event-foreigninterference-united-states-election/
  https://www.jstor.org/stable/resrep26524seq=13#metadata_info_tab_contents
  https://www.dhs.gov/news/2017/01/06/statement-secretary-johnson-
designation-election-infrastructure-critical
                                    [END OF STATEMENT]
         --------------------------------------------------------------------------------------------

 What you have seen thus far was generally prepared by or before Thanksgiving,
November 26, 2020 by my colleagues, the dolphin-speakers and analysts.

  Let us now turn to an analysis of the packet traffic on Election Day 2020
provided me by the best cyber-forensics specialists I have ever met. As packets
travel through the Internet they leave a trail, and dolphin-speakers using the right
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tools can, in a sense, “shine a light” and reveal those packet trails in the cyber-fog.
The cyber-specialists to whom I refer have access to such tools (and even more
arcane ones), and have documented vote-flipping in the Problematic 6 states
amounting to 299,567 votes, just enough in each state to flip the election. 43% of
that activity came from China.

  For those who wish to study the data behind this claim, click here: US Election
Fraud 2020_General

  For those who shudder at the thought of opening an Excel spreadsheet, this 1
minute video graphically depicts how, on Election Day, hundreds of foreign
entities (many in China) were conducting Man-in-the-Middle attacks on election
system across these states of Pennsylvania, Michigan, Wisconsin, Arizona,
Nevada, and Georgia in order to flip votes.




                       Click to play video: Foreign Interference

  The first lesson we learn in 5th grade civics is, "Just law derives from the consent
of the governed," and how we find out what it is to which we, the governed, in fact
consent, is to hold elections that are free, fair, and transparent. It is the atomic
concept of our intellectual tradition. In my view, any reasonable person who looks
at the constellation of facts and articles and videos and data I have presented so far
will say, "There is enough about Election 2020 that smells like skunk, that we need
to dig deeper."
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 And any who looks at that constellation and says "Nope, I see nothing,
NOTHING!" is either Sergeant Schulz, or gas-lighting.

  So if the game, Dear Reader, was to show you enough evidence to cause you to
reach an adequate threshold of doubt before I continue with my narrative, I hope
that I have shown you enough to win.
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          Chapter 4: How the Crisis Could Have
              Been Ended Fairly & Quickly



CHAPTER 4: HOW THE CRISIS COULD HAVE BEEN AVERTED
                FAIRLY & QUICKLY

  I have covered the subjects of why I was learning about election fraud in the
months preceding November 3; irregularities in the November 3, 2020 election
that matched what I had been warned might occur; and evidence of foreign
entanglement in some of these irregularities. Now I turn to the subject of what I
was hoping to have done. I am going to do that now so as not to leave the reader
in suspense, and so that the reader might accurately judge the subsequent actions I
took, and decisions I made along the way.

  What is it I thought should be done? By the middle of November it was clear to
me that we as a country were facing a Constitutional novelty: I knew by then that
Election 2020 was an egg that could not be unscrambled. In 6 swing states there
had been an unknown amount of election fraud (but apparently industrial in
scope, which we could show with access to ballots and hard drives). There was no
way to unravel all the effects of the cheating and figure out what the pre-fraud
numbers would have been. Yet the other side of recognizing the fact that the
election was industrially fraudulent in those states, was to recognize that the
election results from those locations were 0% trustworthy and could not be fixed.

  That analysis left what seemed to me the only reasonable course of action one
could take. As I saw it, the path least injurious to the Constitution was this:
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  Our Plan: Let's look at the six counties where mass irregularities occurred.
These machines were sold to the public with the promise, "there is always a paper
ballot fail-safe." Hold them to it. There is an Executive Order that says, should
foreign nations interfere in an election, the President has extraordinary power to
straighten it out. Let him direct a federal force to go to those counties and open
up the boxes with the paper ballots, and count them, on live-stream TV. If there
are not big discrepancies, Trump concedes. But if there are big discrepancies, we
would rerun the election in those six counties, or states, using that federal force.
Yes it would be a bad precedent, but so would trying to force down the public's
throat an election that had been rumbled by goons in six key cities, and about
which between 33% - 47% of the population has significant doubts. That's not
healthy for democracy, either. I figured the initial live-streamed reread of the
ballots in six counties would take 3 days, and (if called for) the election to be rerun
in those six states, in 30 days.

  What federal force would be right? I favored a combination of US Marshall
Service and National Guard. The country needs to trust the result, and those in
military uniform enjoy the highest trust level from society. In addition, the
National Guard ("Our sons and daughters and co-workers.... Our Citizen
Soldiers") live among us. However, it could have been the DHS, the FBI, the
DEA. But the counting would have to be federal, and shown on livestream from
each counting operation.

  Which is why in early-mid November, as tensions started to escalate, I was
hopeful that brisk action could be taken. The results would create an outcome
where President Trump would either say, "No big discrepancies, fine, I concede".
Or he would say, "See, there were discrepancies in the hundreds of thousands of
votes in each of these locations. We are re-rerunning the election in those states
using the National Guard." If undertaken with dispatch, the first matter (a
federally-supervised livestream recount) might have been resolved in about three
days; if discrepancies appeared, the rerun of the election might even have been
resolved in time for normal operation of the Electoral College on December 14.

  That's it. That was the plan. It went through various elaborations, various nice-
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to-haves, but at heart that is all that was sought by myself and the team of Cyber-
ninjas with whom I was working. That is all that was needed. The alternative was
accepting a highly irregular national election that would divide our nation for
years. That is why I say, "This was a 3-foot putt. Maybe easier." Seems rather tame
and reasonable to me (though I suspect we are entering an era where the thought-
control goons will label the plan I just described as, "extremist").

  We could have resolved this Constitutional crisis in days or weeks. I think it
would have been far less injurious to the Constitution than what has happened
instead: an election whose integrity is doubted by 47% of Americans, has been
shoved down the throat of America, and in order to prevent any future
backsliding, the Goons are considering sedition laws that tell roughly half the
population that they are terrorists. That is also insulting to the Constitution.

 I think it is clear, in retrospect, that the solution I described would have left us
with more confidence in our government than we have today.

   Yet I get ahead of myself. I have explained, Dear Reader, what brought me into
this subject and what I learned about it before Election Day (November 3), what I
learned might happen, how what did happen matched the predictions, and the
data and evidence we surfaced in the month of November concerning domestic
irregularities in the election, as well as signs of foreign involvement. I made clear
how I read the evidence. Lastly, I have explained what we were fighting for, what
it was that myself and my fellow-travelers wanted to happen, the course I tried to
hip-check our country into taking (whene'er a chance I got) as the weeks and
ultimately two months unfolded. Lastly, I argue it was a less extreme path than the
path that has been taken, which may include the government implementing
police-state style laws on the grounds of stopping extremists…. such as people who
see anything strange about any of this.

  So now you know where I am coming from in the story that follows. Those
were the grounds of my suspicions and the course of action I thought would
minimize injury to the Constitution while doing our best to sort out an election
that had been hopelessly compromised. “It is an egg that could not be
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unscrambled”, I wrote then, believing that once that truth was recognized, the
plan that I proposed made the most sense.

 For all I know, that point of view may be called “extremist” today or tomorrow.

  Now I shall now rewind and pick up a parallel narrative. This parallel story
starts about a week after the election (November 9?) with a cyber-ninja and I
walking into an office building in suburban Virginia, just outside of DC. We had
a still fragmentary yet already compelling reconstruction of what had happened
on November 3 and the days immediately following it. We had the crime about
half-solved, and what was remaining seemed almost a mechanical matter: dig here,
compare this with that, see what answers spit out. We can see they were doing this
this and this, but you also need to look into that.

 I and my cyber-sleuth colleagues walked into that building to take a meeting
with Sidney Powell, Esq. (esteemed lawyer for Michael Flynn, the “Peoples’
General”), and with America’s Mayor, Rudy Giuliani.
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         Chapter 5: November 9 – December 17:
               All the President's Teams




     CHAPTER 5: NOVEMBER 9 – DECEMBER 17: ALL THE
                  PRESIDENT’S TEAMS

  I will refrain from saying too much about my relationship with Sidney Powell.
For one thing, it started off with me walking in with information, but over time it
became something like I was working for her, helping her get answers to her
questions. Then, if I recall correctly, she became my lawyer. Whichever it was, the
relationship became something for which privilege surely applies. One cannot
selectively waive privilege, and just share things one wants to share while claiming
“privilege” on the others. I know that. But I can say is that our relationship started
with me walking in off the street as a volunteer with information, and so I can talk
about that phase of the relationship, but in time it became formal enough I will
not be able to say more.
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  Mayor Giuliani, however, never became my lawyer, and I will not be so
constrained in my accounts. My ultimate purpose (my only real purpose) is to
deliver to the public as honest a rendering as I may construct of the events
between November 3 and January 20. It seems like a historically worthy thing to
do.

   For my part, though they thought of me as an entrepreneur, I introduced myself
to them as the proprietor of this website, Deepcapture.com. I pointed out that
back in 2008 it had won numerous awards for its business investigative journalism
and had also been voted the best journalism regarding corruption within the
United States. I may have done other things in life, but in addition I’m a
journalist, and I have the rights any journalist has. This means I can investigate
what I want to investigate, I don’t have to reveal how I learn things, and if I feel
like sharing some of my findings with lawyers like Sidney and Rudy, it is no
different than the dozens of other times this website has investigated things and
shared its findings with lawyers, or even with law enforcement.

  That first meeting I had with Sidney lasted 45 minutes. When I arrived at the
office a strange hum hung in the air, as it does when people have just had words. I
found Sidney sitting by herself in an empty space on one side of the office
building. We got to business: Sidney was well-informed, open-minded, and on
top of things. We had an intelligent conversation.

  Sidney was in touch with people from the earliest days of the creation of these
systems, and soon she showed that her information covered a portion of the
narrative about which we had some knowledge but not much (mostly concerning
the origin of the machines and their reason for certain design flaws). On the other
hand, as we ran through what my side of the table had already teased out of the
data in the days since the election, Sidney showed she understood what we were
saying, and we quickly tied together what we each knew. It was a highly-
productive first conversation, and she ended it by telling me that I needed to go to
the other side of the office, find Rudy Giuliani, and tell him everything I had just
shared with her.
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  So my cyber buddy and I went to the other side of the office building, to Rudy’s
side, which I understood to be the center of gravity of the operation.

  I will explain what I expected to find. I expected to find something like what we
were creating (as I described in previous chapters). A command post staffed by
quants and cyber-ninjas and lawyers. The quants would be doing statistical work,
driving answers to feed lawyers being notified of such irregularities as I have
walked through previously, and would be availing themselves of whatever
remedies the law surely provided. I figured there would be a war-board, with the
states in question having boxed out all relevant data, progress, and to-do’s. There
would be an information loop, obviously, such that the campaign headquarters in
each state would be on a daily conference call to receive updates on progress.
Thinking that may be a fair bit for one 76-year-old gentleman to manage, I
imagined Rudy might have some strong COO, perhaps a lawyer, or perhaps an
executive, who might be keeping assignments on track.

 What I found is this:

 The place was 20% empty, and another 30% were packing out their desks.

  One conference room held a number of lawyers around a table. At least 3 of
them were solid. These lawyers were each assigned one or more states. Yet there
were things going on at the state level and below, local lawyers were jumping in
with actions of their own. Things were bubbling up organically without direction
or cooperation from this group in Virginia. I came to learn that between Rudy’s
legal team and the campaign staff there was 0 communication (even though they
jointly occupied an office story). And between Rudy’s legal team and the
campaign stuff and those local groups and their lawyers, there was 0
communication. I did not know if that was for a legal reason or just the way they
operated. In time, I saw it was the latter.

  The Mediocrity – I do not wish to be mean about it. For example, I am not
going to reveal the gender or other details of this person (other than to say:
imagine a person who is a lawyer and who had once had a career at one of the
better-known government agencies). But given how deliberately horrible to work
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with and destructive Mediocrity’s behavior was, I will refer to the person as,
“Mediocrity”.

  The Commish – Think of Mike, from Breaking Bad. The quintessential cop.
Tough, correct, and courteous, but poker-faced and dead-eyed at all times. Sits in
meetings with hand casually covering his mouth, saying nothing. When
asked, might open his mouth, and if he does he invariably has something
intelligent to say. Making one wonder, “Why does he work so hard to keep his
opinion to himself?”




   The Mayor – Rudy Giuliani. I spent the late 1980’s in a hospital in New York
City, and remember occasional Mafia killings outside Brooklyn joints or a mid-
town steakhouse (it was good for business, they’d say). Rudy was US Attorney
there and then, breaking up the Mob. I always felt an affinity for him because of
that overlap in time and place. And of course, on 9/11, Rudy became “America’s
Mayor”. We intersected a few times in the years after that, but when we crossed
paths he never indicated he remembered me. His security company handled an
issue for me when I was fighting Wall Street. I doubt he remembers, but when he
ran for President in 2008 and came through Utah, local Republicans called me
and asked to introduce Rudy at a gathering in a large Utah home. I studied up on
him, drove over, and gave a short introduction on Rudy Giuliani to the crowd,
lasting about 30 seconds. Rudy took over, we shook hands, and that was the sum
of my contact with Rudy Giuliani in his political days.

 I remember something from the Q&A that impressed me. A question on
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abortion came from the staunchly pro-life crowd. Rudy answered, “No, I’ll never
support a law that criminalizes abortion for the woman. Laws on abortion have
always been directed at the doctors, not mothers. I’ll never put a woman in jail for
having an abortion. If that is what you folks are looking for, I’m not your man.”
He lost 2/3 of the audience but gained the respect of 1/3, among them myself, out
of respect for such rare directness.

  So 12 years later, at about 3 PM on an afternoon nearly a week after the
election, I walked into the office space being shared by the Trump campaign and
the law firm springing up around Rudy Giuliani to investigate and challenge
election irregularities surfacing from the 2020 election.

   It was nothing like what I expected to find (explained above), with data-
gathering feeding decision-making feeding information loops to keep a large and
geographically distributed workforce operating successfully. Law firms are
notoriously poorly-managed businesses in any case, they truly are, but the law
firm-campaign space that had taken shape within that office was a particular shit-
show. People wandered vaguely from meeting to meeting. The meetings I saw
were run like bull sessions, with no agenda, no format, and no apparent sense of
urgency.

  Within about 45 minutes I was ushered to a room where I was to have 30
minutes with Rudy. Physically he was more of a grandfather than I had
remembered, a bit less robust, a bit more hunched, and a bit more irascible. I
explained to him the outline of what we understood at that point, an outline such
as the reader might have after reviewing the cascade of stories regarding porous
security in election systems cited above, as well as the presentation by MIT Math
Ph.D. Dr. Shiva, or the exposition by Seth Keshel. I feared overwhelming him, so I
tried to simplify. As I spoke he occasionally grunted stoically, so it was difficult to
judge what was sinking in. After about 10 minutes Rudy started checking his
multiple phones for texts, right in front of me, as we sat together. Or conversing
with one of his assistants, sending someone on a side errand, or receiving a report
back. It felt strange to be talking to a man who was paying so little attention, but
the Commish, sitting on the side, motioned for me to continue. After 30 minutes
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I was ushered out of the office, but told to hang around.

  Eventually, I was brought back into a smaller room with Mayor Giuliani, and
again asked to explain what happened. Realizing I may have overwhelmed him
with my earlier explanation, and gotten lost in the forest for the trees, I broke it
down simply and slowly, like one would for one’s 76-year-old Grandfather. Again
within 5-10 minutes he was fidgeting, grunting on occasion, sending people on
side errands, checking his multiple phones for texts, and typing responses….
Meanwhile, I tried to stay on track. Yet there was a moment 15 minutes in when I
got a whiff of something in that small office…. Medicine? Booze? Just as I was
taking a sniff to determine, someone rushed in with some unrelated issue, and I
was escorted from the office.

  Again I wandered around among the staff, most of whom were professing to
know nothing about what was going on, and many others of whom were packing
up their desks into bankers’ boxes. Given what I already knew about the Rig by
that point, I was perplexed and found myself drifting around the convoluted
office space. 30 minutes later I was strolling outside some other conference room
down the hall when I heard Rudy’s familiar voice saying, “…don’t understand a
goddamn thing this guy’s saying…” drifting out of a doorway. Startled, I looked
around the corner, and there was Rudy talking to whatever group of staffers
happened to be sitting in that conference room to which he had moved.

  Several staffers pulled me aside in a hallway. What Mayor Giuliani is going to
need, one told me, is a one page summary. Very simplified.. A one-pager.

  Another piped up, And bulletpoints! The Mayor likes bulletpoints!

  Mediocrity added, But with graphs and data.

  But no more than one page! Repeated the first.

  At the risk of sounding snobbish, I was insulted by Mediocrity and these 20-
something staffers giving me writing advice, and such asinine advice at that. I told
them I would have something in 48 hours. I requested one favor: any other
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requests that came from them should be orchestrated through one of their people,
who would call one person whom I would designate among my colleagues, and
that way we would have structure, and keep track of deliverables as we sought to
accommodate their needs so that it would not all turn into a shit-show.

  I left and drove back to DC. By evening there were three open requests from
three different people on Rudy’s team for my colleagues. One of Rudy’s people
wanted to handle requests of this type, one only wanted to handle requests
of that type… And the shit-show began.

  Before I continue with my story, however, I wish to be clear that I do not claim
that everybody in that large but melting office space was incompetent. As I said,
there were three smart, competent, skillful lawyers (a fourth if one counted a
Constitutional law scholar who was in-and-out). Yet the atmosphere was one of
despair, staffers were wondering around in the dark, and the meetings seemed like
sophomore bull sessions rather than anything organized and disciplined.

  From contacts with several staffers over the weeks that followed, I learned what
had happened just before I arrived that first day. Rudy had declared to the lawyers
including Sidney, “You can never prove election fraud in a courtroom!” He
insisted it was not going to be part of their legal strategy. Instead, the strategy was
to challenge the election in various states on procedural grounds: “This county in
this state had one set of rules, this county in that same state used a different set of
rules, that violates the Equal Protection Clause of the 14 Amendment.”

  So I was correct: just before I arrived there had been a blow-up between Rudy
Giuliani and Sidney Powell, ending with Rudy shouting at Sidney and sending
her away in front of an office of dozens of people, while declaring that none of
this was going to be about election fraud, and putting his staff of lawyers to work
on procedural filings.

  Later, a member of Rudy’s team told me that initially, Rudy had not even
wanted to do that much. He had wanted to make three more-or-less token
challenges in three states, then call it a day. Sidney’s insistence that he was missing
the Big Picture had caused Rudy to relent and allow a slightly more aggressive
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posture to be taken. But still, nothing was to be about election fraud or the
possibility of a mass rigging of the election. Rudy could tolerate hearing about a
couple of hundred dead people in Philadelphia voting, but he did not want to
hear about anything more sophisticated than that.

  That afternoon in early November, the first time I arrived in their building
nearly a week after the election, I had stumbled in on Sidney just as she was
recovering from that exchange. And Sidney had sent me to talk to Rudy because
she needed someone else to explain what she was herself just realizing: a new form
of election fraud had emerged that was not about hundreds of dead people voting
in a city, but was about the possibility of several hundreds of thousands of votes
being injected into each of several locations. Rudy had just not been processing
any of it from Sidney, and probably did no better from me, and that was why he
kept trying to talk about how Joe Frazier (1944-2011) was still voting in
Philadelphia.

  Over that weekend, Sidney sent a brilliant female junior attorney over to sit with
me and a few of the dolphin-speakers . That junior lawyer had anticipated staying
30 minutes, but after an hour and a half she went into the next room and called
Sidney. She told Sidney that we had the goods, or at least a well-developed
understanding of what had gone on in various states, and even specific counties.

  From that point forward our relationship with Sidney was perfect. As we
researched and made discoveries, we brought them to her and her staff, and they
would listen closely, patiently, and ask intelligent questions. Then they began
incorporating the material into their pleadings.

  That being the case, I will say no more about how Sidney and I worked.

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  Mark Twain once ended a long letter to a friend by writing, “If I’d had more
time I would have written you a shorter letter.” In those two days after meeting
the Mayor I had the time to draft what his staffers had requested, and 48 hours
later I was putting the finishing touches on as simplified a one-page summary as I
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could create. My aim was to pare the story down until the Mayor could not lose
the forest for the trees, and the Mayor would grasp the entire narrative in a
succinct one-page bullet point read. At that point, once he understood the Big
Picture, we could begin diving in on each sub-claim: data and affidavits would be
adduced, and so on.

  But to begin with, Rudy needed to absorb a one-page briefing (in fact it was
80% of a page), into which I had distilled the research of a team of people who had
been sniffing down a half-dozen different alleys. It was concise and clear. I
included a second page of one graph, concerning one state, backing up a claim
made in that one-pager: once Rudy got it, I thought, once we agreed where we
were, I would supplement with additional graphs for the other relevant states.
Affidavits that were being gathered would be adduced to document each of the
other claims made. And so on and so forth. But this time we were going to crawl,
walk, run.

  At 11 PM I got a phone call telling me Mayor Giuliani and entourage were
dining in such-and-such a Georgetown restaurant, and would I mind bringing
what I had written to them. I got dressed and went, but when I arrived his security
told me to wait in the bar. I did for 45 minutes until someone came from the
Mayor’s private dining room to tell me the Mayor asked that I not come back to
his table (security was concerned about me, apparently), but asked me simply to
send into the private dining room the paper I had written. I sent it in, then left.

 Later, people in that room told me what happened when my paper arrived.

  First, in the 90 minutes between 11:30 PM and 1 AM, Mayor Giuliani imbibed
three triple scotches on ice. Those relating this story could not vouch for what he
had drunk before 11:30.

  Second, Rudy read my paper for 20 seconds, then put it aside saying, “I’ll get to
this later.”

 Third, the Mediocrity was at the table. The Mediocrity picked up the one-pager
Rudy had set down, and holding it between thumb and forefinger like it was a
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turd, announced with a laugh, “Can you believe Byrne worked two days on this
and this is all he wrote?”

  Nine hours later Rudy Giuliani took the stage at a joint press conference held
with Sidney Powell and Jenna Ellison. Rudy was meant to give a situation report
then introduce Sidney Powell, who was going to discuss the possibility of mass
election fraud on a scale no one was yet comprehending. That it was not about a
couple hundred dead people voting here, or a few hundred illegal votes there, but
about something deeper, systemic….. Unprecedented.

  Instead of sticking to the plan, Rudy Giuliani got carried away, and huffed and
puffed for 40 minutes about how many hundreds of dead people had
voted here and how illegal people had voted there… And Joe Frazier still voted! As
Grandpa worked himself up, repeating all the same points he had been making for
days, hair die ran down both sides of his face, unnoticed.

  Nine hours earlier he had thrown back nine shots of whiskey in 90 minutes.

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  Another story that came to me from those times within Rudy’s offices: One
Pennsylvania lawyer, a female, had taken the job of preparing a filing in
Pennsylvania. She received a message from opposing Kirkland & Ellis counsel that
was so unprofessional, so threatening, that Kirkland later had to withdraw from
the case.

 Shaken, the female Pennsylvania lawyer sent her draft filing to Rudy’s team but
withdrew her representation.

   Rudy had had to find a firm, overnight, that would finish the Pennsylvania
filing. He finally found a lawyer in Texas with election experience who finished it
and got it filed in Pennsylvania. It made no mention of election fraud and was
instead focused on the procedural Equal Protection arguments. Rudy only read it
on his way traveling to the Pennsylvania court where he was to defend it: upon
reading it, he told his companions, This is the worst piece of shit filing I’ve ever had
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to stand up in a courtroom and defend. He went into that Pennsylvania
courtroom and was destroyed. Here is a partial transcript:

  Matthew W. Brann, U.S. District Judge: So it’s correct to say then that you’re not
alleging fraud in the amended complaint?

  Rudy Giuliani: No, your honor, it does not, because we incorporate by reference in
150 all of the allegations that precede it, which include a long explanation of a
fraudulent, fraudulent process, a planned fraudulent process.

  Judge: I understand that. So the amended complaint, does the amended
complaint plead fraud with particularity?

  Rudy: No, your honor, and it doesn’t plead fraud. It pleads the, it pleads the plan,
the scheme that we lay out in 132 to 149 without characterizing.”

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  We got a call from Rudy’s team that we needed to have a set of computer
forensic specialists down in Georgia the following morning. They would be
provided access to a set of voting machines they could “exploit”. The licensed and
certified computer forensic people in question demanded answers, such as, Where
are the machines? What kinds of machines are they? Tampering and playing
around with election equipment being a federal felony, under what legal authority
will we be operating? Will there be law enforcement there to review and document
all actions taken, for any chain-of-evidence questions that might later arise?

  The response from Rudy’s team was, “We’ve got all that covered. Get down to
Georgia, stat!”

  With misgivings, I caused the requisite people to fly into Georgia from various
locations. They were driven to a precinct where, it turned out, someone had
indeed vaguely promised that access would be given to machines…. But that
person was not there that day. Or had changed his mind. The dolphin-speakers sat
around then were driven to another precinct where, this time, they were told there
would be someone with a court order granting them access to certain machines.
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No such person was there, but a group of hostile county employees was. Again
they sat around waiting for Rudy’s lawyers to arrange paperwork, but nothing
arrived. After hours of waiting in the parking lot, in the early evening, they drove
away, and as they sat at a traffic light a half-mile down the street they saw 17 police
cars, light-bars flashing, go rolling by on their way to the building my cyber-
buddies had just left. My pals quickly and safely returned to their respective home
states.

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 Over the next month and a half, a number of my colleagues interacted with
Rudy from time to time, afternoons, evenings, and weekends. Nearly all
mentioned two things: the amount of attention he was paying to his daily
podcast, and his drinking. His own staffers joked with us about it. Those who
were around him knew: almost every evening, Rudy was toasted. That, and his
podcasts, were the only guarantees in Rudy’s life.

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  In that first week after the election, we had fashioned an operation of some
kind. We had cyber-guys and quants before November 3. But by a few days after
the election, we had so many volunteers, plus many witnesses and whistleblowers
and people with relevant stories seeking us out, and so many were flying to DC to
find me that we had to set up operations in hotels scattered around the city. From
our volunteers with a background as military officers we found our debriefers,
and created a system where they were privately and professionally meeting with
witnesses and whistleblowers, listening to their stories, and crafting summaries.
These were being fed up into a chain of analysts who were jockeying those pieces
together with information coming together from our cyber guys, and other
sources, and building a picture of increasing granularity of what had happened on
November 3-4.

  In the months before the election General (ret.) Michael Flynn and I had met
telephonically. We had known of each other for years, as there is a strange
connection between us, a deceased man who had played a role in both of our lives
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decades past. Conversing with Mike was like meeting and speaking with another
entrepreneur: we finished each other’s sentences and saw what needed to be done
almost without conversing. At some point, he arrived on the scene, and I told him
in detail about this assemblage of talents that had come together in various ways:
the cyber guys, the quants, the flow of witnesses and affiants into our circle, our
structure of multiple debriefers, our information flow back up to a circle of
analysts putting everything together. I had roughhewn the whole structure
expecting Mike’s arrival, with the understanding that when he arrived, I would be
handing the keys to it over to him. Mike seemed pleased with what we had
accomplished within a week of the election.

  General Flynn asked me to relocate the HQ of that structure to a location far
away from DC, far away from any city, in fact. The information bubbling into
existence was to come up those networks from around the country, through the
capillaries of the debriefers and report writers, and into a central station. I thought
of that as “the liver”. Mere yards away, there would be an office full of lawyers
acting as the legal intake for the information we were pulling up. In short, the
structure we had spun up and were still spinning up, he wanted plugged into the
lawyers who would be playing the legal chess. We agreed that both Sidney and
Rudy would get all output from this structure.

  I moved the structure to the location Flynn requested. There was a team of
lawyers in place there. However, around them there were a variety of people with
no discernible roles and who gave me the creeps. One ex-Agency female, a large,
loud woman, and not a lawyer, suddenly became quite the unbidden organizer.
Another participant, a cocky Englishman with a military background, suddenly
announced that he was gatekeeper between this room and that. It all began giving
me quite a nasty feeling. But after only two days I got word from Flynn: things
having been stood up and roughed-out as we had agreed, Flynn wanted to fly in
and take over, and have me go back to DC to start speaking to the public. We
agreed we would cross paths for 30 minutes in a certain location as we switched
places.

  I got ready to leave. I asked the Brit to pass on three key messages to someone I
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was not going to have a chance to see before leaving. He agreed. I said each one
simply, and he nodded curtly after each. When I was done I asked him if he
understood. He said casually, “Yep. Got ’em all.”

  “OK, please repeat them back to me,” I told him. He stared at me, unblinking.
“You say you got them, so repeat them to me.” He could come up with nothing.
He had not actually listened to a word. I told him to get a pen and paper and make
three notes. He did so begrudgingly.

  For some reason, I was supposed to take the ex-Agency woman back to DC with
me. We drove to the location at which Mike Flynn was arriving. Once there, the
female slipped off to the side and told someone that she had learned something
that meant she had to stay behind. Flynn arrived, and we had 30 minutes on a
tarmac together. We caught up, synched up. I told him that I had misgivings
about a British guy who was at the camp, and about the ex-Agency woman who
was hovering around me. Then I left.

  The next day, back in DC, I received the word: the ex-Agency woman had made
up a lie to get permission to stay, but it had all unraveled on her. It had something
to do with something I had asked her to do or had asked her not to do, or some
research, or something: whatever it was, it was a fabrication (barely a word had
passed between us), designed to get herself turned around and reassigned to stay in
that operation in the countryside. She was confronted, and spilled the beans,
blubbering: she was actually working for someone else, and was supposed to stay
down in that operation in the countryside, spying and reporting back. They also
confronted the cocky British guy, and though I think he never broke, I am told he
was implicated in the minds of everyone there. Security walked both characters off
of the premises. After their departure, a device of some kind was found wired in
one of the key rooms on the premises.

     —————————————————————————————

  Now, this is not to say that all time was being wasted. The structure of
information flow I described, the one that had self-organized (and perhaps I had
roughed out), was taken over by a three-star General who had had a career in
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Military Intelligence, and he made it far better. Soon it was spitting out refined
analyses that began informing the briefs Sidney Powell was writing. We made
sure that everything that was provided was also provided to Rudy.

   That is the background to presentations such as ones I have been referencing.
Again, for an excellent example, watch Seth Keshel, here. Seth is a former Army
Captain (Intelligence) and played a key role in that structure I just described. Seth
is a quirky guy, a poly-sci junky, certainly on the spectrum, and just all about the
math. That link goes to a 21-minute video that provides an excellent example of
the kinds of work that was being done within the structure that had self-organized
around me. For a good understanding of the type of work that was being done,
you should watch at least a portion of this.

       If this video does not play click here: Doug Wade Interviews Seth Keshel

  Other examples of the kind of work we were doing can be found replicated in
the parallel work of others who went public. For example, the clear-speaking
mathematician Edward Solomon gave two public presentations, one dissecting
Georgia's results, one more general. The patterns and puzzles you see Solomon
unraveling in these two videos were precisely what our own cyber-ninjas were
doing inside our group (to give you a feel for their work).

                   Edward Solomon - Geometric Proof for Georgia

  And this excellent 50 minute presentation:

    Smoking Gun: ES&S Transferring Vote Ratios between Precincts in PA. - By:
                            Edward Solomon

  Back in DC, rejoined with my cyber-colleagues, we became aware of a
disconnect we could not seem to fix. The Mediocrity had evolved into our point
of contact with Rudy’s team, and nothing seemed to flow well. On November 26,
Thanksgiving Day, we were all sitting together in a restaurant in DC, and
discussing their problems. Sitting there eating our turkey dinner, they gave me
quite an earful. How the Mediocrity was super-controlling about information,
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plans, access. How the Mediocrity seemed to think they were peons, were telling
them, “Go here, go there,” with no explanatory information, no sense of “Hey
teammates, this is what is going on, and we are going to work on it together!” One
key player on the team was warning that he would quit if he had to have any
interactions with Mediocrity again.

  I had trouble believing the stories they were telling me. Among them were some
horrible ones concerning Mediocrity's proclivity for hitting on people of the
opposite gender, and possibly the same gender, in ways that were embarrassing to
all present (the Mediocrity had asked one of my colleagues to meet one evening,
and when the hotel door opened the Mediocrity was in underwear, waiting). But
now it was boiling over, they told me, because they had received an order that they
were all to be in Antrim, Michigan in two days. Again, Mediocrity would answer
no questions about where exactly they were going, exactly what machines they
were expecting to find, under whose authority would they be opening machines
and imaging hard drives, even how long would they be there, should they arrange
their own rental cars, etc. None of it was explained. The Mediocrity had just sent
word to be in such-and-such a place in Michigan, stat!

  Then, life being life, we looked up, and there was Mediocrity strolling through
the DC restaurant not far from our table. We caught each other’s eye, and
Mediocrity came towards us. Thinking it was a nice opportunity to pour oil on
troubled waters, I received Mediocrity gracefully, intending to converse in front
of my colleagues civilly, and get things back on track.

   Soon talk turned to Michigan, and I was asked would I be able to get the right
people there at the appointed hour. Thinking it might be a moment of
management development, I suggested, “You know, with requests like these, it
would help us to be better informed. My colleagues would like to know things
like, ‘Exactly where will they be going? Are the people there going to be
cooperative? What kinds of machines might we be exploiting? What legal
authority is enabling them to image one of these voting machine hard drives? Will
there be rental cars provided?’ You know, just the basics before people get thrown
on another mission like what happened in Georgia.”
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  “Look,” the Mediocrity said, standing over us at late Thanksgiving Dinner.
“First, what is your corporate structure?”

  We all looked at each other, male, female, 75, Weaponized Autism and others,
not previously having given the matter much thought. We were just a bunch of
people who had found each other and were trying to expose what looked like a
world-historic election fraud together. Finally I said, “Our corporate structure is
that we’re the Bad News Bears. I’m team coach.”

  “Ok Patrick,” Mediocrity continued. “Here’s what’s up. I’ve told you where
your people need to be in Michigan on Saturday. Be there. Or tell us you cannot,
and we’ll find someone who can.”

  In my astonishment I began to respond, and to my further astonishment, the
Mediocrity began speaking over me. “I’m telling you where you need your team
to be. If you can’t handle it-"

  I used something I had not used in a couple decades, something I had seen an
economist professor friend do to another professor, a Lefty, who had
continuously interrupted him (as Lefties are want to do in place of having good
arguments). I just started speaking, “Well it may sound like I was finished
speaking but I actually wasn’t and while you might think you are going to speak
over me actually I am just going to continue talking like this until you shut up and
I did not care if it takes all night because I know that it may have sounded like I
was finished but actually I wasn’t and...…” and so on and so forth. Without a
break. For about 10 seconds until the Mediocrity got that I was serious, and was
just going to continue speaking like that until the Mediocrity shut up. Which
eventually the Mediocrity did, looking somewhat astonished, having evidently
gotten away with such behavior in decades of federal employment.

  I politely said, “Where in the fuck do you get off? We don’t work for you. We’re
volunteers offering to help you do things you have no clue how to do. Go find
someone else anytime you want. The way you people work in this city is
astonishing. If you ever try to work at a modern company like Google, or
Facebook, your ass will be fired in a New York minute. You suck.”
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  I surprised myself, because I do not normally speak that way to people, but I did
that time. Perhaps it was three weeks of frustration boiling over. I told Mediocrity
that conversations with Mediocrity were constant games of narcissist deflection,
how amateurish Mediocrity was, how anyone walking around saying things like
“Either you do this or I find someone who will!” and “Failure is not an option!” is
a mediocrity who may have learned management within government but who if
ever moved to the private sector would get fired by noon. When making such
requests of my colleagues, any competent person would provide relevant
information. Fill them in on the mission, let them brainstorm, they'll be able to
contribute….

  I saw Mediocrity was crestfallen, and realizing I had overdone it, I gently
escorted Mediocrity away from the table. I tried to soothe things over a bit, and
put a nice façade on things, so as not leave Mediocrity embarrassed. As we parted,
Mediocrity turned to me and said, “Don’t worry. I’ll be with the President. I’ll
make sure you get full credit for all of this.”

  Exasperated, I returned to my seat and friends. Minutes later we saw that
Mediocrity had, in fact, been part of a larger party, and walking out with that
party was none other than Mayor Giuliani. I quickly sidled up to him. It was
about 10:30 PM, his step seemed unsteady, and I went to his elbow like one
would escorting Grandpa to his taxi. I told him, “Sir, this is not going well with
your colleagues. May I respectfully request a way I might contact you directly, so
we can keep things on better track?” The Mayor pulled out his cell phone and had
me take his number.

  In that weeks that followed I called and texted that number on a half-a-dozen
occasions. Not once did Mayor Giuliani respond to me.

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  Over these weeks I got to know a number of excellent White House staffers.
Smart young men and women in their late twenties or early thirties, generally.
Some (but not all) were Trump enthusiasts. They filled me in on details here and
there, snippets of what was happening behind the scenes among the campaign,
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Rudy, and the White House. One evening, once we were close enough, I let down
my hair and said, “This is a shit-show. Is this …. normal?” One of the staffers (and
mind you, a pro-Trump one) said, “This is the Trump White House. This is how
everything has run for four years.”

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  The Bad News Bears got where they needed to be in Michigan, when they
needed to be there. Mediocrity was there, along with staff from Rudy’s team.
They went to the expected precinct and like Georgia, it was a bust. The machines
were not what we had been led to expect. No real authorities were there, or law
enforcement, or warrants: just a mildly cooperative 75 year old lady working in a
public building that had acted as a voting precinct.

  While the Mediocrity hung around chatting up county workers of the opposite
sex, the dolphin-speakers went to work. It turned out the 75 year old lady who ran
the place had a story about how, on the day after the election, some people from
“County” had shown up and instructed her to insert her card and re-run her
machine using some different inputs. What she was saying did not make sense,
and it was clear that they had taken advantage of an elderly woman who probably
does not send her own texts. Finally she mentioned that, unbeknownst to
County, she had kept both the paper audit trail of the original run, and the re-run,
and had stored them in a closet. Our geeks got excited, and had her bring them
out: they unrolled them on a long carpet, and in a few minutes of study, they
began finding things. Alarming things.

  The Bad News Bears got Mediocrity to break away from Coffee-Klatch With
The Deputies, and pointed out what they were finding in the paper audit rolls.
Finally they suggested, “You are a lawyer, right? Don’t you think you should be
getting some affidavits here?" Startled, "Oh yes, of course,” scrambled Mediocrity,
and did so, getting affidavits from the 75 year old lady and one or two other
employees who had useful information.

 Those learnings and those affidavits were fed to a Michigan lawyer who was
pursuing an own election fraud case in Michigan. Days later a judge read it, and
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found it alarming enough that he gave a court order for a formal exploitation of
the Antrim County voting machines. The Bad News Bears returned to Antrim
County and this time, with a proper court order in their pocket, they were able to
image hard drives, and returned to base camp with those images. By working in
staggered shifts around the clock, over the next four days they performed a
month’s worth of work, first breaking the security on the imaged hard drives, then
reconstructing the files, then analyzing them. That was all fed up through the
system, and emerged about a week later as an eye-opening report that created a
national stir, known as the Antrim County Computer Forensics Report.

   Other telling things were happening nationally. Some concerned federal
employees had been tracking events in a certain Western state, and were sure they
knew how vote flipping was being done there. The problem was, when asked to
allow inspection, the relevant judge (a Democrat) would insist on stalling for a
couple days, thus giving time for the opposition to go in and do a “smash-down”
(a hacker’s term for fixing evidence after-the-fact, in anticipation of an audit,
making sure everything ticks and ties correctly). But they made a mistake in one
location, and their smash-down failed. The data that turned up was so telling, so
indicative of fraud, that the lawyers went back to the judge arguing it provided
grounds for a far more sweeping order that would let them examine machines
across the state. The judge agreed in principle, but suggested that the precinct
needed to have its data verified again before he could use its discrepancies to
justify such a sweeping order. The concerned federal employees put the location
in question under observation, and sure enough, that night there were three cars
in the precinct parking lot. They were redoing their smash-down so that this time
it would work. In the morning the data was fixed, and no further orders were
coming out of that judge.

  However, unbeknownst to all, the concerned federal employees in question had
recovered enough material both to document the original, and the smash-down.
They also got the license plates on those three cars: they tracked back to a left-
wing union which shows up repeatedly in the background of events of recent
months.
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  Meanwhile, back in DC, I was hearing things out of Rudy-World. I heard that
he was getting paid $20,000/week, and there were those claiming he was just
mailing things in for a paycheck. However, later I was told that Rudy was working
for free, and the $20,000/day bill had been a billing error from an uninformed
assistant. I do not know what the truth was.

  More importantly, from others in Rudy-world I began hearing the number
“$207 million”. The claim was that the Republican Party had raised $207 million
to “stop the steal”. In one version it grew past $300 million. In one version of the
staff rumor, the finger on the button for those millions was a high-level woman at
the Republican National Committee. In another version, it was being jointly
managed by that RNC woman and the Commish, and they were surely keeping
an eye to the future. In everyone’s version of the story, $100 million had been set
aside for future legal defense. But whoever was in charge, they were sitting on the
money, and I never saw one penny of it being spent in any way to “stop the steal”.

  So to whatever Republican loyalists around the country coughed up those
hundreds of million, in donations of $10 and $20…. You were fleeced. It was a big
joke: rank-and-file Republicans gave a pot of hundreds of millions of dollars to
Republican Bigshots to unscramble what had happened on November 3, and
from where I sat, nothing went to any activity related to doing so. It was all being
stashed by people at the top, licking their chops.

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  In Georgia, there was a faction that had been in touch with me from days after
the election. This was an especially interesting network of people with law
enforcement and quasi-law-enforcement backgrounds. Since November 4 they
had been reverse-engineering the Rig there in Georgia. They had put people and
locations under observation, had filmed a variety of activities through telephotos.
They mapped and tracked numerous parties involved, and even tracked the
organizers down to a small element, a Leninist cadre, who were staying in a motel
together and managing the Deep Rig around the state of Georgia. For their own
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reasons this network with which I was in touch needed to stay in the shadows, yet
as the weeks rolled by they were providing good information helping us
reconstruct what had happened in Georgia. What our cyber-ninjas and quants
and analysts were getting out of their methods, always matched what was being
reported by this network of people with many boots on the ground.

  The fight in Georgia became surreal. There was an earnest young man who was
both a staffer for a Senator, and dating the daughter of the governor. He got
involved, then his car exploded in an accident (see “BIZARRE EXPLOSION
CRASH IN GEORGIA – KILLS HARRISON DEAL” December 5, 2020). It
was on a 4-lane highway, it got struck on the side by another car...then it blew up.
The engine was thrown 75 yards.

  Most videos of the accident have been removed from the internet, but some
remain, and show a car burning in a fireball: it was quite an ornery car accident.

  Then the Georgia Bureau of Investigation got involved. Three days later, the
officer conducting the investigation committed suicide.

  A Georgia election worker named Ruby Freeman made a video boasting of
committing massive criminal fraud in her election work. Ruby is the mother of
the woman videoed yanking large amounts of ballots out of hiding and scanning
them multiple times in a Georgia voting station that was “shut down” and had
had all observers removed from. In her social media posting, she takes credit for
committing … precisely the election fraud that we were claiming had gone on.

                  Click to play video: Ruby Freeman Fraud Videos

  In her online confession to election fraud, she expressed precisely the attitude
that, I maintain, was held by enough people to make rigging a national election
possible:

   Click to play video: Ruby Freeman - Screengrab of confession to Voter Fraud
                                    Crime

  Ridiculous video footage continued to emerge, shredding the possibility of
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seeing this election as one that measured the will of the people, or could be
unscrambled so as to discover it.

  Click to play video: CAUGHT: Surveillance footage shows GA poll worker
scanning the same batch of ballots MULTIPLE times!

  A technologist and inventor named Jovan Pulitzer went public regarding his
technologically-oriented investigations into the Georgia election. Jovan's
approach was to look past all the different theories as to how the election had been
scrambled, and simply do a forensic audit on the ballots, determining which had
actually been folded and mailed. For the cost of half a million dollars, we could
have run a million or two million ballots in Georgia, and had a forensic audit
complete in a few days, and everything could have been settled simply and
quickly. Here is a short video of Jovan explaining his idea:

  Click to play video: MUST-SEE: Jovan Pulitzer EXPOSES MASSIVE FRAUD
in Georgia Election

  Meanwhile, even moderates in the public space who were researching for
themselves were stating the obvious: “When Math in Public is for the Republic:
Want evidence about election fraud? Here's some. I'm tempted to call it proof.”
(November 29, 2020)

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  Over those weeks, Rudy scheduled a few hearings in some states. His plan had
evolved to getting enough evidence in front of state legislatures that they would go
off automatic pilot and begin making hard decisions. Most of these hearings were
unofficial, conducted out of rented hotel spaces. His star witness was the Colonel
from military intelligence with whom I had been working since August, 2020,
who was brought to these different states to report and synthesize the information
that the Bad News Bears were surfacing. He did an able and convincing job, but
we all began to wonder: What’s the strategy here? Is there a strategy? Rudy’s
strategy (if there is one) just seems to be a long march through the courts. Taking
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cases to the states and appellate levels. Imagining he is going to win by running the
tables through the court system. Or getting state politicians to do something brave.
But that was not going to work, as the courts are ponderous anywhere, especially
disinclined to get involved in election matters, and were already setting court dates
out past January 20. And politicians do not do brave things. Yet Rudy just kept
plodding along with an occasional hearing, a daily podcast. It did not make any
sense.

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  Along the way, the same Goons that had been normalizing political violence in
our domestic discourse since June, 2020 began to feel emboldened. Here, a Wayne
County election official named Monica Palmer initially refused to sign off on the
results for which she was to certify, on the grounds of the kinds of affidavits,
statistics, and forensic evidence then accumulating. Palmer was immediately
denounced as (what else) "racist" and her children were threatened.

  Here is the Goon who did that:

  USE THIS VIDEO:: "Abraham Aiyash doxxed Monica Palmers children,
announcing names and school then called her a racist"

  Oddly, such explicit attempts at violent intimidation of elected officials began
passing almost without comment or official response, if the violence threatened
was from the Left. For example, here is a Michigan State Rep Cynthia Johnson
menacing the lives of political opponents. Grading on a curve for 2020, that may
seem perhaps not too odd, until one realizes it was not an off-hand remark, but a
calculated comment she recorded and put up on YouTube. That she thinks it
appropriate tells you something about the times in which we live:

      Click to play video: Rep Cynthia Johnson Threatening trump supporters

  I believe that it only took a small number of such incidents to do grave damage
to our nation. Political violence (from the Left) was normalized. My colleagues
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and I started seeing it in our whistleblowers, the people from around the country
who were in contact through us who were giving or considering giving affidavits
on their experiences. It certainly had a chilling effect on them, and several
requested temporary protection. Some received it.

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  Mike, Sidney, I, and others developed a Solution-in-a-Can. It was really the
solution we had started within in mid-November, redone by a top-notch lawyer
and a 3-star General. Under various orders signed previously by both Obama and
by Trump, if an election had foreign entanglement, the President had a broad
spectrum of powers. And the President on his own judgement could sign a
"finding" saying that there had been adequate foreign entanglement. There was
evidence of foreign involvement on numerous fronts, which arguably would have
justified a vigorous response, but we had only a narrow, tailored on in mind; based
on the information that had been turned up, the President should use his powers
under the requisite Executive Orders to send US Marshalls and the National
Guard into the five problematic counties, open up the paper ballot backups, and
recount them on live-streamed TV. Ideally, they would also image the hard drives
of (but leave in place) the election equipment in those counties, for forensic
examination. If there were no big discrepancies, Trump would concede. If there
were big discrepancies, such as half-a-million vote discrepancies that we suspected
might fall out, then more aggressive courses of action could be countenanced,
such as re-rerunning the election in those counties or states. The recount of the
five counties could be easily done in under a week, and if it justified further
action, the entire resolution could still be achieved on a Constitutional timeline.

  Either that, 47% of the electorate had to choke down an election whose integrity
they doubted.

  General Flynn drafted a beautiful operational plan for such a mission. One
signature from the President and the whole thing would roll. The teams would be
created from the right National Guard Units, the right directives to each… An
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expansive version of the plan had recounting conducted in 17 counties around the
nation, Democrat and Republican, including the Problematic 6. That most
expansive version of the plan envisioned paper ballot recounting, plus imaging of
hard drives of these voting machines for further forensic analysis (but not
“seizing” the machines: they were to be left in place, and just have their hard drives
imaged).

  There were weak and strong versions of the plan. An uber-expansive version of
the plan would have had the paper ballots not just recounted but forensically
audited (but we thought that was too much to ask for with the possible exception
of Georgia). However, in a pinch, we could hit just the Problematic 6 counties,
and even simply recount the boxes of paper ballots, and have a preliminary answer
in 2-3 days, thus ending a great deal of national drama. And it need not be done
by the National Guard: US Marshalls and DHS and/or FBI might make up the
federal force.

  Mike and Sidney had the legal research, the draft finding, the general’s
Execution Checklist that would, upon Presidential signature, make everything
run like a Swiss watch.

  And yet, things slid and slid. Rudy went off to organize a hearing in a hotel
room and wanted one of our people there to speak…. Days spent waiting for
warrants that never came…. Absolutely no sense that there was anyone with a
plan, let alone executing one . We saw the Constitutional deadlines beginning to
loom…

  The days turned into weeks. December came. Somewhere in those weeks a
grizzled and retired Navy Master Chief was on the scene for a few afternoons. His
summary of Rudy’s operation was memorable: “It’s like watching a half-dozen
monkeys try to fuck a football.” The simile struck me as incredibly apt. Imagine
walking into a zoo, seeing a cage with six monkeys in it, tossing a football inside,
and watching them all try to fuck it. There’d be screeching and snarling and
fighting and running around…. And none of the monkeys would make any
progress towards their goal. So that Master Chief’s phrase seemed spot-on, really
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tickled my funny bone.

  Then it was mid-December. Yes we had state matters spinning along, yes we had
geeks inspecting packets and finding foreign interactions, yes we were finding that
the registration of every new Nevada voter was transmitted to Pakistan ISI, yes we
were finding machines with wireless cards in rooms with smart thermostats that
had been breached from overseas, yes we were learning why live voting rolls were
kept overseas….. But Flynn and I had a sense our side was chasing its tail. That
opposition was running out the clock. And Rudy’s approach would allow that.

  At one point I learned how the President was staying involved. Periodically,
Mayor Giuliani and Mediocrity were going over to the White House to brief him.
Really, no kidding: the person who was so bad my colleagues had declared they
would quit rather than work another moment with that person, and the 76 year
old guy who had trouble sending an email and was doing podcasts and getting
sloshed, were the ones explaining to the President the cyber-crime of all time and
what his options were. At first I thought it was a sick joke, but I confirmed it. The
Mayor and Mediocrity were the point-people on the mission of addressing this
world-historic event.

  There were times that Flynn and I confessed to each other that we felt sick. A
frequent subject of mutter between us ran along the lines, “Why the fuck are we
doing this?” The president’s children were off, uninvolved, pep-rallying, or
planning their retirements. We could detect no discernible strategy out of the
President’s team, no marching orders, just an organization wandering around in
circles and melting as it did so. A person who was so bad, we had had to make
special arrangements such that Mediocrity did not have contact with our Bad
News Bears, or they were going to flee. And the whole mess was led by a 76 year
old gentleman, a man beloved by all including myself, but who six weeks into
what might be the most sophisticated cyber-theft in all of history, still could not
have a coherent conversation beyond, Did you hear that 211 dead people in
Philadelphia voted? Dead people?!?!? And they voted! Joe Frazier voted! He died in
2011 but he voted! Have you heard?!? How do you vote when your dead?!?
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  And then we would remember why we were doing it: America’s brand is
“elections”. It is what we do. We had a national election that appears to have been
compromised in a remarkably precise yet strategic way, it shows the hand of
foreign involvement, it may be part of a Chinese psyop to take over our country,
and there might never be free, non-goon elections in America again. We’d often
remind each other, That’s why we are not supposed to quit.

  And that is why, a week before Christmas, General Mike Flynn, Sidney Powell,
and I decided it was time to take a chance. By hook or by crook we were going to
Jedi-Mind-Trick our way into the White House, maneuver our way to the Oval
Office, and get the President's attention ourselves. With no invitation from him.
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                                         6



           Chapter 6: Crashing the White House
                    (December 18-22)




CHAPTER 6: CRASHING THE WHITE HOUSE (DECEMBER 18-
                       22)

  On the evening of Friday, December 18, Sidney Powell, Mike Flynn, a sharp
female attorney on Sydney’s team (whom I will call “Alyssa”), and myself decided
to call an SUV and get driven to the entrance that serves the Eisenhower Executive
Office Building, which is on the grounds of (and connects to) the White House.
We had a vague plan regarding how we were going to get through all the rings of
Police, Secret Service, and Marines: Sidney and Mike were the center of global
attention, and we were going to try to use that to bullshit our way and get to the
Oval Office. Beyond that, we’d be playing it by ear (I did say the plan was
“vague”). There was a fine young NSC staffer whom I had gotten to know who, a
real mensch, and I called him and left a message that I was accepting the open offer
he had extended to drop by his office anytime, and was coming over … right then.
At 6:15 PM. Another excellent staffer went to work on a parallel course. Not
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knowing if they would play ball, we may have been less than clear about our
intentions.

   We were dropped off a block from the security gate and walked through the
light snow falling in the darkness. We got to the first security booth, and when the
Police and Secret Service saw it was General Flynn (“The People’s General”), they
stiffened to attention. My staffer buddy came out from inside, and when he saw
Flynn and Sidney he froze and looked at me with raised eyebrows. I gestured that
we were all together, and he looked shocked for a moment….. then strode over to
the guard, flashed his ID, and asked him to let us all in. With muted relief the
guards quickly said, “Take care, General” and we were through the first layer. For
the second layer my staffer-buddy and one of his fine colleagues joined us as we
walked into the inner ring entrance, and spoke for us: again, when they saw Mike
the guards again all stiffened to attention, then briskly and professionally
processed us all through quickly. They were silent and asked no questions,
apparently guessing we might not have good answers if they did.

  I was the last one through, and as they handed my ID back to me one leaned in
and said quietly and intimately, “Thank you Mr. Byrne.” I was surprised, and it
was the first I understood that in the constellation of Michael Flynn and Sidney
Powell, there was a faint little star of my own.

  We were ushered inside to an office, to use as Base Camp. If I recall correctly, we
were in Base Camp for about 30 minutes before making a move for the office of
another staffer, another young and principled person, with an office closer to the
Oval Office. Camp 2.

   Once there, Mike Flynn made contact with someone with whom he had worked
in his brief stint as National Security Advisor, someone with an office that could
serve as Camp 3, from which would come the final assault on the summit (the
Oval Office). “Hey yes it’s Mike, how you’ve been? ….. Oh my Gosh, so great to
hear your voice too….. Yeah yeah, it was unbelievable…. Where am I? Oh actually
I’m in the White House! Yeah, just came by to see … See me? Sure well how about
I just swing by… sure sure see you in a moment.”
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  We launched for Camp 3. And sure enough, when we got there, as Mike Flynn
stood talking to his former colleague, Sidney and I had a 20 foot line of site into
the empty Oval Office……

  After a few minutes, through a private door on the far side, Donald Trump
walked into the Oval Office. He was dressed in a creased blue suit and tie, still, at
7:30 PM. He glanced out the doorway to where Sidney Powell and I were already
walking towards him, greeting him like he was expecting us. President Trump’s
eyes knitted in puzzlement but he recognized us, and after a moment he beckoned
us in. Within seconds General Flynn, Sydney Powell, and I were all sitting in the
Oval Office with President Donald J. Trump, with the door shut behind us.

  So that happened. Really.

  The President sat across the Resolute desk and made small chat with Mike,
asked him how he’d been. It had been almost four years since they had seen each
other (when Flynn had left the White House, weeks into Trump’s first term). He
asked after Sidney as well. I gave and received no more than a nod, letting Mike
and Sidney take the lead. As I have noted publicly, the first thing I noticed about
him was how measured, gracious, and even soft-spoken Trump seemed to be, so
unlike the character that has beamed at us for years through the media.

  Eventually he glanced at me again, raised an eyebrow, and gave a small chuckle.
Apparently, he knew about me, as I thought my be the case. He said something
quietly, civil and kind. I said, “Thank you Mr. President…” He cocked his head
quizzically and said something softly about knowing that I had not voted for him,
and had said a number of critical things of him. I let him know the truth, that I
had said some harsh things before the 2016 election, but while he was President
my estimation of him had grown, and that in any case none of it was relevant, that
I was there because I was confident the election had been hacked. I told him, “We
think there is a much shorter route through all of this than your team is
pursuing,” I closed saying, “But Sir, entrepreneur to entrepreneur, I feel I must
mention something. As you may know, I have been swimming around the outside
of your administration for a couple months now, and I must tell you, I do not
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think you are being well-served by many people in the White House. I can bring
in young staffers who will tell you that some of your senior leadership don’t want
you to win. They want you to concede.”

  The President raised his eyebrows at my frankness. Then, like a man who knew
the answer, he asked quietly, “Why?”

  “I’m not sure,” I said, “but I hear people are getting signals that if they’re good
boys and get you out the door, there will be jobs waiting for them. But if they
don’t, they won’t be getting offers from the right law firms, they won’t be getting
invitations from the right country clubs, they won’t be getting invited to the
socialite parties on Manhattan…” Trump grimaced, and we moved on.

  Sidney and Mike began walking the President through things from our
perspective. In brief: there was a quick way to resolve this national crisis because
he had power to act in ways he had not realized. Under an Executive Order that he
had signed in 2018, and another Executive Order that President Obama had
signed in 2015, he could “find” that there was adequate evidence of foreign
interference with the election, and while doing so would give him authority to do
big things, all he had to do was one small thing: direct a federal force (we
suggested US Marshall Service + National Guard) to go to the six problematic
counties in question and re-count (on livestream TV) the paper ballots that were
held as fail-safe back-up. It would only take a few days. Even more conclusive
would be if they imaged the hard-drives and those images could be examined
forensically (which would make the project last no more than a week, as we had
already cracked the Antrim County machines and knew precisely what to do
going forward).

  In either case, if there was no mischief found, then President Trump would
concede the election. But if (as we suspected) evidence of hundreds of thousands
of improper votes was found in each of the six counties in question, then he
would have a wide variety of options. He might have those six states re-counted.
Or he might have 50 states recounted on livestream TV by federal forces, and
America would finally have its answer to, "How much election fraud goes on in
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our nation?" Or he might skip that and have the National Guard re-run the
elections in those six states. We pointed out that, it being December 18, if he
signed the paperwork we had brought with us, we could have the first stage
(recounting the Problematic 6 counties) finished before Christmas. And even if
the result was sketchy enough it demanded a rerun of the election in those states,
it could be done before January 20, so that the January 20 Constitutional deadline
would not be disrupted. The more time that he let slide by, the more compressed
things would become. If he waited to see what the January 6 outcome was,
however, and then decided to follow a plan such as ours, it would engender
accusations of “sore-loserism”, so he had to act quickly.

 The alternative was an election that 47% of Americans doubted, which would
not be good for the country.

  After absorbing the plan, the President said, “You know Pat,” he said to me,
catching my eye and gave a little snort of humor. “You know, I could leave here
and my life would be really .... fine. I could be with my family, my friends, I could
be playing golf …” We looked at each other and shared a moment as may occur
only with CEO’s and other “leaders”: people think our lives are glamorous, but in
many ways they are unpleasant. I had a flashback: the first time I was running a
firm, a 24-person manufacturer of industrial torch tips in New Hampshire, I went
on a sales trip to Europe. Some great colleagues (engineers) and I spent a couple weeks
of crawling around on plasma machines in a shipyard in Spain, a crane
manufacturer in Belgium, knocking on factory doors in Hamburg, then attending a
gigantic conference in Essen so we could walk around getting business cards and
grabbing people to sit with us for a bagel to hear a sales pitch because we could not
afford our own booth, but we needed a big order so we could make payroll the next
quarter. After a few weeks of it we were home to New Hampshire, being received by
colleagues like we were jet-setting royalty. “Oh Spain! How was Spain? Belgium!
Germany!... Gosh I always wanted to travel, what was it like?” That’s when I
realized that people do not understand how the CEO life is not nearly as fun as
people think, dreaming of taking it easy, of being able to take a walk without
worrying about the (in my case at the time dozens, in Trump’s case, hundreds of
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millions) of people depending upon you.

  I understood why Trump was chuckling, and I nodded and chuckled along
with him. I got just what he was hinting: he was thinking that from a personal (74
year old’s) standpoint, leaving the White House and going to Florida and golfing
had a real appeal. “So Pat, on January 20 I could walk to Marine One and climb
aboard and go have a really good life….” He continued, talking softly to me,
directly. “But this? Knowing I was cheated, that they rigged this election? How
can I just walk away from that?”

  Other than that, of that first 30 minutes we had alone with the President, most
of the conversation was among the President, Mike, and Sidney, so I had a lot of
time to study President Trump, and I was surprised on many fronts. When he
questioned Sidney’s legal reasoning that he had the power to do such a thing, she
pulled out the Executive Order he had signed in 2018 and described one from
Obama in 2015: Trump took the E.O. and scanned it quickly, then began asking
pertinent questions from it. The same with the finding that he would need to
sign: he asked questions of both Sidney (regarding legalities) and Mike (regarding
substance), who discussed with him the kinds of information regarding foreign
interference covered in the last chapter. Throughout what I saw was a sharp
executive mind, taking in information quickly and calculating decision-trees. It
takes a lot to impress me, but what I saw was a sharp mind in action. It surprised
me how I had seen no mention of it in four years.

  Finally, Trump stopped and scanned the three of us, and asked simply. “So
what are you saying?” Thinking of the difference between the highly organized,
disciplined approach I had experienced with Flynn and Sidney, versus the college
sophomore bull-session approach of the Campaign and Rudy-World, I spoke up
again: “Mr. President, I think you should appoint Sidney Powell your Special
Counsel on these election matters and make General Flynn your Field Marshall
over the whole effort. I know Rudy’s your lawyer and friend, and he can have a
great role in this. Rudy should be personally advising you, and we don’t want to
do anything to embarrass him. But it Sidney needs to take point legally on this,
and if you want to be sure, make General Flynn here Field Marshall. If you your
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chances are around 50-75%. You should see how he well he has this planned, it
would run like clockwork…”

 The President shook me off, saying, “No no, it’s got to be Rudy.”

  After some time (20-30 minutes?), three lawyers appeared together. They did
not introduce themselves, and huddled in the back of the Oval Office, listening.
In addition, Mark Meadows and someone else joined us by speaker phone.
Eventually the lawyers in the back began muttering things to make their
displeasure and disagreement evident. Finally President Trump said something
indicating this was new to him, wondering why no one had shown him this route
through the impasse. I said again, “Sir, again, CEO to CEO, you are not being
served well by those around you in the White House. I’ve gotten to know staffers
in your White House, and they tell me they are being told that leadership here is
telling them to get you to concede.”

  Trump started to say something to Mike and Sidney, but he stopped himself
and turned back towards me. “Who?” He asked angrily, “Who wants me to
concede?”

  I was taken aback by his anger, as I thought it was common knowledge. I
thought it was understood that half the White House was in on the program of
getting him to concede, for that was the estimate I was repeatedly told. “Sir, I am
surprised you’re surprised…. In your White House leaders are telling junior staff
this everywhere. I am told this fellow Pat Cipollone [indicating the lawyers behind
me as I spoke, not knowing which was Cipollone] has been telling people since
November 4, ‘Just help us get the President to concede.’ And for the last couple of
weeks, Mark Meadows has been telling staff, ‘Help get the President into
transition mode.’”

  Trump turned to White House General Counsel Pat Cipollone, who began
sputtering. “Mr. President, you know how hard I work, you know how many
hours I have been putting in…” Both of which were mealy-mouthed, and neither
of which was a direct denial, as was obvious to everyone in the room. Trump
faced him, his face darkening in anger.
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  “Sir,” I continued, “in 30 minutes I can have a number of staffers from within
your White House here to tell you that those are quotes from Pat Cipollone and
Mark Meadows. This guy is lying to you through his teeth. They want you to
lose.”

   Trump turned, knowing I was correct. He indicated one of the other lawyers,
said, “Did you know that this is his last day? He has a job starting Monday at a law
firm up the street, getting paid 10 times what I can pay him here.” He continued
wistfully to me, “Pat, can you imagine what I could have gotten done here, if I had
not been fighting my own people?”

  Cipollone and the other two lawyers scurried out the back door of the Oval
Office. I heard them stay out in the ante room, caucusing. Meanwhile, the
President, Sidney, Mike, Alyssa, and myself continued for a while walking
through more of the details, reviewing some of what we had said earlier. At some
point Allyssa, that quiet but razor-sharp female lawyer assisting Sidney, took over
for a few points, and concisely explained aspects of the executive order, always
clarifying with great precision whatever needed to be clarified.

  After 10 minutes the three lawyers walked back into the room and stood, this
time not in the back, but abreast and to the left of we four visitors: Alyssa, myself,
Mike, and Sidney, sitting in a half-moon in front of the Resolute desk. Mike
continued taking operational questions that arose, while Sidney and Alyssa
handled legal questions that arose. The three male lawyers edged closer to the
front, then as though as some hidden signal, they all started being bitches.

  First was some comment about it not being right to use the National Guard.
“The optics are terrible, Mr. President,” said one. “It would have to be the DHS.”
 I liked the National Guard idea because we needed to reestablish trust of the
American people in the electoral process, and the US institution with the most
trust is the one where people dress in military uniforms. Yet the National Guard is
local, they are all around us, our colleagues at work, our “Citizen Soldiers”. But
perhaps in a sign of flexibility, Flynn and Sidney allowed as how one could use the
DHS instead of the National Guard.
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  “The press would tear you apart,” predicted Pat Cipollone at one turn in the
conversation. Sidney said what Mike and I were both thinking: The press is going
to tear him apart? Really? What are they doing now?

  At some point Cipollone objected, “Never in American history has there been
this kind of a challenge to an election!” Flynn responded, “Never in American
history has there been a situation like this, with counting being shut down for
hours, foreigners connecting to our equipment, …..”

  “He does not have the authority to do this!” Cipollone thundered eventually.
Sidney rejoined, “Of course he does,” citing EO 13848 (and something else signed
by Obama). “Without question he has the authority.” Alyssa whipped out EO
13848 again and showed the relevant language that we had just covered. Trump
looked at Cipollone with an expression that said, You never even brought this to my
attention, Pat. He said to Cipollone, “You know Pat, at least they want to fight for
me. You don’t even fight for me. You just tell me everything I can't do.”

  By this point Cipollone was getting hot under the collar. Raising his voice to the
President, he said, “Hey if you want to do this you don’t need my permission. You
don’t even need a pen or a piece of paper. You can just say, ‘I hire Sidney Powell as
White House Special Counsel,’ and it’s done.” But then he went on with more
objections to everything he was hearing, all of which continued to sound
stretched. Even frivolous.

  After half-a-dozen such frivolous objections from the White House General
Counsel, Mike and I looked at each other dumbstruck. Mike grew calm, silent, his
brow knit in bafflement. Finally I calmly announced to the room: “This is the
most surreal conversation I have ever experienced.”

  Around that time Alyssa spoke up on a legal point: he clearly had grounds to
find that those Problematic 6 counties had enough peculiarities in their election,
that under his powers under those EO’s, he was sending in federal teams to
recount the ballots in those six counties. It was a defensible, reasonable action to
take (which she said in legalese). What happened after that would be determined
by what was found. But now the three male lawyers on their feet began speaking
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to her rudely. They challenged her, asking something like, “You're not even a
lawyer!”

  She replied, “I am a lawyer. I work for Sidney, and-” they cut her off, snorting
derisively.

  Flynn sprung to his feet with a grace and ease that surprised me, a surfer getting
up on his board. He turned to face the three lawyers standing over and barking at
Alyssa. In a measured tone he asked of the three lawyers, “Let’s get something
clear. What do you think happened on November 3? Do you think was a fair
election? Nothing unusual about it in your eyes?”

  The three lawyers looked down, stuck their toes in the dirt, glanced at each
other out of the corners of their eyes, and would not give an answer.

   President Trump looked directly at me and said gently, “You know Pat, all my
life I’ve had the best lawyers. People call me from all over the world, ‘What lawyer
should I use on this? What lawyer should I use on that?’ But here…. You know,
the other side breaks every rule in the book, but me….? All I have are lawyers who
tell me ‘You can’t do this, you can’t do that…’ Do you see what I have been
working with for four years? Can you imagine what I could have gotten done……”
He broke off, then turned to Cipollone, asked “Where’s my Durham report?
Where’s ….” and started rattling off his legal disappointments.

  Standing there next to his two colleagues, Cipollone started shouting back at
Flynn, still on his feet, and at the President. Still shouting, he stepped rudely
towards us, standing over (and inappropriately close to) Alyssa from behind.
Before I knew it I was on my feet, shoulder-to-shoulder with Flynn, back mostly
to the President, with a mental trigger that if Cipollone moved another inch
towards Flynn, Alyssa, or me I was going to bury my knuckles in his throat.

  President Trump said, “Hey hey hey!” We all turned. With both hands waiving
at us to calm down, and a quarter-smile of disbelief on his face, he said, “Heeey
calm down….” Cipollone turned to storm out the door again, his two butt-boys
in tow. Before he was out Sidney said, “Let him leave. I’ll take the job and you’ll
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win.” Trump said after him, “Go ahead Pat. Leave. Don’t come back as far as I am
concerned.” As the door shut, Trump said softly, “Ahhh, I don’t mean that. You
know, Pat’s a friend, and…” his voice trailed off. I winced at the dawning of my
understanding.

  I took another shot at it with the President. “Again Sir, I know that Rudy is a
friend of yours, he’s wonderful. He's America's Mayor. I love Rudy, I don’t want
to embarrass him. But you should see how what Mike and Sidney have got going.
It is so organized, so well-planned-" Again he cut me off, saying, “No no, it’s got
to be Rudy…” On the inside I slumped.

  There was a third round where the lawyers came back in to interject themselves
into what the rest of us were talking about. A third round of frivolous push-back,
but this time it was President Trump who got ticked off) at the push-back from
his own people, the searching for things they could oppose. Again he muttered
something weary to me along the lines of, Can you imagine what I would have
accomplish these four years if I had not had to put up with this?

  Finally, when Trump asked why such-and-such a course of action Sidney was
proposing had not been explored by Cipollone, the lawyer responded, “Well we’re
not the campaign lawyers.”

  It was painfully obvious that Cipollone was being purely obstructionist, coming
from a place of, “How do I stop this?”

  Trump sighed, and wearily said to Cipollone, “You know Pat? A few minutes
ago you said that I can do it just by saying it. Well…. OK. I have decided, now I’m
saying it. ‘Sidney Powell is hereby appointed as White House Special Counsel’.
There, that’s it.”

  “She needs a clearance!” interjected one of the other lawyers. “It’ll take months
to get her a clearance!”

  Even I knew how frivolous that objection was, but Flynn spoke up first, in
disbelief. “Mr. President,” Flynn said, “you can do the same thing with a
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clearance. You can grant any clearance you want, on the spot, verbally.”

  Sadly and defiantly, President Trump looked at his three lawyers and said, “I
grant Sidney Powell a Top Secret security clearance.”

  Again they stormed out of the room. Again the conversation continued among
the President, Sidney, Mike, Alyssa, and myself. That is when I had an emotional
reaction different than I had expected. There was a moment where I saw him for
what he was: a 74 year old man, tired, knowing he was being cheated out of his re-
election, maybe defeated, ruing his errors, dwelling on what might have been. I
wanted to walk behind his desk, put my arm around him, tell him,

 Yes, I do understand what you have been facing. I don’t know how you did it.

   Eventually President Trump said that we would all meet in 30 minutes in the
living quarters, in the “Yellow Oval”. In the meantime, Rudy was coming in and
we had to find a way to make things work between Rudy and Sidney. As we
parted he said, “You know, in 200 years there probably has not been a meeting in
this room like what just happened…”. As he was leaving he brushed past me,
stopped, and speaking low and quiet, said something quite kind and meaningful,
showing me that he knew a lot more about me than I had guessed.

  A few minutes later Sidney, Mike, Alyssa, and I were in the Cabinet Room,
waiting for Rudy. It was dark, and we had to find a couple lamps to turn on. Mike
and I were intent on making sure the meeting went well between Sidney and
Rudy, so everyone could work happily together.

  After 10 minutes Rudy came in, tying his tie, and said in not too gruff a
manner, but with perhaps the gruffness of a man disturbed from his evening meal,
“You know Sidney, if we are going to work together you have to share
information.” I did not take his tone as being too aggressive, but one of trying to
turn over a new leaf in a relationship, perhaps.

 Sidney told him, “I do share information Rudy. You don’t read emails, you
don’t read texts.”
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  “That’s not true Sidney! I just need you to stop keeping me in the dark-“

  ”Rudy I don't keep you in the dark! You-”

  “Sidney you have to stop keeping everything to yourself! I cannot work with
you if you don't share with me!"

  Within moments the conversation had spiraled out of control. After a minute
of squabbling I tried to interject something helpful. “Mr. Mayor, it is true that
since I arrived, everything we brought Sidney, she always said, ‘Get this to Rudy
right away.’ It’s true. Absolutely everything we turned up, she told us to share
with you. She never asked us to keep you in the dark about anything.” But it went
poorly. Fuming, we all went up to the living quarters of the White House.

  The President was there, waiting, and after we walked in the three lawyers
joined again. Meadows entered as well. A waiter brought out a bowl of small,
bottle-cap sized Swedish meatballs, with share plates. Trump motioned for them
to be placed at the small table so that everyone could indulge, but the table was in
front of me, for which I was grateful. I actually keep vegetarian from time to time,
especially when I travel, but how often does one sit with a President serving
meatballs from his grandmother’s recipe? And they were good. For the rest of the
meeting there were two and only two people eating meatballs: myself, scarfing
them down like popcorn, and occasionally the President, who would get up, walk
over to me, and refill a small share plate. Nobody else had any.

  The meeting continued for a couple hours in those quarters. No substantial
new ground was covered: we walked through the reasoning we had gone through
in the Oval Office, and explained the plan. President Trump was decisively
onboard, and none of the other parties pushed back. Instead, they glumly asked a
few questions about how such-and-such was to be done, and Mike or Sidney
explained. Finally, around 12:15 AM, we all began fading, and wrapped up. We
walked outside in the hall, waiting, until the President came out to say goodbye.
We each had a moment with him. But we were all exhausted, I think, and glad
that the meeting was over.
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  At no point in the evening was there mention of martial law or
Insurrection Act. All claims to the contrary are lies, propagated (I imagine)
by Pat Cipollone, who (according to multiple sources) leaks to Maggie
Haberman of the NYT. Cursory review of Haberman's writings on the
White House, which never fail to give stroke to Cipollone, would support that
claim.

  Minutes later Alyssa, Sidney, Mike, and I were walking on the sidewalk in front
of the White House, light snow still falling in the dark. Meadows and Rudy left
together and walked away together to the west. The four of us strode east, elated:
with Sidney ensconced as White House Special Counsel, and Mike providing
organizational skills and his vast expertise of matters DC, we were in good
standing, and at that moment we all felt the chance of success high. As we walked
home in the snow we confided in each other, You know, for me this is not really
about Trump. But we cannot let a rigged election stand. If we do, it could mean civil
war, or a Chinese take-over of our country. All we need is to follow this plan,
exposing what happened in those six counties by checking the ballots. If there is
nothing amiss, then Trump gets in his helicopter and leaves, and there’s no civil war.
But if we find chicanery, it will give an opportunity to blow this scheme up for the
whole nation. Who knows how much fraud there is going to turn out to be in US
elections? I think ‘a lot,’ what do you think? Around and around we went, excited
for our success in the meeting. After a few blocks our forgotten SUV found us in
the flurries, and he drove us the rest of the way to the hotel. I had my first good
night’s sleep in weeks.

 The next day, Saturday, Sidney called Meadows and said, “Well now that I’m
White House Special Counsel, I am going to need an office over there.”

  Meadows told her, “Yeah we’re looking into that, we don’t have anything
immediately, but we are going to soon…”

  “Then I will need a White House ID, so I can come and go,” replied Sidney.

  “Yeah well we are working on that too, there might be a problem with that, we’ll
see what it is going to take, …” said Meadows.
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  We all had a terrible sinking feeling, and by Monday or Tuesday, learned that
Sidney’s “White House Special Counsel” position was not happening. The plan
we had discussed extensively in the White House, the one that got an answer
before Christmas (and depending upon the evidence, either permitted a peaceful
transition of power, or justified extensive federal involvement that would get to
the bottom of the mischief), that plan…. had been called off.

  Instead, Rudy was going to continue his slog through the courts and the
hearings in the states….
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                                       7



           Chapter 7: The Christmas Doldrums
            (December 23 – January 6 noon)




CHAPTER 7: THE CHRISTMAS DOLDRUMS (DECEMBER 23 –
                 JANUARY 6 NOON)

  Flynn and Sidney left DC to their own worlds for Christmas, but I was staying
around in DC. Before Mike left we had a conversation. I use this opportunity to
share a bit about Mike Flynn.

  I knew from people who had worked in the field what Flynn had done to make
himself an enemy of the Swamp. When he arrived in Iraq, materials gained in raids
were being bundled up in bags, shipped back to Virginia to be “exploited” and
analyzed and, a month or two later, useful information sent back to the troops on
the front lines. Flynn sees the world like an entrepreneur, and set about to
redesign the process, so that exploitation and analysis was done on-base in Iraq,
the loop condensed into 18 hours, so that the next night when people went out
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raiding, they already had the benefit of insights gained from the previous night’s
work. Eventually the loop was so tightened that a raid early in the evening in one
location was generating materials that were studied through the night, and
informing raids that were still being conducted at dawn. People I knew and
trusted were telling me that this guy Flynn had his admirers, but he had detractors
as well, primarily those comfortable with the ol’ boy approach, disgruntled at the
way he was shaking things up and bringing modern ideas into the Intelligence
Community's comfortable way of doing things. As his career progressed Flynn’s
divisiveness to the Establishment became legendary, but in my experience, men
and women I knew who seemed like bright, chipper, mission-oriented federal
employees spoke well of Flynn, and the Mediocrities were the ones who seemed to
hate him.

  But being with Mike Flynn all those weeks, I learned things about him that were
new to me. For example, Mike 61, was a lifelong Democrat, in an Irish Catholic
south-of-Boston north-of Providence Jack Kennedy kind of way (not in a modern
Lefty, “Let’s shred the Constitution!” kind of way). He is a deep reader of the
Constitution, and is one of the few people I know (besides myself) who cites The
Federalist Papers by number in conversation. When discussing America’s modern
wars, he sounded almost Chomskyan, telling me that the wars in Afghanistan and
Iraq should have ended 15 years ago, but so many hundreds of billions and
(eventually) trillions of dollars got flowing to the corporations that supported the
wars, and the firms benefiting from that flow of funds had grown so fat, and hired
so many lobbyists, that they fought in DC to keep the wars going so that the
spigot would stay turned on. We joked to each other that the war was, “just
another Washington, DC self-licking ice cream cone.”

   In other words, “capture”. As happens with me from time to time, I meet one
from a different background who has come to recognize the issue that underlies so
many of our problems as a nation. That problem is that powerful elites have
captured the decision-making cycles of our government and turned it towards
their private ends. The fact that from our different backgrounds and different
lifetimes of experience, we had arrived at the same fundamental analysis of what is
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wrong with our country, told me that I my new trail-buddy was the right guy.

 Again, before he left for Christmas we had a number of conversations of form,
“General, what the fuck are we doing here?”

  I was to be alone in DC over Christmas, but the day before Christmas I got a
call from someone in Trump-orbit. The caller told me that I should get down to
Florida, to somewhere near Mar-o-Lago, and it was being arranged that I could
have another short meeting with Trump, maybe as little as 10 minutes. Because I
was by then thoroughly convinced he was not listening to sound people and was
missing the Big Picture in some ways, I seized the invitation, and went from DC
to Florida to a hotel just a few miles away from Mar-a-Lago. I checked in, and
awaited contact.

  Soon I received a call from a reasonably well-known person who is publicly
associated with Trump, although I do not know how tight they actually are. With
him on the call was a colleague of his, and they were telling me to get over to Mar-
a-Lago and ask for “Eileen” (name changed to protect the innocent). I asked for
her last name, and was told, “Just get there and ask for Eileen.” I asked for Eileen’s
position, or even what area she worked in. I was told, “Just get to Mar-a-Lago as
soon as you can, and ask for Eileen.” I replied that I really do not like working that
way, that I wanted to know more before I went. Again the reply was adamantly,
“Get over to Mar-a-Lago, go to the gate, and ask for Eileen. It has all been
arranged.”

  With trepidation I got dressed in my best yoga clothes (my others having been
sent out for a rare cleaning) to set out for Mar-a-Lago. I called an Uber, and the
ride was a tinny, beat-up Toyota Corolla of some years’ vintage.

  When I arrived at the gates of Mar-a-Lago I sent the Corolla on its way. When I
approached the Secret Service detail and told them that I was there to see,
“Eileen,” the federal agents all looked at each other and shrugged. “Eileen who?”
They asked. “I don’t know,” I told them, “I was just told to ask for Eileen." They
again looked at each other with a raised eye. "OK, but Eileen who?" I replied, "I
am to have some kind of short meeting with the President, and I was called and
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told to get here and ask for ‘Eileen’.” Again, they said, “Well who is Eileen?” Again
I had to tell them I did not know. The conversation spiraled downhill from there,
through no fault of the Secret Service agents. I perhaps did not help the situation
when I, noticing that one of the female agents had a light Chinese accent, in an
attempt to calm the situation and establish some rapport, began rapping with her
in Mandarin. We spoke for a few minutes but it only seemed to increase the
nervousness of the other agents. Around that time I began to think it would
probably be best simply to disengage and get away, and try to work things out by
telephone, but the agents did not seem to like that idea.

  Eventually the supervising agent came over. He was one of those fellows whom
one meets and knows immediately he is not a guy with whom to screw in any way.
Still proper but with a fair bit of aggression, he said, “Back up. Start again. We
want to know your story. Who are you and what are you doing here?”

  Not knowing where to start, I began this way: “20 years ago I started a company
called Overstock.com, my name is -.” He interrupted with a snort, “Yeah right
you’re Patrick Byrne.” Suddenly I got it: the tiny Corolla, my clothes, the
Chinese…. I showed my license, and this time it all clicked. And it clicked for me,
too, how the activities of Flynn, Sidney and I were drawing attention. I was not
fully appreciating until then how much attention there was on what we were
doing, but it made sense.

  In any case, the agents were cordial, nodded to me, and several said, “Thanks for
what you are doing,” as they permitted me to walk off the property, cross a bridge,
and get another Uber.

  I hung around an additional few days, waiting for things to be cleared up. They
never were. But over those days, I was on the periphery of the Mar-a-Largo crowd
and the Republican Pooh-Bah families that were down together for the holidays
occupying most of the surrounding hotels. Swimming as I was on the periphery of
Republican Party bigwigs and its movers-and-shakers, I got a sense for the gestalt
of it all. There were some terrific young people, intellectuals who could have deep
conversations about ideas as well as events. There was a woman of my age or older,
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a retired executive from a Fortune 50 company, who was exceedingly strong,
capable, and intelligent. Then as far as I could tell, most of the rest were riff-raff.
Rich riff-raff, no doubt: shiny-car riff-raff, loud and obnoxious riff-raff, self-
centered riff-raff, dilettantes and poseurs and grifters of one variety or another,
with Plastic Fantastic wives and husbands and doily children whining publicly
about whatever subject or thing they felt deprived. People for the most part, not
my crowd. What I did not see were believers, people who had vision…. or a plan.

  The day before New Year’s Eve I got a call from Our Man in Georgia. We
already knew that in Fulton County (in which Atlanta is seated) there was a
County Election operation running out of what was called, “the English Street
warehouse”. An Antifa-looking woman accepted some cash to infiltrate the
warehouse, take photos, and seize blank ballots from different stacks. The woman
who took these photos snagged the blank ballots from different piles.

  Our Man in Georgia and I knew that those ballots could be tested forensically.
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  I lined up two federally-certified forensic document examiners (old-timers in the
field) who were willing to work New Year’s Day, and got to Georgia on New
Year’s Eve.

  In Georgia, I stayed at the home of some people who were involved in this
effort. That is when I first met Jovan Pulitzer (though there had been
communication for weeks between my cyber-colleagues and Jovan). Also present
was a senior corporate security expert, the man who had found the situation in a
counting operation in Savannah, Georgia: a tabulating machine turned out to
have a wireless card in it, on the wall there was a Smart Thermostat, and that
thermostat had connected wirelessly to the counting machine. Further research
had confirmed that someone from China Telecom had come through the
Internet onto the Smart Thermostat in order to connect to the machine. The
cybersecurity expert spent the rest of the evening telling us about the shocking
vulnerabilities in the election machines, their tendency to run on Operating
System software that was 10-15 years old, and in general, how the technology was
Swiss Cheese. We sat up past midnight having him explain it to me.

  At 3 AM on New Year’s Day I received a text from General Flynn. He was still
up working as well. He sent me photos that were then flashing around social
media: down in Mar-a-Lago, Rudy and others from the entourage had rung in the
New Year with a bang. Photos of Rudy, Don Jr., and Kimberly Gilfoyle drinking
champagne, dancing, and Partying Like It’s 1999 were circulating through social
media.

           Click to play video: Mar-a-Lago was a freak show of D-listers

 Again, Flynn and I shared a moment of exasperated silence.

  On New Year’s Day I was in the laboratory of the federally certified forensic
document examiner and a colleague of his colleague who had driven through the
night to be there. They were professional, quiet, and I left them to their work.
After an hour they reported: two of the ballots were printed in one print shop, the
other was printed in a different shop using different paper, different ink, and a
different printing method. It being unlikely the county had ordered ballots from
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two different print shops, this indicated that at least one of those ballots was
counterfeit.

  Our Man in Georgia had Atlanta warehouse under observation, bums with
telephoto lenses filming. The Georgia Senate demanded to inspect the contents of
the English Street warehouse. Hours later, rented Enterprise vans pulled up to the
warehouse, and loaded pallets of ballots.

  Click to play: Armed Trafficking of Ballots from election Prep Center to Sheriff
Jackson's Office

  The next day, a shredding company in a neighboring county got a phone call to
pick up an assignment to shred. The truck pulled up, and loaded approximately
3,000 pounds of ballots. It has been confirmed to me that the order was paid for
by someone with a credit card from “Dominion Voting”. The shredding truck
pulled away. Through a mechanism I will not explain, that shredding truck was
intercepted, its work stopped, and ultimately 10,000 pounds of shredded material
was dumped out on the floor of a local police station, so there would be a chain-
of-evidence. Roughly 3,000 pounds of the shredded material was the ballots (the
other 7,000 was from prior customers). The shredding that had been order by the
Dominion Voting employee had not been normal shredding (turning things into
long strips); it had not been the special shredding (turning the material into
confetti); it had been the super-duper military-grade shredding, where the ballots
had been shredded then crushed down to spitballs.

  An Atlanta DHS agent arrived and took command. A discovery was made:
some of the shredded ballots had not been completely shredded. In fact, a few had
stuck to the walls of the bin, and were whole. Also found, I was told, were receipts
and shipping labels from the outside of the boxes that held the ballots: these
receipts and shipping labels were from a Chinese print shop in the south of China.
The DHS agent acquired all of these (and that particular agent is one with an
expertise in matters Chinese, I am told).

  Call that moment, “T = 0”. Based on the continuous reports I was receiving
from Atlanta, here is how the next two days unfolded:
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   T + 6 hours: Rudy Giuliani was informed of what was going on;
   T + 12 hours: Mark Meadows was informed of what was going on
   T + 18 hours: FBI arrived on the scene to take over. DHS resisted.
   T + 24 hours: I received a message that the DHS agent in question was
   uncomfortable with the political pressure he was receiving. If I understood
   correctly, he was saying that Mark Meadows himself (Chief of Staff of the
   White House) had called him and told him to back off the investigation. It
   was not clear to me whether I was receiving the message just as a bystander,
   or the DHS agent was deliberately causing that message to come to me, in the
   incorrect hope I could do something about it (e.g., get it to the President).
   T + 36 hours: The FBI took control of the operation. They instructed the
   shredding company to come back, pick up the 10,000 pounds of material,
   complete the shredding, then continue with their normal procedures. That
   meant the shredded material was mixed with water and acid, melted, then
   reconstituted as recycled paper.

  Various aspects of the story I told above are documented in photos and film.

  Meanwhile, I had returned to DC. I was still trying to get another 10 minutes
with Trump. I wanted to repeat to him again that if he waited until he lost on
January 6 and then tried the plan that we had been proposing, it would be sore
loser-ism. But we still had a few days left, and if he pulled the trigger, we could
have an answer regarding those Problematic 6 counties. We could have it done
before January 6, so that the Senate might make an informed choice, or buy us an
extra week to do more work, or or or…

   At this point I will insert one important sub-story. In those days of swimming
around with people who were in various proximities to the President, I was told
something by someone in Trump's inner circle. What I was told was this: Melania
had recently been warned by a government official that if Trump served another
term, he would be JFK'ed. It may have been said by someone in the Secret Service
itself, in a "We will not be able to protect him" sense. The threat included another
family member as well, per the telling. I find it hard to believe that anyone in the
Secret Service itself would say that, but the source of the information to me had
been otherwise blemish-less, and the claim was that whoever (perhaps Secret
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Service, perhaps someone else) had said this to Melania, it was someone from
whom such a claim would be taken seriously. Melania was begging Donald not to
fight, and simply to concede and leave Washington with his family.

   In the days before the Georgia runoff election on January 5, Marc Elias won a
filing against purging a couple hundred thousand names from voter polls before
the runoff. The judge who ruled in his favor (on the left) is the sister of Stacey
Abrams.




  Mike Flynn and I were together again in DC, watching the approaching January
6 date with frustration. I had done several interviews and even a public speech or
two where I had insisted that, “We do not go violent, we are better than the other
guys, if we go violent, we lose.” I thought it too obvious to dwell on, but I said it
in numerous public addresses and interviews.

  On January 5, an audience was had by myself and a few of our scientists and
dolphin-speakers, and a variety of people such as senators and delegates of
senators, a delegate of VP Mike Pence, and delegates of other interested parties.
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The scientists laid out the case simply and clearly. They answered all questions for
a couple hours, and after those couple hours, it was clear no one in the room
doubted what we were telling them: that a sophisticated operation had rigged the
presidential election. The delegate from VP Pence went directly back from our
meeting to brief the VP, I was told.
  Later I was to learn from "White House insiders" that after receiving that
briefing from us, the delegate of VP Pence went back and gave it to Pence . I was
informed that heard the briefing, agreed with its implications, and decided on a
course of action: when he stood before the Senate the next day, January 6, he was
going to call for a 7 day suspension, so that the individual state legislature could
look into whatever they wanted to look into, then re-vote their electoral votes. Or
perhaps, something even more aggressive, calling for an investigation. At 3:30 PM
on January 5, I learned both that night and later, Pence was solidly there.

  I had been invited to speak on the morning of January 6, on the South Lawn, by
the Women for Trump who had organized the rally. I prepared a talk to hit two
points: how our system of consent of the governed relies on elections that are free,
fair, and transparent (which our November election was not). Secondly, we do
not use violence.

  I was torn between two ways of making the point about non-violence:

   Telling a Jerry Garcia and the Grateful Dead story regarding non-violence
   (which I have written up on Deep Capture as: Jerry Garcia on
   Confrontation & “The Main Asshole”).
   Telling a story I told about Moldova. I had been there a few years earlier, and
   a barman had told me of the 2009 election. Election fraud had caused a pro-
   Putin man to be elected, but the people knew it and had risen up in protests.
   Putin had sent hundreds of men to drift into the capital of Chisinau, and
   they had a mission: every time there was a protest, these Putin-guys had
   infiltrated it with a goal of turning it violent, getting them not just to protest
   in front of government buildings, but to charge them, break windows,
   occupy them. The Moldovans had been too smart for the trick: they knew
   Putin understood that both sides were playing for an audience, the middle
   class of Moldova, and if the protesters were able to be provoked into actually
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   storming government buildings it would turn off the middle class and they
   would lose the support of the masses. The Moldovans had stayed disciplined,
   refused to let themselves be led astray like that… and eventually the
   government had succumbed, a new, fair election was held, and the Putin
   crony lost big. I wrote that story up as well: “A Message to Militias Across
   America Regarding the Goon-Left and Agents Provocateurs (Not the
   Lingerie)”.

  I was not sure which story I would use on the White House lawn. On the 5th, I
decided that the crowd might not know who Jerry Garcia was, so I decided to
write that story up online and tweet it out a couple times to the throngs who were
arriving in DC, and rehearsed a concise explanation of the Moldova story to use
on the morning of January 6 when I spoke.

  Mike Flynn was going to be speaking too, we were informed, and Mike and I
spoke about what we were going to say, what the crowd needed to hear. We
recognized it as a unique historical opportunity: we would have perhaps 30
minutes to explain to the world the irregularities that had disrupted the election,
and most likely had changed its outcome. We prepared to meet that challenge. We
understood that some of the people with whom we had been working, the cyber-
ninjas and scientists and such, were also preparing concise explanations, but the
choice of who among them was going to be speaking was being handled by the
organizers.

  So Mike and I thought that the morning of January 6 was going to run like this:
there would be some speeches on the South Lawn of the White House. He would
give a talk as “The People’s General” setting the moment in its historical context. I
would talk about the fundamental significance of elections that were free, fair,
and transparent, and then tell my Moldova story. Then we would switch to 2-3 of
these cyber-ninjas and scientists, who would each talk for 5-10 minutes,
explaining the irregularities that should trouble the conscience of citizens. I knew
from experience that any one of them could speak for 5-10 minutes and cause any
thinking person begin to have grave doubts about the November 2020 election,
but I figured that with three of them speaking, 80% of the viewers around the
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world would understand why Election 2020 results had to be seriously
discounted. I got a call from one of the scientists I expected to speak. He was
letting me know he had not come to DC because he had learned his speaking slot
had been cancelled. I was perplexed, because this scientist was soft-spoken,
professorial, and convincing to anyone with an open mind. I wondered whom
they had found to do a better job than he of convincing millions of viewers that
they should be skeptical of what happened during the week of November 3.

  Mike and myself and a dozen others walked over to the south side of the White
House. We were surprised that no arrangements had been made for us, and we
had to fight our way through the throngs. We were both given speakers' badges,
seated in a special section up front…. then learned that our speaking slots had been
cancelled. We were perplexed, wondering whom they could get that would
possibly explain the situation as well as we could...

  Meanwhile, up at the White House.... I later learned from proverbial "White
House insiders" that on Tuesday afternoon, January 5, at 3:30 PM, Pence had
indeed, "been there". He had been ready to stand up in front of the Senate on
January 6 and call for a 7 day recess, to let the states consider all the information
that had come in (and could be generated ) about the election irregularities, then
re-commit their electoral votes. And he stayed there all the way until Tuesday at
6:30 PM. At that point, the Chief of Staff of VP Pence, a gentleman named Marc
Short, had talked Pence out of it. Marc Short is a Legislative Affairs Swamp
Creature: whatever he whispered in Pence's ear, it was enough to get Pence to flip-
flop, back to the position that his position in the Senate was only administerial,
almost ritualistic. He informed the President Trump on the morning of the 6th,
and there had been quite a clash within the White House that ranged from the
Oval Office to the Living Quarters, but had ended with Pence unmoved: his job
was to open the envelopes and read the electoral votes. That was all going on a few
hundred yards away, but I did not know it at the time, of course.

  The show finally started, and soon Flynn and I sunk into our seats in despair.
One Trump child sang “Happy Birthday” to someone. Rudy spoke about Joe
Frazier voting. Another lawyer spoke. Don Jr. strode the stage talking about how
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the Republican brand was now the Trump brand, or the Trump brand was the
Republican brand. Flynn and I caught eyes and shared looks of horror: it turned
out later we were both asking if the other wanted to leave. It was so bad that one
of the organizers had a change of heart and came running over to ask Flynn if he
would take the stage: he refused. It went on for an hour, then Trump appeared
and spoke, much as he would at any campaign event. In fact, the whole thing was
more or less a "I was robbed" pep rally: no real effort was made to explain to the
crowd, to the Senators who would begin voting in an hour, to the Americans
watching at home, to the world that counts on America to be the leader of free,
fair, and transparent elections, what went wrong with the November 2020
election, and why they should believe that Election 2020 had deep irregularities
demanding investigation. No significant effort at all.

  Instead, it was a pep rally. That’s it. If they’d given 10 minutes to two different
names I’d given them, two scientists who know this issue intimately, history
would have been different. I think that 20 minutes would have changed the hearts
of a significant number of senators about the need to look into matters (a week’s
worth of hearings perhaps) before signing off on things.

  Instead, it was a Trump "I was robbed" pep rally.

   The moment we could make a break from the front, Flynn and I and everyone
with us made a dash for the exit. Flynn could barely contain his fury as we shared
impressions: this had been the one last chance to explain the situation to the
whole world, and instead Trump had used it as a pep rally. “He just does not get
it,” we repeated to each other as we stormed through the crowd back towards the
hotel. “He does not get that it is not about him. He put on a fucking pep rally. He
does not understand that this is not about him,” we repeated over and over in
anger and despair. In 15 minutes we were back at the hotel, both packing our
bags, both sick to our stomachs, and did not leave to join the throngs moving
towards the Capitol.
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                                  8



     Chapter 8: Agitation & Chaos (January 6
              noon – December 20)




 CHAPTER 8: AGITATION & CHAOS (JANUARY 6 NOON –
                   JANUARY 20)

What happened on the afternoon of January 6 is the worst thing that could
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happen for the Freedom Movement. Millions descended on DC to rally in
support of those standing for the truth: our election was rigged. In the course of
the rally, Goons stormed the Capitol.

 One woman (an Air Force vet) was shot unnecessarily by police.

  The New York Times reported that a policeman was killed, his head bashed in by
protester's fire extinguisher. Then that story got wobbly:


    “Media reports have been conflicting — unnamed law enforcement sources
    initially told outlets Sicknick was bludgeoned in the head by a fire
    extinguisher, while others speaking on condition of anonymity countered
    those claims, arguing there was no immediate evidence showing that
    Sicknick suffered any blunt force trauma" ("A month after Capitol riot,
    autopsy results pending in Officer Brian Sicknick death investigation", Fox,
    February 8 2021).


  In Mid-February the New York Times retracted: it turns out the officer died
from a stroke (while the media milked the Sicknick story for a month, this was
known two days after his death): ‘The Times Corrects the Record on Officer
Sicknick’s Death, Sort Of”.

 Mainstream Media has increased the body count by including, for example, two
police officers who, days after the attack, putatively committed suicide (cf. “2
Capitol Police officers died by suicide days after the Jan. 6 assault on Congress,
Axios, February 13, 2021).

  Over the course of 2020, the Mainstream Media described as “mostly peaceful
protests” the actions of Antifa and Black Lives Matter killing 33 police, injuring
another 700 police, and burning thousands of businesses:
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  That same media has portrayed these events at the Capitol as the greatest
tragedy to hit America since Pearl Harbor. It is nice to know there is some form of
Goon-ism in politics still objectionable to the Mainstream Media. Myself, I
eschew all political violence, not just ones convenient for me to denounce.

  There are two ways to look at what happened on that fateful afternoon at the
Capitol. I think they are both true, though which is more true is, at the moment,
anyone’s guess.

   The Party Line Explanation: splinter elements (≈ 400 people) of the millions
of protesters decided to storm the Capitol. Given that this Party Line explanation
has been repeated ad nauseum by a supine and obedient press, and is currently the
object of an impeachment of a man who is no longer an officeholder (go figure), I
will not spend time developing this interpretation. But I do not mean to discount
it, either.

  The Alternative Explanation is more subtle, and runs along the lines of my
story about Moldova explained in, “A Message to Militias Across America
Regarding the Goon-Left and Agents Provocateurs (Not the Lingerie)”. This
explanation holds that the events were engineered as part of a psyop to discredit
those skeptical of the election result, and to justify a police-state-style crackdown
by the Goon-Left on the rest of America. To those not used to thinking in the
bank-shot terms of a psyop, that may seem odd, but I wish to remind the reader
that the evidence has been in front of us for nearly 9 months, with regard to Black
Lives Matter.

  A Brief Digression on Black Lives Matter
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  After publishing this book, I intend to write an essay about the Supreme Court,
and then a piece I anticipate titling, “An Analytic Philosopher Takes Black Lives
Matter Ideological Purity Test, Scores ≈ 40%”. Basically, I will argue, the BLM
phrase suffers from semantic overload, and it has to be unpacked into a set of
about half-a-dozen assertions, which I will explore individually. I agree with some,
I do not with others: like I say, I predict I will score a 40% (maybe a bit higher).
My bottom line for the BLM movement is what it is for the Left in general:
usually correct about the problems, generally incorrect about how to fix the
problems.

   Yet that my point in bringing them up here is not to debate that issue. I am
friendly with three people whom I might call “radical Black Muslim activists”
(and yes, it is an interesting and occasionally tempestuous friendship). They are
quite “woke”: I tell them I am not woke because I never slept (but I am not sure
they buy it). In any case, when last summer the BLM demonstrations started
began getting violent, my friends started sending me eye-opening videos. There
were agitators showing up at BLM rallies in Black neighborhoods, white people
dressed in black and with masks, agitating for violence. Videos emerged of
precisely what me friends were warning me about, masked and fully covered men
slipping through a crowd that was demonstrating, going up to a shop window
with hammers, smashing the windows, then slipping away (and when there is a
crowd of demonstrators, once windows get smashed, the demonstration turns
into looting and riot).

  Left-wing journalist Kevin Shay wrote on May 31, 2020: “Right-wing
provocateurs continue to instigate violence at BLM protests and elsewhere”.
  The meme continued: on June 16, 2020, Kansas City Star asked, “Far-right
extremists keep showing up at BLM protests. Are they behind the violence?”

  As I remember, evidence emerged that confirmed the story of provocateurs
infiltrating BLM protests and turning them violent. Some of the evidence was
that right-wing people had done it, in order to provoke violence. Some of the
evidence pointed at Antifa. But in either case, let me point out that for about 9
month the US political discourse has the first time admitted the concept of
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provocateur. It is no longer some arcane concept known only to everyone in the
world outside of the USA: we now understand how crowds get infiltrated and
manipulated.

  The Alternative Hypothesis for the January 6 events at the Capitol is that to
some degree the events resulted from such provocation. It is a claim that the
“insurrection” was, in a way, engineered, in order to benefit people who would
benefit politically from it.

  What evidence supports this Alternative Explanation, that the ransacking of the
Capitol was invited by those who would make hay from it politically? Let us
review the evidence:

  On January 12, an article from the Independent Sentinel (“Pelosi-McConnell
refused to increase security! Capitol emergency began before Trump finished
speaking”, January 11), appeared describing a Washington Post article from the
previous day.

  “The Washington Post reported late Sunday night that the outgoing Capitol
Police Chief, Steve Sund, believes his efforts to secure the premises were
undermined by a lack of concern from House and Senate security officials who
answer directly to Speaker Nancy Pelosi and Senate leader Mitch McConnell.”

 Then quoting from the WaPo:

  “Two days before Congress was set to formalize President-elect Joe Biden’s
victory, Capitol Police Chief Steven Sund was growing increasingly worried about
the size of the pro-Trump crowds expected to stream into Washington in protest.

  “To be on the safe side, Sund asked House and Senate security officials for
permission to request that the D.C. National Guard be placed on standby in case
he needed quick backup.

 “But, Sund said Sunday, they turned him down…

 “It was the first of six times Sund’s request for help was rejected or delayed, he
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said. Two days later on Wednesday afternoon, his forces already in the midst of
crisis, Sund said he pleaded for help five more times as a scene far more dire than
he had ever imagined unfolded on the historic Capitol grounds.

  Besides the higher-ups preventing the police protecting the Capitol to increase
their presence when asked, is there other evidence that suggests the occupation of
the Capitol was to some degree invited?

  In this clip police can, in fact, be seen inviting protesters past the barricades:




                Capitol Police Allow Protesters to Reach the Capitol

  And here, a video clip that certainly looks like the police just let the protesters
take hill:
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   Cops allow protestors to take Capitol hill | Police department let protesters in

  Here police stand aside and let the Capitol be assaulted (while bystanders beg
them to stop it):




 DC Capitol Riot Police Stand By While Allowing Mob To Storm U.S. Capitol
Building(Jan 6th)

 Here some Antifa were caught changing into MAGA clothes just outside the
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Capitol:




  ANTIFA CAUGHT CHANGING INTO MAGA GEAR IN BUSHES AT
                    D.C. CAPITOL

 Here are patriots catching on and trying to stop the Antifa/BLM agitators:
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    Click to play: Patriot Stoping Antifa From Breaking DC Capitol Building
                                    Windows

  Here one can clearly see someone inside the Capitol handing weapons to those
outside the Capitol so they will be able to break their way in:




       Click to play: ANTIFA given weapons from inside capitol building

 Then in this clip police do… exactly what the title claims:
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 Capitol police open doors for the protestors. They stand aside and invite them
                                    inside

And this one (“Police open the doors of the capital and invite everyone in”):




    Click to play: Police open the doors of the capital and invite everyone in

And this remarkable one (which wins my “Ed Wood Action Sequence Award”):
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   Click to play: DC Capital Police Lets Protestors Enter and Storm US Capitol
                                    Building

  Here is a policeman being “overwhelmed” with invaders. Does anything look
staged about this?




   Click to play: DC Capital Police Allowing Protestors To Enter and Storm US
                                     Capitol

  And here is the famous Q Shaman with eight photojournalists. Anything here
looked staged?
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  Here is an excellent “synch edit” showing a policeman taking careful aim then
shooting an unarmed (female) protester in the throat. She died.
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              Click to play video: Capitol 2021 Ashli Babbitt sync edit

  Interestingly, the identity of the policeman who shot the unarmed female
protester in the throat has been closely guarded. So there are as yet unconfirmed
reports that this is he.




  In fairness, I wish to emphasize that authorities will not speak on the matter of
the shooter's identity, one way or another. If it was indeed Officer Bailey, I should
note that it appears he was at the shooting of Congressman Scalise, and was
injured there himself . If these facts all prove true, I will note that one might
understand why the officer might have been a little quicker on the trigger than he
could have been.
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  In that crowd of protesters in the hallway when the female was shot, one spots
this individual:




  His name is John Sullivan, and he is a Utah-based Antifa/BLM activist (“Utah
Man with a History of Organizing Violent Antifa, BLM Protests, Was Inside the
Capitol”). Oddly, he organized a BLM rally an hour earlier that day, 11 AM, and
tweeted about the existence of BLM Buses ("Utah Activist John Sullivan
Organized Antifa Protest Near US Capitol Before It Was Stormed — Tweeted
About BLM Buses in DC on the 6th): this is significant because there were later
reports of buses escorted to the front of the capitol, from which the first rioters
emerged.

  He was arrested for his actions in the Capitol that day, then released without
charges once his Lefty political preferences were discovered.

 Does that seem odd? Not anymore.

 The Mainstream Media was originally allowed to discuss this possibility.
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      The NY Post published: "Two known Antifa members posed as pro-
      Trump to infiltrate Capitol riot: sources" (Jan 7).
      "Antifa Infiltrated Trump Supporters In Capitol, Evidence Reveals"
      (Christianity Today, Jan 8).

 For further interest, I suggest watching this 21-minute mini-documentary:




 Click to play: EVERYTHING WRONG WITH THE CAPITOL
SHOOTING IN 21 MINUTES OR LESS

  So was the storming of the Capitol a disgrace? Yes. Was it also engineered
and/or staged?

 Put me down as, “Undecided”. lol

  On the 7th of January, five minutes after the Senate had concluded its business
and selected Joseph Biden to be President, DNI John Ratcliffe delivered his
homework assignment (which had been due December 18). He opened it up with
a rather dramatic and unequivocal statement: that the report from the IC
community that he then oversaw inadequately reflected China’s role in affecting
the US election, and notes that an accompanying Ombudsman’s report highlights
the worst sin of which intelligence analysts can be accused: politicizing the
intelligence product. DNI Ratcliffe's letter (which the MSM has already flushed
down the Orwellian Memory Hole) is so shocking I am going to quote the first
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50% of it:

      Ratcliffe - Views on Intelligence Community Election Security Analysis




  DNI Ratcliffe claimed that he had not wanted to deliver the report any earlier
because it would have “politicized” the Constitutional process of selecting the
next president that was then occurring. He was another Republican concerned
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about “optics”. Call me “crazy”, but myself, I believe the correct analysis would
have been, “I should deliver this report on time so that the Constitutionally-
stipulated process for selecting the next President is fully informed, and if that
includes that the election involved foreign interference, particularly from China, I
have an obligation to make sure that is known to those involved in that process.”

  Moving on….

  Sidney had left before January 6, but after the events of January 6, Mike Flynn,
the cyber-ninjas, dolphin-speakers, and I prepared our goodbyes. We discussed the
January 5 runoff election in Georgia. Early reports from the geeks were that there
were more oddities in that election, something they reported as a drop of 171,000
votes in the middle of the night, that put the two winners roughly 30,000 ahead.
And they stopped counting.
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  Flynn said, “They’re laughing at us. They know we know, they know we are
watching, and they do it openly because the damn system is so corrupt they think
there’s nothing we can do. They’re laughing at us.”

  On the evening of January 6 I got a phone call at 10:30 PM, telling me that
Mayor Giuliani was requesting my presence at his hotel. The intermediary said,
“We are just about ready to hang up our gloves on this, but we want to talk to you
about your ideas.” I put walked over to Rudy’s hotel. When I got there, I found 8
people in a suite. Rudy was there, along with the Commish, Mediocrity, a smart
lawyer, and a handful of others. I sat down in front of Rudy and they repeated:
they were ready to stop, but wanted to see if I had any ideas.

 As I started to answer Rudy began checking his phones again, literally fumbling
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with two or three of them again, reading his texts, etc. For the first time I did what
I should have done two months earlier: I simply stopped talking. He said, “No no,
go ahead.” I stayed silent and just stared at him. He said, “I can’t turn these off, I
might get a call from the President.”

  “Then please give them to" Mediocrity, I said surprising myself at my rudeness.
Then to Mediocrity: “Keep an eye on them and let Mayor Giuliani know if the
President calls.”

  Rudy put his phones down and slid them to Mediocrity. As I began again to
speak, Mediocrity began having a side conversation, and again I folded my hands,
stared at Mediocrity. I wonder if it ever occurred to them that calling someone at
10:30 PM to come over to provide assistance, then gabbing in front of them and
checking texts, was in any way rude? I think not. In any case, Mediocrity cut off
the important side conversation and faced me quietly. Everyone else in the room
went quiet as well, and looked at me.

  In two months of dealing with that group, it was the first moment that they
conducted themselves in a manner that business people (or even, “normal adults”)
conduct themselves. I realized that for the first time I had Rudy’s full attention,
and not only that, I could see it was the first time he was the Rudy Giuliani I
remember from 30 years ago, in command, focused, ready to take on the Mob.
 The silence stretched on as I thought, then said:

   “These machines were sold to the public with a promise: as a fail-safe there
would always be a paper ballots to use as a backup. If there was ever a time, now is
the time. The FBI and CISA have both opined that our election came under
foreign attack. We provided evidence of that as well. President Trump should find
that there has been foreign interference, and on that basis send a federal force of
US Marshalls, or National Guard, or DHS, or FBI, to examine paper ballots in the
problematic six counties, and count them on livestream TV. If there are no gross
irregularities, he should concede. But if he finds discrepancies of hundreds of
thousands of ballots, as we think he may, he then has choices. He can recount the
six states, or order the federal force to rerun the election in those 6 states. He
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might even be able to have it all done by January 20.”

  There was silence. After a few seconds the Commish stirred to speak. I turned to
face him as he slid his hand away from his mouth, and stroked his chin. He
nodded slowly, and grunted, “Yeah. Makes sense.” Mediocrity lit up, and the new
lawyer on the scene, on my left, spoke up and began exploring the advantages of it
aloud. Rudy chimed in, and within minutes they were working it out: it was
narrow so it was not too objectionable, it generated an answer, and depending
upon the outcome, it gave a route not only to Trump but to answering a question
that has hung over US for decades: how much election fraud is there? I stayed
another 30 minutes as they bounced the idea around with a spark of excitement
growing. Finally they said they would be working on details and maybe even
calling the President, and I took that as my cue to leave. I said goodbye to them,
and put my coat on.
  As I turned to leave the Mayor came and shook my hand. Then he tapped my
chest with his finger and said quietly, regretfully: “If only we had another month.”
  Truly. I had watched two months slide by Mayor Giuliani and his team
displaying no organization or progress. Watching them trying to get anything
done was like watching half-a-dozen monkeys trying to fuck a football. But now I
was hearing, “If only we had another month.” They could have had another
decade and it would not have made a difference. They were the wrong people.
Rudy, because he perhaps should not be handling complex litigation, he certainly
should not be handling complex litigation regarding cyber, and because he'd
rather spend his days doing podcasts. A former government employee who was so
Mediocre we all came to suspect was sent as an agent of disruption, and others
focused on a pot of cash that (at last report) was $300 million and growing.

 I walked the snow-covered midnight streets of Washington DC back to my
hotel and finished packing for my departure.

  We all said goodbye to each other over the next couple of days, and began
drifting back to our normal lives. On the 8th, I checked out, experiencing yet
again at the discontent I feel most times I have affairs that in DC. Discontent with
people whose sense of accomplishment is so skewed (bureaucrats measure their
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output in a paradigm of thwarting other factions, not in anything that normal
people would count as “accomplishment”), at the cost to the country of DC, at
the staggering wealth that has accumulated there (cf., “DC Suburbs Now Contain
7 Of America’s 10 Richest Counties,” Slate, September 2012). It has become
Hunger Games without the archery. But there were people I had gotten to know
over the previous several months, had grown to like and respect, and I had
opportunity to visit with most of them individually and say goodbye.

  I returned to my home in Utah Saturday the 9th feeling under the weather, but
intent on writing the story you have been reading. By on the morning of Monday,
January 11, I tested positive for Covid, as I had come to suspect. I took it easy for
a few days with a fever of 101, still brushing it off, telling myself that, “On a Flu
Scale of 1-10, this is a 2. They shut down the world for this?” I woke Thursday,
January 14, feeling almost fine, with a temperature back under 100. I thought I
was through it. But by afternoon I began feeling ill again, and within an hour my
temperature was 105.4. I barely made it to a hospital, and when I did they put me
on monoclonal antibodies due to risk factors too numerous and depressing to list.
Dealing with that and the Covid Fog that followed cost me 10 days.

  On January 20, the day that Biden was sworn in as President, I got phone calls
from two different Trump White House staffers. They wanted to tell me a story
before they left Washington for the last time. The stories they told me matched in
detail. I will relate it here.

   On January 18, some loyal staffers had been visiting with Trump in his office
for what was supposed to be a 10 minute goodbye. But the discussion had turned
to the election, and before long Trump was rehashing the decisions he had made,
wondering where he had made mistakes. The subject turned to Sidney, Mike, and
me, and the plan we had brought the White House. Trump walked through it
with these staffers for 15 minutes, I was told, before it all clicked for him. “That’s
it?” He asked angrily. “That’s all they wanted? Count paper ballots in six
counties?” Trump excitedly explored the idea, saw how simple it would be, and
even brought up the possibility that it might not be too late, with his last 48 hours
in office, to cause it to happen. The meeting dragged on well over an hour, the
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two sources told me, and they left with Trump fired up about the idea, with
instructions given to them that they should figure out by the end of that
afternoon a way it could be executed in the last two days he had as President. But
an hour later their office got a phone call: the President had had further
consultations with senior staff, had been dissuaded, and the younger staffers were
instructed to drop the idea.
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                                        9



                    Chapter 9: The Aftermath




                    CHAPTER 9: THE AFTERMATH

  In my humble tale thus far I sought to stick to what I saw, what I heard, and
what I knew. In this final chapter I will cover what I think. As I skim across a
number of subjects I will thus be less rigorous and more given to speculation than
in previous chapters (which I concede here).

                        PRESIDENT* JOSEPH BIDEN

 “You must never confuse faith that you will prevail in the end—which you can
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never afford to lose —with the discipline to confront the most brutal facts of your
current reality, whatever they might be.”
  - James Stockdale

  Our Founding Fathers designed a Constitutional process for selecting our
President. I recognize that the Constitutional process ran its course and selected
Joe Biden as President. So Biden is President.

  Federalist Paper 68 (Hamilton) argued that one thing our process had to
recommend it was that it would filter out certain types of politicians and select for
others (one wonders which describes Biden):
  “Talents for low intrigue, and the little arts of popularity, may alone suffice to
elevate a man to the first honors in a single State; but it will require other talents,
and a different kind of merit, to establish him in the esteem and confidence of the
whole Union, or of so considerable a portion of it as would be necessary to make
him a successful candidate for the distinguished office of President of the United
States.”

  The drafters also anticipated state level corruption might disrupt a national
election:

  “It was also peculiarly desirable to afford as little opportunity as possible to
tumult and disorder… But the precautions which have been so happily concerted
in the system under consideration, promise an effectual security against this
mischief. The choice of SEVERAL, to form an intermediate body of electors, will
be much less apt to convulse the community with any extraordinary or violent
movements, than the choice of ONE who was himself to be the final object of the
public wishes. And as the electors, chosen in each State, are to assemble and vote
in the State in which they are chosen, this detached and divided situation will
expose them much less to heats and ferments, which might be communicated
from them to the people, than if they were all to be convened at one time, in one
place.”

  By bifurcating the choice into (on the one hand) “an intermediate body of
electors”, and (on the other hand) a Senate to examine and formally accept the
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votes of the Electoral College, another thing was accomplished. Elections may
degenerate into debate about corruption, but at the end of the day, for an office
such as President there needs to be a mechanism to guarantee that a selection is
made. The system created by our Constitution, whereby electors are chosen and
sent to an Electoral College to cast their votes, then at a later point the US Senate
(by recognizing and counting electoral votes) accepts that decision, accomplishes
that. No matter what goes on at the state level, no matter how corrupt the events
there, there is a US Senate to look at the facts and by accepting electoral votes,
certify the decision. That bifurcation guarantees that disputes about election
integrity cannot swamp the overriding constraint that by some date, a victor must
be established. This Constitutional process decides the presidency. On January 6-
7 that process ran its course, and selected Joe Biden. So Biden is our president.

  Thomas Sowell has pointed out that the Right normally sees fairness as an
attribute of processes, while the Left sees it as an attribute of outcomes. For example,
imagine a fire department sets up a system for testing and ranking applicants, and
the test measures physical and mental abilities related to the job duties, then spits
out a ranking of candidates. In the eyes of someone who sees fairness as an
attribute of process, if the testing made no reference to race and purely measured
abilities related to the job duties, then whatever that ranking is, it is by definition
fair. The process was fair so the outcome is fair. But in the eyes of the Left, if the
outcome has too differential a mix of Whites and Blacks, it is unfair. That is why
(says Sowell) the two sides argue and never get anywhere. They can argue about
“fairnesss” until the cows come home, but underneath that one word they are
arguing about two different things: one is talking about a process, one is talking
about an outcome.

   So we are experiencing a rare moment where Left and Right have switched sides
philosophically. The Left is saying, “The process ran its course, Biden was selected
in that Senate process, so he is now the legitimate President.” Others are saying,
“Yes, but that outcome occurred only because of unprecedented election
irregularities which created an enormous and complex election fraud, which
survived because the shot-clock expired on January 6-7, leading to a perverse
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outcome that is unfair and does not reflect the will of the people.” Both are
holding, in a sense, just the opposite view about fairness that they normally do.

  If nothing else I seek to be intellectually consistent, and I think that justice and
fairness are attributes of processes. The process mandated in the Constitution
(Article II Section 1) ran its course, the Senate looked at the facts (as much as they
wished to, anyway), they voted, and so the outcome they generated is the
outcome. Thus, Biden is indeed President. End of story.

  It would be tempting to use the Left’s own playbook against it by continuing to
maintain, “Not my President!” (as the Left said for four years under Trump). By
doing so one could force them to reveal their hypocrisy (as if further revelation
were needed), watching them froth over a phrase they used for Trump’s entire
presidency based on a theory of Russian collusion that Robert Mueller
investigated and upon which he came up empty. However, I am nothing if not
intellectually consistent, and as tempting as it would be to do that publicly for the
next four years, it feels churlish. So with regret, I must acknowledge that while the
Constitutionally-mandated process was corrupted from its inception by election
fraud, the process ran its course, Joe Biden was the winner, and so he is, indeed,
the President.

  Having acknowledged that, I turn to the world of sports for semiotics. In 2007
Barry Bonds hit home-run 762, the final home-run of his professional career
(surpassing Hank Aaron’s record of 755, which had stood since 1974). However,
because for much of his professional career Bonds turned out to have been using
performance-enhancing steroids (BALCO labs’ “the Clear”, so named because it
was not detectable in urine samples until the day it was), Bonds’ achievement is
noted with an asterisk (often printed in red: *).

  In the National Baseball Hall of Fame (to which Bonds has still not been
elected), Bonds’ record-breaking 756th homer is displayed with an asterisk:

          Hall: Asterisk will be key to Bonds display (Daily Star, July 2008)
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  10 years later, Sports Illustrated wrote a story on the asterisk: Ten Years After
756, A Reminder of What Barry Bonds' Record Really Means

  Lance Armstrong won 6 Tour de France bicycle races. Yet it turned out that he
did so with the assistance of performance enhancing drugs, so, as the New York
Times wrote in 2012, his record will forever be marred: Armstrong, Best of His
Time, Now With an Asterisk

   I now adopt the same typographical convention for President* Biden. Referring
to him as “President* Biden” accomplishes two things: it recognizes that he did, in
fact, become President through the Constitutional process; it also recognizes that
irregularities (such as have been described in this story) marred that achievement.
So Biden is indeed President*, in the same way that Barry Bonds owns the home-
run record with 762*, and Lance Armstrong won the Tour de France 6* times.

                Q, “TRUST THE PLAN”, AND “THE STORM”

  I hear from otherwise sane-sounding people, and read in social media, assertions
that Trump is really still in charge, or the military is in charge, or that there is a
plan, that this has all been a big 4-dimensional chess trap, and on March 4 Trump
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is going to reemerge as President, of the Republic not the Corporation (or some
such)…. It is time someone tells all such folks: that is all delusional. Trust me, there
is no such plan. Trump’s people in the Defense Department have all left. There is
no network of secret agents ready to spring the trap and restore Donald Trump to
the White House on March 4. It is delusional to think otherwise. The brutal fact
of current reality is that (as a result of a process riddled with election fraud), we
have a President* Biden. If enough of it could have been unwound by the middle
of December, state legislators would have had something to think about in
choosing their electors. But the genius of those who designed this scheme was that
after the election, they knew they simply had to rope-a-dope for 8 weeks, and the
grinding of constitutional gears would do the rest of the work for them.

 The Senate selected. Joe Biden became our President*. Yes, that really happened.
Do not live in a delusion by believing some trap is going to spring, a storm is on its
way, and so forth.

                           THE REPUBLICAN PARTY

  As I indicated in “How DJT Lost the White House, Chapter 4: The Christmas
Doldrums (December 23- noon January 6)”, through this process I saw enough of
the Republican Party “elites” to understand who they are. Other than a small
number of strong players, it is mostly socialites and dilettantes, fat-cats and grifters
(e.g., raising $300 million to help expose election fraud, then provide no
noticeable help: someone should look into where that $300 million went).

  I advise the Reader: Never give a dollar to the Republican Party again.

  In these recent months I met two people for whom I can completely vouch.
Two people of whom I can say, “These two people are fully and entirely about
helping the USA, and are not in it one iota for themselves.” Those two people are
Sidney Powell and Mike Flynn. They have started an excellent organization,
Defending the Republic, and they mean business. Give them whatever donations
you would otherwise send the Republican Party. They will be putting the money
into two different endeavors: one is organized to fight election fraud, the other
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will be focused on finding the right candidates to back and fund. If you want a
one-stop shop, the one place you can give money to help the pro-freedom side,
screw about the Republican Party, and remember Sidney Powell and Mike Flynn,
and DefendingtheRepublic.org.

                   AMERICA’S MAYOR RUDY GIULIANI

   I wish to repeat again that I have been a long-term admirer of Rudy Giuliani. I
think he is a great American. But at age 76 he was not the right man to manage a
complex litigation involving matters cyber, and certainly not while putting a lot of
work into a daily podcast and other pastimes. I also believe he is driven by things
like “jealousy over who gets airtime,” and not a guy used to working with or seeing
females as equals.

  In short, he’s Grandpa. I love Grandpa. But I don’t think the fate of the free
world should have been hung on his shoulders. That was an unforced error on
the part of President Trump. As much as I kick myself with should-haves and
would-haves, at the end of the day I think that, given this one error, no victory was
possible. Numerous people who worked with Rudy's senior team independently
came to wonder who among its top members were working for the opposition:
that is how weak it seemed. There were fine people on Rudy’s team lower down,
but it was so horrible at the top victory may have been impossible under any
circumstances. Rudy should have had better judgment than to take it on.

                               DONALD J. TRUMP

         “The fox knows many things, but the hedgehog knows one big thing.”
                                                                    – Isiah Berlin

  The astute reader will notice my ambivalence regarding President Trump. I have
included flattering details as well as unflattering ones. I did so because I did not
intend this to be a polemic, arguing for one version of the truth. I wrote it from a
sense of duty, as I felt I owed it to our country to relate precisely what happened
in those days, and what I observed. I have.
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  What else may I say about Donald Trump? From my hours with him I can tell
you he is a smart man, smarter than I expected. He is more soft-spoken and
gracious than I had anticipated as well. He is not the monster the Mainstream
Media wishes you to believe. He is tuned in on people.

  I also think Donald Trump has a taste for chaos (someone pointed this out to
me as a trait of those who grew up around alcoholism). One of my mentors taught
me that the first task in any leadership situation is to determine, “What’s the
mission and who is in charge?” One needs clear chains of command to focus an
organization. President Trump’s leadership style (which is to throw a problem
against the wall and have a crowd swarm in to fix it) seems more appropriate to
me to running a marketing company, than it is to someone running an operation
with millions of employees.

  Significantly, I think Donald Trump is a 74 year old fellow who has lost friends
over the years, and like all men of that age, perhaps clings to his remaining friends
too closely. I was floating around inside his operation from the wheels up, and I
saw what I saw: Rudy was not nearly capable of managing the effort it would have
taken to defeat the Deep Rig. Thinking otherwise was an absurdity. I am not even
sure Rudy wanted to. Trump clung to Rudy from a place of loyalty, even after
Rudy’s disastrous hair-dye-meltdown press conference, telling me twice he would
not entertain a solution that did not have Rudy at the helm. Donald Trump paid
for his loyalty.

  Here is another thing to know about President Trump: I look over all the
evidence, his refusal to take the 3-foot putt, and it occurs to me that at some level
Trump may have wanted to leave. Maybe it was his age, maybe it was threats to his
family, but it is entirely possible that by the time I met him in December he was
looking forward to moving on and golfing (as he slyly hinted to me). He is 74, a
tad heavier than he should be, statistically probably has 5-10 years to live, and may
well not really have wanted to spend most of them doing what he did the last four.

  If that is indeed the case… more power to him. He did go to DC and, in one
term, leave a mark deeper than most two term presidents. And he did that while
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having to fight the government itself for every win.

  If that is how he really felt, however, it would have been better for him to
concede, and not to call millions of people to spend their savings to come defend
him. I am not entirely certain he thinks in those terms, however. But it was a
confusing time for all.

  I have indicated a lot of ambivalence about Donald Trump. But for the first
time I have a clear understanding of the meaning of Donald J. Trump in our
history. It is not about his mannerisms, his hair, his speaking style, his
management style: what Trump did is figure out one big thing:


    The people of our country are suffering because elites sold them out. The
    People look at what has happened over the last 30 – 40 years, and know they
    have been sold out. They understand that when they look at Trump they are
    not looking at an “elite” but one who wants to stand up (however coarsely)
    against the elites on their behalf. That is his source of appeal, and that is
    what causes so many to look the other way on his personal foibles.


  I agree with this worldview. I formed DeepCapture 14 years ago to document a
war I would be waging against the same forces. The USA has become an
oligarchy, and the oligarchy has two wings: Wall Street and the Deep State. We are
a republic grown corrupt, and the nation is not being run for the benefit of the
people. Check. Trump's movement is inspired by the same reaction to the world
that inspired DeepCapture. Check. Trump gets it.

  The problem is that Trump’s personal foibles leak into his management. Even
his admirers told me that the chaos I was experiencing was par for the course for
four years. Being President is not a branding exercise, and the management style
one might take in approaching a branding firm is not right for running an
administration. President Trump is intuitive, so it is said, and not one to do heavy
homework (e.g. reading a full PDB). In this case, that resulted in him not
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understanding his full powers or the courses of action that were available to him.

  He left the details to personnel, but his personnel choices were terrible.

  An important fact to know is that until he was President, Donald Trump had
never spent a night in DC. Based on what I observed, my sense is that Trump’s
goose was cooked the day he fired Mike Flynn (and remember, it was Pence who
demanded Flynn leave). For the next four years Trump got managed, got handled,
by the bureaucracy. It is indeed a wonder Trump got done what he did. But I am
highly confident that had Flynn been there history would have been completely
different.

  My anguish for Trump is that he wanted to be a truly great president. It
presented itself in this form: if he had used his powers under proper Executive
Order to send in federales of one flavor or another to check the paper ballots of
those six counties, I believe what might have been exposed would have shocked
the conscience of America. I believe it would have justified a ripple of such audits
around the country, and people would have finally grasped that the most
fundamental act of our political life, voting, has become deeply compromised.
This would have created an impetus for reform around the country, finally, if
those ballots in each of the cities that interrupted their vote counting turned up to
be crooked. If that had played out as I suggest, it would have changed the political
face of America for a generation.
  President Trump had this hanging curve-ball thrown him, but the bat rested on
his shoulders. That is why I do not know whether to be angry at him or to cry for
him.

   “DEBUNKING,” RETRACTIONS, CONSPIRACY THEORIES, AND
                  “WHERE’S THE PROOF?”

  “Debunking”

  A year ago I was in face-to-face conversation with a journalist who brought up
Seth Rich. I told her the official story but said it had holes in it, adding that there
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was an alternative story explaining his death, which I sketched out. She took out
her iPhone, searched for 5 seconds, and said, “Oh no, that’s been debunked. The
story of Seth Rich murder has been debunked.” What was interesting about it was
that she had not actually read anything: she had just found a title (the top Google
search result for “Seth Rich debunked” is an NPR story: “'Conspiracyland'
Debunks Theories About Murder Of DNC Staffer Seth Rich”). And that was
enough for her.

  A friend has complained to me of a husband whose thinking is similarly
shallow, and who uses the word “debunked” to forestall having to do any research
or thinking for himself. She told me she has a recurring frustration-fantasy of
someday bringing another man home to bed and making sure her husband
catches her. She dreams he will start screaming at her, “You bitch! You’re cheating
on me!” Without stopping what she is doing, she told me, she is going to calmly
reply, “Oh no Honey, that’s been debunked. That theory’s been debunked.”

  Be careful when you hear the word, “debunked”. It is a mind-hack that gets
people to stop thinking for themselves. Along with the phrase, “conspiracy
theory”.

 Retractions

  There are analyses that I have not revealed so far, because they have been
muddied up with the subject of retractions. For example, one researcher argued,
“Biden’s vote numbers in Michigan do not match Benford’s law at a 99.999%
significance level” (see “UPDATE: Benford’s Law Has Been Used to Prove
Election Fraud in the Past – Joe Biden’s Numbers in Michigan are 99% Flawed —
TGP, November 8, 2020). Benford’s law concerns the frequency of the
appearance of leading digits in large sets of data.

  Nassim Talib (whom I respect and admire) challenged this Benford Law
analysis on a number of grounds, one being that Benford’s Law applies only in
data sets with a wide distribution of orders of magnitude. An excellent discussion
of Taleb’s argument can be found in this video:
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   NASSIM TALEB WEIGHS IN ON BENFORD'S LAW FOR ELECTION
                   FRAUD DETECTION!!!

  Interestingly, that video’s conclusion is that Taleb is correct to say Benford’s
Law does not apply here, but that there is much better statistical evidence to make
one question Biden’s win, as discussed in this article: The CORTES: The
Statistical Case Against Biden’s Win: Statistics continue to cast real doubt on the
probability of a President Trump loss in the election.


    “The statistical case is, admittedly, circumstantial rather than conclusive…
    But the numbers also firmly point to the intense improbability of the
    accuracy of the present Biden lead. The statistical case provides more than
    enough reasonable suspicion to require hand recounts and immediate
    investigation into fraudulent activities, including the new damning
    revelations of on-the-record whistleblowers…. There are four key elements to
    the numerical thesis….”


   As mentioned in this story, Rudy’s team generally could not find local counsel
because, while lawyers wanted the work, once they started getting death threats (as
their Pennsylvania lawyer did), they would drop out. As I have shown, in
Michigan an election board member had her children threatened; elsewhere, a
state legislator gave vigilante-like instructions to her “soldiers” to take down
anyone working to unravel the election steal. We had numerous witnesses around
the country tell us they had received threats, and several did receive protection for
some time. Interestingly, though some of these threats were open (e.g., the one
against the election board member, and the one by the state legislator), and even
televised, nothing was done about it.
   It became normalized to make those threats from the Left. I believe it did not
take much of that to chill the discourse seriously. Once it was national news that
such threats were being made, and that there was no police response, it seemed
like the whole nation was disoriented.
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  That is the context within which one has to take any talk of “retractions”.

  The Williams Professor whose affidavit was provided above faced intense
professional and community criticism for his work, including within the Williams
community. Eventually:

   Williams prof disavows own finding of mishandled GOP ballots (The
   Berkshire Eagle, November 24, 2020).
   Math Professor Concedes Shortcomings in Analysis of Potentially
   Mishandled Ballots, Stands by Concerns (The Epoch Times, November 25,
   2020).

  My immediate point is that in an environment where public goon-ism has
become normalized, when people have their livelihoods threatened and have no
redress, where public officials have their children’s lives threatened and the law
does nothing about the goon-ism… it may not take too much to get a professor to
change his mind.

  My greater point is this: I have presented through this work a constellation of
evidence, from academics to pajamahadeen to videos of events, to findings of
various researchers. Some have those have been challenged, occasionally those
claims of “debunked!” have held, but often the debunking has been debunked.
The vast majority of what I have presented has not been “debunked” at all, but at
best, swept into the Orwellian Memory Hole.

  Your decision should be: Has Byrne raised enough doubt in your mind about
Election 2020 that you think its flaws should be examined, so that we can
guarantee an honest election in 2022?

  Conspiracy Theories

  One objection I heard along the way to the picture I was putting together was
that, “It would have taken thousands of people to work this conspiracy!” My
answer to that is, “Not at all. In fact, we have a clear picture of how it was done in
Georgia: it took a Leninist cadre of six people, who stayed each night in a motel on
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the outskirts of Atlanta, then spread to their separate regions of Georgia each
morning. Beyond those 6, there may have in each state been a dozen or two dozen
Ruby Freeman-type of people, sympathizers willing to be given some instructions
on how to bend things, but perhaps without knowledge of the Big Picture.”

  In any case, the question of where there was a greater overarching conspiracy has
been answered in a strange article that appeared in Time Magazine, “The Secret
History of the Shadow Campaign That Saved the 2020 Election” (Time, February
4, 2021).


    “… the participants want the secret history of the 2020 election told, even
    though it sounds like a paranoid fever dream–a well-funded cabal of
    powerful people, ranging across industries and ideologies, working together
    behind the scenes to influence perceptions, change rules and laws, steer
    media coverage and control the flow of information. They were not rigging
    the election; they were fortifying it. And they believe the public needs to
    understand the system’s fragility in order to ensure that democracy in
    America endures.”


  How quickly must we dust off the Orwellian decoders rings we put away after
the Cold War!

   “a well-funded cabal of powerful people, ranging across industries and
   ideologies, working behind the scenes to influence perceptions, change rules
   and laws, steer media coverage and control the flow of information” = It's a
   psyop.
   “They were not rigging the election; they were fortifying it.” = Freedom is
   Slavery, War is Peace.
   “…Shadow Campaign that Saved the 2020 election” from being determine
   by the People of the United States without the secret manipulations of “a
   well-funded cabal of powerful people….working together behind the scenes
   to influence perceptions, change rules and laws, steer media coverage and
   control the flow of information.” The governing principle is supposed to be,
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   “consent of the governed,” not “consent of the governed after they have had
   a well-funded cabal change the election laws and conduct a psyop on them.”

   In any normal age, the paragraph from Time would be recognized as Orwellian
Newspeak. In essence, “a well-funded cabal of powerful people… working
together behind the scenes to influence perceptions, change rules and laws, steer
media coverage and control the flow of information…” in an attempt to “ensure
that democracy in America endures.” Could a worldview sound more Orwellian?
I consider it a tossup with, "We had to napalm the village in order to save it".

  Another of the things most obviously out-of-place here is that the side
maintaining there was no significant election fraud on November 3-4 has, since
then, fought tooth-and-nail against allowing any scrutiny of the systems to take
place so that we might know for sure.

  For example, in November, a Nevada court gave some cyber-ninjas of my
acquaintance an order allowing an “audit” of election machines in that county.
When they showed up to look at the machines, the audit was thwarted by election
officials who said, “The court order does not say ‘digital audit’, it does not say
‘forensic audit’,” and on that basis gave minimal compliance. They showed some
certificates but gave no access to inspect the machines.

  Similarly, in Arizona, currently, the Maricopa Board of Elections is refusing to
honor a subpoena from the State Senate, a subpoena that a State Court has
instructed them to honor: “Maricopa County refuses to comply with Arizona
legislative subpoena for election evidence: Board for state’s largest county,
encompassing Phoenix, votes 4-1 to go to court to fight turning over ballot data and
machines”.

  Fulton County, Georgia defied a unanimous legislative mandate demanding a
complete forensic audit. Instead, as I indicated, six hours after that mandate was
given, Enterprise vans whisked ballots out of the warehouse, and the next day a
shredding company in the next county was engaged to shred ballots, paid for by
an employee of Dominion Voting with, I am informed, a company credit card.
The man directed to perform the forensic audit was shot at (“Pulitzer And His
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Team Were Given Directive To Identify Fraudulent Ballots In Fulton County –
Yesterday He Reported That Someone Shot At His Team”, January 4, 2021).

  And so on across the country: in the face of the most suspect election in
American history, there has to this day been almost 0 real inspection of the
systems and ballots, and what inspection has occurred has been exaggerated (e.g.,
Georgia). That’s odd, because one would think that those asserting that there was
no fraud would welcome scrutiny to establish that fraud had not dominated the
election in key spots.

  While these machines were sold to election boards as offering transparency, in
practice there has been overwhelming digging-in-of-heels against transparency
since November 4, and every scrap of information we have obtained was fought
for inch by inch.

  That is how they ran out the shot-clock on January 6.

  There are those who say coyly, "But how do you know that cheating occurred?"
My answer is, “Myself, I think it brazen enough I take it as an insult to my
intelligence to be asked to accept (without investigation) that there is nothing to
this fact-pattern. However, to be generous, I will stipulate that what we know is
that six cities play a special role in US electoral politics because they anchor (and
thus can flip) six key swing states; those six cities saw bizarre and unprecedented
activity on voting night, up to and including the shutting down of vote counting
(the water pipes knew just which cities in which to break?); in each case a huge
spike of Biden votes were injected where counting had ceased and observers had
been cut out. That smells like skunk. Let's open up the boxes with all the paper
ballot backups, and recount the whole thing on livestream TV: there is a reason
the machines were sold to us as always having the paper ballots as a fail-safe, and if
there were ever a time to use it, now would be that time. And while we are at it, we
should forensically examine the machines as well." That is what should have
happened.

  By federal law, all the election materials used in the 2020 election must be
preserved for 22 months. There are efforts to keep investigations running, court
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cases and Senate hearings and such. I believe that one breakthrough anywhere,
will generate evidence that will embolden State legislatures to get more aggressive
demanding their own local independent investigations.
  Still, the opposition has achieved its primary objective: it made it impossible to
audit any of the materials meaningfully before the Senate made its decision on
January 6-7. Now it continues the fight against transparency, knowing that
revelations that would come from a full audit would shape Americans’ beliefs
about the need to reform our election systems.

  With luck, before it is all destroyed, in at least one of the cities in question, there
will be a real independent forensic audit. If the results are what I think they will
be, then that will let an informed electorate make a decision about how many
more cities and locations to look at.

           WHY DOES EVERYTHING SEEM SURREAL? THE WEAK
                          HYPOTHESIS

   What scared both Flynn and me, what drove us both forward whenever we
asked each other, “What are we doing here?”, was the possibility our nation is
living through a psyop being executed with military precision. It sounds far-
fetched to most people, but to us both it was an obvious possibility: what
America has experienced for the last year has been a psyop like ones we have used
to destabilize and impose regime change on other countries.

 The stages of a regime-changing psyop (per what's known as the "Bezmenov
Model") are:

1.    Demoralization of the country;
2.    Disorientation;
3.    Crisis;
4.    Normalization

     It takes little imagination to fit to this paradigm the events of the last year:

1. Demoralization of the country – Covid-19;
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2. Disorientation – Antifa & BLM;
3. Crisis–election counting stops in 6 cities in 6 swing states, then a surprise;
4. Normalization – the media gaslights anyone who sees anything odd here.

  Regarding Step #1 (“Demoralization– Covid-19): how reasonable is it to
suspect that Covid-19 may have been used in a plan to hijack the USA? I am not
referring to the origins of Covid-19, or asserting that it was deliberately released as
part of such a plan. Yet however it started, once in the open, does it seem like there
were those who sought to take advantage of it? Might they have wanted the
pandemic to be worse than it needed to be?

  Let us look at some things that are now known to be true, but which caused
mini-hysterics when they first arose in the public discourse a year ago (NB I’m a
real doctor, not a medical doctor).

  Hydroxychloroquine

  In 1983 a couple dozen other college students and I traveled to Asia to attend a
semester in Beijing. We were all instructed to take Hydroxychloroquine
prophylactically while there, increasing the dose at the onset of malarial
symptoms. Hydroxychloroquine had been around for decades back then: I
vaguely remember some statistic like, “Of people who take it daily for 10 years, 2%
will develop heart arrhythmia.” But other than that warning, and one that slight
dizziness might occur when one first took it, HCQ was described to us as being
quite benign.

  After a year in China I lived in the north of Thailand for five months. There I
would see in dusty villages on store shelves: one bottle containing aspirin, one
bottle containing hydroxychloroquine, both sold by the pill for 5 cents. When
one had malarial symptoms one bought a handful of hydroxychloroquine pills
and treated oneself, just as one had a tooth-ache one bought a handful of aspirin
and treated oneself. Hydroxychloroquine was sold to kids with no more thought
than one would give selling a few pills of aspirin to a 12 year old with a tooth-ache.
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  Thus when last Spring doctors started reporting favorable results with early
treatment of Covid-19 using hydroxychloroquine, it was with some surprise that I
saw the Mainstream Media go apoplectic about this suddenly-dangerous HCQ.
Talking heads on Mainstream Media discussed whether or not in extremis they
would take hydroxychloroquine, as though they were discussing some radical new
form of chemotherapy in the event they had cancer. Governors got in on the act,
creating special orders making it impossible for doctors to provide HCQ for off-
label use to their Covid-19 patients (a rare moment that the government ruptured
the doctor-patient privacy within such decisions are normally made).

  It reached such a fervor that Jim Acosta (CNN) attacked the president for
including in a White House gathering of Covid-19 survivors, some who had
survived by way of HCQ, as though that put them beyond the pale.




 In time, hostility to HCQ began abating when it was learned that the study
upon which WHO had made its decision had used fake data (BUSTED: W.H.O.
And Global Governments Used Fake Data From A Suspicious Company, That
Employs A Sci-Fi Writer And Adult-Content Model, To Discredit And Stop
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Hydroxychloroquine Studies , June 2020).

  Yet the HCQ hysteria continued to simmer over the course of summer 2020.

   The Israeli newspaper Arutz Sheva noted: “Media hostility to
   hydroxychloroquine fuels hysteria about supposed dangers” (July 9, 2020).
   “Hydroxy is being discounted TOO SOON, say scientists who believe the
   malaria drug could save thousands of lives by preventing COVID-19
   (August 2020).
   “Michigan Hospital Tries To Treat Patients with Hydroxychloroquine;
   FDA Refuses To Allow It” (Western Journal, August 2020)

  By September 2020, antagonism to HCQ had come to seem foolish not just in
the alternative press, but to non-obsessed mass media: cf. “The jury is in on
Hydroxychloroquine – ‘it saves lives’: Rowan Dean “.




  Now the point is no longer in serious dispute: see “HCQ is effective for
COVID-19 when used early: real-time meta analysis of 201 studies”. Yet in
retrospect it is clear that the hysteria over HCQ cost countless lives, and thwarted
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the ability of doctors to use HCQ to snuff out the pandemic early on.

  Ivermectin

  Since 1981 Ivermectin has been used around the world as a front-line treatment
of parasites (lice, scabies, ringworm etc.) In fact, is is included in the World Heath
Organizations List of 40 Essential Medicines (2017). It is benign and ubiquitous.

  Yet this benign and standard-issue drug went through the same process of
demonization by the Mainstream Media as did HCQ. Eventually, in the face of
enough data regarding its efficacy having reached the public, the NIH softened its
stance against Ivermectin.

  The Association of American Physicians and Surgeons put out a statement
welcoming that change: Association of American Physicians and Surgeons
(AAPS) Applauds NIH Revised Stance on Ivermectin for COVID-19:


    “The Association of American Physicians and Surgeons [AAPS] notes that
    there are now 49 ivermectin studies summarized on c19study.com, 100
    percent of which show favorable results” (from the report).


  From Australia to South Africa, doctors reported rapid improvements in
Covid-19 patients from this cheap and readily available drug. Yet Ivermectin was
another drug from which our betters protected us for months of this pandemic,
rather than using these safe and dirt-cheap drugs to address early onset of
symptoms (which would have done more to "flatten the curve" than all mask press
conferences we saw).

  Lockdowns

 The Left has pushed for the most extreme lock-downs, while President Trump
pushed for something more limited.
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   Sweden, operating from a perspective that was science-based (rather than
“hysteria-based” or “politically-based”), instituted a more limited lockdown than
anything contemplated in the USA. Their model was to quarantine the vulnerable
yet have the rest of society continue their lives with modest social distancing, thus
pursuing herd immunity and the least disruption to the economy and civil
liberties of the citizens. In other words, the Swedish approach was significantly
more Trumpian than Trump (and the precise opposite of the lock-down-mad
approach demanded by most of the rest of Europe and the Left in America).

  Sweden’s strategy turned out to be wisest. Sweden avoided turning into a police
state, the second wave they experienced was not larger than the first, and now
Covid-19 deaths have tapered to 0 (all data and graphs from World Health
Organization website):

  Covid-19 Deaths in Sweden




  Meanwhile, most of Europe and the industrialized world is experiencing a
second wave more intense than the first, and deaths have most certainly not
tapered to 0. For example, here are Covid-19 deaths in lock-down-mad Germany,
France, and the UK over the last year:

  Covid-19 Deaths in Germany




  Covid-19 Deaths in France:
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  Covid-19 Deaths in The United Kingdom




  Note the scale dissimilarities on the right: while Sweden has tapered to 0 deaths,
Germany, France, and the UK are still experiencing daily deaths in the hundreds
and even over 1,000.

  THE START OF THE COVID-19 PANDEMIC

  Positions thought wacky a year ago that have turned out to be right are not
limited to Hydroxychloroquine and Ivermectin. For example, a year ago no
"conspiracy theory" was more reviled in the MSM than one that held this
pandemic started in a government laboratory in Wuhan.

  Yet by the beginning of 2021, we are seeing articles such as: Corrupt Corporate
Media Finally Admits Coronavirus Probably Came From A Communist Chinese
Lab (The Federalist, January 5, 2021), citing an article appearing in mainstream
New York Magazine: "The Lab-Leak Hypothesis" (New York Magazine, January
4, 2021).

  On February 2, 2021, PBS ran a 90 minute documentary (“China’s Covid
Secrets”), maintaining that when the Covid-19 pandemic started the CCP
engaged in a cover-up.

  On February 11, 2021, the Director-General of World Health organization did
a U-turn on his previous dismissal of the possibility of Covid-19 originating in a
Chinese lab, saying:


    "Some questions have been raised as to whether some hypotheses have been
    discarded. I want to clarify that all hypotheses remain open and require
    further study." - WHO Director-General's opening remarks at the Member
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    States briefing on COVID-19 - 11 February 2021


  One year ago, nothing enraged the mass media more than any espousal of this
“conspiracy theory”. Now PBS and New York Magazine (both Establishment) are
reporting it as true and WHO has retracted its previous assertion it was untrue.

  Which raises a question: Why at the start of the pandemic were some politicians
and media so intent on suppressing possibilities such as HCQ, Ivermectin, and
the possible origins of Covid in a Chines government lab and an ensuing CCP
cover-up? It seems they went to extraordinary lengths to denormalize ideas which
have since proven true. Does that seem odd?

 SUMMARY ON COVID-19

  The discourse surrounding this pandemic has been distorted by those seeking to
weaponize it politically. As a result, it has inflected far more harm on the United
States than it had to. The Swedish (science-based) approach would have left us
better off, with less harm to our economy and civil liberties, than the path we
took. Coupled with the use of two cheap, safe drugs that have been in use for
decades, this pandemic might have been snuffed out (or hard-contained) in its
infancy.

  One group consistently fought any such measured discourse, insisting instead
on a reaction marked by unscientific hysteria and, arguably, political calculation.
For example, among the most extreme lock-down proponents in the USA have
been Chicago’s Mayor Lori Lightfoot, and New York City’s Mayor Bill De Blasio
As soon as Biden’s inauguration was confirmed, they switched to less hysterical
positions essentially immediately. In Chicago, Mayor Lightfoot immediately
reconsidered her former extremism: “Lightfoot Says Restaurants Should Reopen
As Quickly As Possible “ (Patch, January 14, 2021). A similar pattern is unfolding
in New York City.

 If it is hard to imagine any politician being so cynical as to push for a lock-down
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that has destroyed tens of millions of lives and hundreds of thousands of
businesses (60% of which will not reopen) in order to achieve political
advantage…. then you don’t understand the Goon-Left.

     Above I asked regarding Covid-19:


       "But once in the open, does it seem like there were those who sought to take
       advantage of it? Might they have wanted the pandemic to be worse than it
       needed to be?


     Make your own call.
     _______________________________________________________________________

     We now return to the Bezmenov psyop through which we might be living:

1.
      1.
            1. Demoralization of the country – Covid-19;
            2. Disorientation – Antifa & BLM;
            3. Crisis–election counting stops in 6 cities in 6 swing states, then a
               surprise;
            4. Normalization – the media gaslights anyone who sees anything
               odd here.

  Regarding Step #2 (Disorientation – Antifa & BLM): One day this fall I was
walking in front of the J. Edgar Hoover Building (FBI-HQ) in Washington, DC,
when goons came roaring up on motorcycles and ATVs and took over the street,
stopping traffic. They did wheelies and donuts for several minutes. Then they
roared off. Again, this was on the street in front of putatively the premier law
enforcement agency in the world. The guards at the FBI building stood and
watched. I understood the message: “This is not the FBI you thought it was, this is
not the USA you thought it was.”
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 That, in fact, has been the subtext of the Big Broadcast since June, 2020.

  Regarding Step #3 (“Crisis – election counting stops in 6 cities in 6 swing
states, then a surprise”): This election is a crisis indeed, but I have already
covered this point thoroughly.

  Regarding Step #4 (“Normalization – the media gaslights anyone who sees
anything odd here”). In September, just four months ago, the possibility of a
massive election fraud occurring in the USA was (as I demonstrated in the
introduction) a proposition that enjoyed more support across the political
spectrum than any single proposition I can imagine. Now the possibility has
become inexpressible, even unthinkable, as far as our Mainstream Media is
concerned. Even Right-of-Center Newsmax recently saw a host walk off its show,
rather than participate in a conversation where the possibility of mass election
fraud was discussed.

  So why do things seem surreal? Perhaps because you are living through a psyop
to take over our country, and reality as you know it is being engineered. Just
remember that no, you are not crazy, they are just gas-lighting you.

 That’s the weak hypothesis.

      WHY DOES EVERYTHING SEEM SURREAL? THE STRONG
                      HYPOTHESIS

  If the Weak Hypothesis is correct and we are living through a psyop, who is
behind the psyop? Strong hypothesis: China is behind the psyop.

 I am not a proverbial Old China Hand, but decades ago I was once a Young
China Hand. What follows is speculative but worth considering.

  Since the Chinese publication in 1998 of: Unrestricted Warfare: Two Air Force
Senior Colonels on Scenarios for War and the Operational Art in an Era of
Globalization, by Qiao Liang (乔良) and Wang Xiangsui (王湘穗), it has been
understood that hard-line elements within the Chinese National Security
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community have been envisioning and positioning themselves for war with the
USA. The “unrestricted” part of “unrestricted warfare” is the part that avoids
direct military confrontation, and seeks instead to conquer through non-kinetic
means.

  In 2015, Michael Pillsbury, a lifelong China-dove (i.e., advocate of helping
China modernize and prosper) wrote a book (The 100 Year Marathon) where he
reversed course. He had been wrong all his life, he said, as he now understood that
China had embarked on a 1949-2049 plan to turn the USA into a vassal state. All
our work since 1971 and especially since 1990 to help them advance had been
accepted by a false friend, who wished to subvert the USA and conquer us.

  In this book, Pillsbury discussed a phrase circulating in Chinese national
security literature: the “Assassin’s Mace”. The reference, Pillsbury knew, was to
an old Chinese story from the Warring States period, and refers to, in essence, a
sucker-punch one-punch knockout. But for the last dozen years their national
security literature has had references to it, as though it were planned for the USA.

  For a decade our national security community has wondered: “What is this
“Assassin’s Mace” China has planned? Their new stealth fighter? Ballistic anti-
ship missiles? Hyper-sonic missiles?” I respectfully suggest the reader consider that
what we are experiencing is China's, "Assassin's Mace". Nothing would be more of
an Assassin's Mace than a scheme to take out the USA with a rigged election that
could not be unscrambled through our courts by January 6, thus allowing the
Constitutional forces to harden to cement what had been presented as a fait
accompli.

  I am raising this not merely as a theoretical possibility. My colleagues and I
discovered ample evidence of Chinese involvement in these election shenanigans.
Go through the narrative that proceeds this and note the mentions. Their money
shows up in the firms that supply the election equipment in widest use; their IPs
show up tickling our election equipment online; receipts from their print shops
show up on stacks of ballots in our election operations… DNI Ratcliffe belatedly
delivered his opinion on January 7: he sees more of the intelligence than anyone in
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government, and his conclusion was that the Chinese had meddled in the election.

   If the Strong Hypothesis is correct and this is a Chinese psyop, there is a way
you will be able to be able to tell. Authoritarian measures will be imposed on the
US (under the guise of stopping something vague like, “extremism”). Biden will
fill his administration with China-doves, and he will reverse an Executive Order of
Trump’s to allow the Chinese to resume building components of our critical
infrastructure (e.g., electrical infrastructure). Because the political discourse is
constrained by Big Tech and authoritarian measures, within 10 years there will be
prison camps built next to hospitals for the purpose of organ-harvesting from
dissidents. By that time, Xi Jinping will have a button on his desk: one day he will
hit it, the US electrical grid will shut down, and over the course of one year 90% of
Americans will die off and the USA will turn into a farm (for which China’s 1.6
billion people will be grateful).

  Those will be your warning signs if the Strong Hypothesis proves to have been
correct.

            THE SUPREME COURT OF THE UNITED STATES

  We have a Supreme Court. They let us down once, in 1936-1937, when they
knelt to FDR's threats to pack the Court. The result of their succumbing was that
FDR's programs were allowed to punch holes in the Constitution (e.g., Wickard
v. Filburn). Through those holes the federal government grew to three times the
size it should have been, bankrupting the USA in the process.

  So I’d say they owe us one. They owe us one bold save-the-republic move.

  The Supreme Court has their chance to make up for that one by riding tall in
the saddle now, cleaning up this election fraud and all future election fraud, and
thus saving the republic.

  They can do it using one principal: stopping voter suppression. Remember,
every fake ballot that gets counted nullifies the vote of one actual voter, just as
surely as a poll tax (or other forms of voter suppression) would. If the Supreme
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Court has courage, they will recognize that the moves Democrats made in 2020 to
loosen everything that brings integrity to an election, were part of what was, in
essence, a massive voter suppression scheme (because industrial-sized election
fraud creates massive voter suppression).

  This is what voter suppression looked like in Birmingham, Alabama in 1963:




  This is what it looks like now:




  The signs are that in six key states there were collectively millions of acts of voter
suppression in the 2020 election, by any of numerous methods. That is, two
generations ago we choose not to live in a world where this occurs:
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  But in the 2020 election it happened millions of times. Every illegitimate vote in
the system is one act of voter suppression against some citizen somewhere who
cast an opposing ballot. Thus, in the 2020 election, there were (effectively) several
million of these (without the individuals whose votes were suppressed even
knowing it):




  I believe the US Supreme Court should, at earliest opportunity, save the
republic by recognizing that election fraud is mass voter suppression, and they
should create the kind of blanket standards they imposed on states starting in the
1960's. Standards such as: voter rolls must be kept clean; voters have to identify
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themselves; ballot-harvesting is an invitation to Goon-ism; reconsider using any
electronic equipment (Dominion voting equipment is not used in Canada,
though the firm is HQed in Toronto); and recognize (with almost all other
countries) that mail-in voting is too given to fraud to be used in an election except
as a special accommodation.

 Take the word of a bipartisan commission led by Jimmy Carter and James
Baker:


    ‘Absentee ballots remain the largest source of potential voter fraud.” That
    quote isn’t from President Trump, who criticized mail-in voting this week
    after Wisconsin Democrats tried and failed to change an election at the last
    minute into an exclusively mail-in affair. It’s the conclusion of the
    bipartisan 2005 report of the Commission on Federal Election Reform,
    chaired by former President Jimmy Carter and former Secretary of State
    James Baker III.” - "Heed Jimmy Carter on the Danger of Mail-In Voting:
    Absentee ballots remain the largest source of potential voter fraud" (WSJ,
    April 10, 2020).


  The United States Supreme Court is faced with a novel situation. I believe I
have presented enough evidence in this work to raise the possibility in the mind of
any sane person, that a well-thought out and crisply executed hijacking of our
national election occurred in 2020, by hijacking the anchor city in each of six
swing states via election fraud that began with simultaneous and unprecedented
shutting down of vote-counting, and continuing through countless forms that
have been documented in videos and affidavits and with what forensics have been
allowed.

  That took a lot of chutzpah. And I think that if there were ever a time that the
Supreme Court should act with chutpah, this would be it. All our other
institutions have failed us, and this is as serious a moment as the 1960's Civil
Rights crisis, perhaps the Dred Scott decision (another one they flubbed, thus
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causing Civil War I). If they now give a hall pass to the behavior and activities of
Election 2020 that have already been extensively documented, it will bring about
the end of the republic. Not just from the emboldened current administration,
but from the acts of politicians brought to power by future Rigs, great and small,
and how that defeats the very concept of consent of the governed that is central to
our tradition.

  The Supreme Court might show some chutzpah worthy of the moment, and
solve this problem once and for all by recognizing that, thanks to the magic of
modern election systems and methods and rules, we are back to is a world where
this just happened to millions of people:




  So it is not beyond the realm of possibility that the Supreme Court (which on
Friday, February 19 will have a conference on Sydney's Michigan case, a case
which is chock-full of evidence), will do something as meaningful as they did in
the 1960's era, when voter suppression and other matters of egregious civil rights
violation came before them.

            WHAT SHOULD YOU DO? THREE SUGGESTIONS

  We can pull this out if everyone will follow three pieces of advice.

  1) The first rule in all situations (from Hitchhiker's Guide to the Galaxy):
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  2) Remain non-violent. Does anyone not see how much the events of January 6
hurt our cause? There was a huge number of Americans on the side of wanting to
get to the bottom of election fraud, until the Capitol was stormed. It was a
tremendous setback to our pro-freedom side. That may, in fact, be why it was
engineered (and to some degree, it was engineered). At this point, the Goon's in
power want you to go violent, so as to justify them unleashing the FBI and CIA
and DHS on you with a vengeance. Don't do it. Remember the audience: middle
America, who knows something goofy is going on, but will not side with the team
that is bringing violence. so remain non-violent. It is better ethically, and it is
better tactically.



         To understand why it is better tactically, please see this essay:: A
         Message to Militias Across America Regarding the Goon-Left and
         Agents Provocateurs (Not the Lingerie)



         To understand why is is better ethically, please see this post: Jerry
         Garcia on Confrontation & “The Main Asshole”

  3. Focus your political attention, ire, and efforts on election integrity. No
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matter what else you want, you want this first and more.

  A philosopher named John Rawls referred to "primary goods" as those goods
you want no matter what else you want in life. When it comes to our political life,
there is one good you must want beyond all others, and that is election integrity.
No matter how strongly you feel about education policy, or abortion, or medical
care, or gun rights, or or or... No matter what your interest in politics, you need to
care about election integrity.

  That means: get involved with your local elections board. Run for it if you can.
Otherwise, volunteer to work in precincts. Do the 2 days of training. By
November 2022 the pro-freedom among us (libertarians and republicans)
have to be election mavens. We have to be working in the precincts and making
sure the Rig cannot be repeated. You have 20 months to prepare: all your political
ambition should be focused on this point. There is no point worry about any
other political matter, without worrying about "election integrity" first and more.

  2022 will be our last shot. If there is election integrity, I believe the Goons will
lose the House and Senate in a landslide, because Americans see their true colors.
On the other hand, if we do not restore election integrity by then, then next
election will also be rigged, and we will have tipped our way into a fascist,
authoritarian dystopian version of America, run by Goons.

  And with the backing of China, the tech titans, and America's Goon-Left,
you can be confident that Government of the Goons, by the Goons, and for
the Goons shall not perish from this Earth. So no matter what you care about
in politics, for the next 20 months turn that care into intense focus on
election operations in your county and state (swing states are especially
important). These processes are open to the public: volunteer, get inside them,
figure out what has to happen to make them run with integrity, and fight
for that. That's how we win.

   THE FIRST AMENDMENT AND THE COMING(?) POLICE STATE
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  The beliefs I have espoused here are not in synch with the times. Regarding my
ability to publicly espouse and defend these beliefs, the First Amendment seems
particularly on-point:


    Congress shall make no law respecting an establishment of religion, or
    prohibiting the free exercise thereof; or abridging the freedom of speech, or of
    the press; or the right of the people peaceably to assemble, and to petition the
    Government for a redress of grievances.


  If our new Congress passes any bill criminalizing people for challenging the
integrity of Election 2020, not only would it violate the First Amendment, but it
would violate every principle on which this free country was founded. So I say to
the United States Department of Justice: you are going to need a test case. Choose
me. I say that not in a disrespectful James Cagney “Come and get me, Coppers!”
kind of way. I mean it respectfully but sincerely. If our rulers wish to claim that in
America, maintaining and expressing political beliefs such as mine ist jetzt völlig
verboten, I’d really like to know. So I invite the DOJ to prosecute me for this four-
part statement:


1. I acknowledge that Joe Biden proceeded successfully through the Article II
   Section 1 Constitutionally-mandated process that selects a president. He
   thus is, indeed, President. I also believe substantial irregularities affected the
   election process, and that those irregularities should be studied, discussed,
   and prosecuted in order to restore election integrity to our nation in time for
   the 2022 election. Because of these irregularities I refer to him as, “President*
   Biden”.
2. In addition, to the degree that Biden tries to loosen rules governing future
   elections, or changes immigration policy so as to dramatically shift voter
   composition in the USA, I will claim it confirms my Weak Hypothesis:
   industrial-level election fraud rigged the election for President* Biden, the
   Left knows it, and wanting the Rig to be locked in for future elections, they
   seek to change the rules and the electorate now.
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3. In addition, behind some election irregularities I see the hand of China.
   Therefore, when President* Biden accommodates China through his
   appointments and Executive Orders, I take it as confirming my Strong
   Hypothesis: we are experiencing a Chinese psyop to take over the United
   States without firing a shot.
4. Lastly, I want those who join me in doubting election 2020 to work non-
   violently to pursue our investigations, promote our point of view, and get
   involved with local election activities across the country, with an eye to
   restoring election integrity in time for the elections of November, 2022.
   Every fake vote allowed into the system is an act of voter suppression against
   one legitimate vote from a citizen somewhere.

  If it is or becomes illegal to espouse that worldview…

  I’ll be your huckleberry.
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 Link Appendix
 Link Appendix
 Chapter 1:

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    in-these-six-states-with-legal-battles-on-the-horizon/
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    https://www.politico.com/news/2020/11/03/burst-pipe-delays-atlanta-
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Patrick Byrne earned a Certificate from Beijing Normal University, a Dartmouth BA, Cambridge M.Phil (as
a Marshall Scholar), and a Stanford PhD. Twenty years later, Byrne was named National Entrepreneur of the
Year by Ernst &amp; Young. That 20 years was one of toil, sweat, David vs. Goliath matches, breakthroughs,
and (occasionally) victories. Along the way, in 2004 Byrne and the oligarchy got cross-wise, and they have
been at odds ever since. He believes the oligarchy has two wings: Wall Street and the Deep State.
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                    Geometric Proof Edward Solomon
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                    Geometric Proof Edward Solomon
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·1· · · · · · EDWARD SOLOMON:· My name is Edward Solomon.              I
·2· specialize in elementary number theory and counting
·3· arts.· I dedicated the entirety of my childhood and
·4· adult life to the study of prime numbers, irreducible
·5· fractions and totals.· I shall present to you geometric
·6· proof that the 2020 election was stolen in the city of
·7· Atlanta in the state of Georgia.
·8· · · · · · Geometrical proof supercedes any
·9· statistical argument or counter arguments.· So how do
10· I know this?· In the city of Atlanta -- before I
11· continue this discussion, for the purpose of this
12· discussion a ratio will be the amount of votes that
13· Trump gets out of the total amount of votes at a
14· particular precinct.· So if you went to Elementary
15· School Apple Blossom to vote and Trump received 45
16· votes and a total of 190 people voted, then the ratio
17· would be 45 Trump to 190 total.· So how do did know
18· that something terrible happened in Atlanta?
19· · · · · · Well, there would be sets of precincts,
20· we'll call them elementary schools where exact
21· discrete integer ratios because votes are supposed to
22· be integers, right?· They would appear for Trump to
23· the total.· So let's say Trump would get 40 out of
24· every one hundred votes exactly, and this would
25· happen in several precincts at once.· So imagine


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·1· every elementary school within 20 miles of where you
·2· live getting exactly 40 out of one hundred votes,
·3· Trump to total.· Then they would abandon the ratio.
·4· This algorithm would release control of them and let
·5· them continue to tabulate their votes naturally
·6· without anymore interference.· But then another set
·7· of precincts, let's say every library and every
·8· junior high behind you would then pick up the ratio
·9· 40 out of a hundred on the next time series.· And the
10· problem with this is that it's a violation of the
11· density of irreducible fractions in a square which
12· comes from the Euler Totient Function and the sum of
13· the inverse squares.
14· · · · · · So in general, if I had a data set of
15· precincts for an entire county, for an entire city,
16· for many counties in the entire city, the ratio Trump
17· to total in precincts, roughly 60.79 percent of these
18· precincts should have an irreducible ratio.· So
19· reducible would be like 17 to 101, 35 to 71.· These
20· ratios can't be reduced.· They're irreducible, but
21· you can reduce something like 12 out of 24.· That
22· reduces to one half, or eight out of 24 which would
23· be one third.· But in general, if I have an entire
24· data set, 60.79 percent of those ratios throughout
25· the entire time series should be irreducible.


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·1· · · · · · Now, where do I get this number from.
·2· Well, according to Leonard Euler, one of the greatest
·3· mathematicians that ever lived in the 18th century,
·4· the sum of the inverse squares from the Riemann zeta
·5· function converges on pi squared over six, which
·6· means that the expected density or distribution of
·7· irreducible fractions or data set is the reciprocal,
·8· which is six over pi squared.· Six divided by pi
·9· squared is 60.79 percent.· So if we hypothetically
10· had a set of 20 precincts or 20 elementary schools
11· that have a 40 to one hundred ratio to Trump total.
12· So a statistician says oh, all these elementary
13· schools are going to be 40 percent Trump give or take
14· a half a percent, barely anything.· We'll give him
15· very little margin.· We'll be kind to him.· All
16· right.· So 40 percent Trump, very little margin, and
17· that's it.· And the amount of votes that these
18· precincts can actually receive can be anywhere from
19· as little as 30 votes to as much as 4,000 votes in
20· the data set.· So for all of the ratios or the
21· percentages in this case that come out to exactly
22· 40.000 percent, or Trump gets exactly four out of ten
23· votes in each precinct.· It's absurd.
24· · · · · · All right.· So let's take a look.· This is
25· coming off my spreadsheet here for Atlanta.· And the


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·1· 5.555 percent for Trump, which is the one to 18
·2· ratio, four to 72 has a magnitude of 16 because it
·3· appeared in 16 different precincts over a time
·4· series.· And as you can see, when any of these
·5· precincts would pick this ratio up and then abandon
·6· it, another set of precincts would pick up this
·7· ratio.· So as this precinct abandons it, precinct
·8· 10J, these two precincts inherit it, and then this
·9· abandons the ratio and this inherits it and this
10· inherits it, then these two inherit it, no these two
11· inherit it, and so on.· that's not the only ratio
12· that occurs.
13· · · · · · If you look here is the one to 30 ratio,
14· the six to 66 ratio and so on, one to 11 ratio.· And
15· if you copy and paste the sheet into a single impact
16· you get something that looks like this.· There's
17· actually more.· That's all I was able to fit for this
18· one.· And there is no experiment that I've been able
19· to do where I've been able to either replicate in a
20· simulation or discover a train of ratios transfers in
21· a ready existing data set like the ones that I see in
22· Georgia.· I can't produce sheets that look like this.
23· · · · · · So why does the algorithm do what it does?
24· Well, it creates what we call virtual precincts in
25· the cloud.· They don't even exist.· They're fake,


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·1· phoney precincts, and these phoney precincts make up
·2· a fake city, a virtual city, sort of a dopple ganger
·3· or a mirror of the actual city.
·4· · · · · · So we're going to take the city of Atlanta.
·5· The bean counters know there's going to be a million
·6· votes in Atlanta, so we're expecting 48 percent
·7· Biden, 52 percent Trump in this hypothetical example.
·8· So they have the real city, and they take 700,000
·9· votes of the original million, and they don't touch
10· them.· They just let them count naturally, normally,
11· 48 percent Biden, 52 percent Trump.· So of this
12· 700,000 votes that aren't manipulated, Biden will get
13· 336,000 and Trump will get 364,000.· But they'll take
14· the other 300,000 total votes of this million and
15· they'll start manipulating.· So if they want Biden to
16· win with 55 percent overall, then they need to flip
17· this at 73 percent Biden and 27 percent Trump.· So
18· they're the going to take this virtual city of
19· 300,000 votes and they're going to split it into four
20· virtual precincts for this hypothetical example, and
21· these virtual precincts will have a ratio of one to
22· ten Trump, one to five Trump, one to three Trump and
23· two to three Trump, and we're going to give these the
24· variables X, Y, Z, T.· We're going to say 300,000
25· equals X plus Y plus Z has plus T.· And let's make it


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·1· so that Trump gets 33 percent of these votes, and now
·2· we use these ratios.· We say a hundred thousand
·3· equals X over 10 plus Y over five plus Z over three
·4· plus 2T over 3.· And one of the positive integer
·5· solutions of many to this system of equations is X is
·6· equal to 90,500, Y is equal to 40,205, Z equals this
·7· number here under my cursor and T equals this.· So if
·8· you put 90,000 in here and 40,000 in here and 89,000
·9· ballots in this precinct and 79,000 ballots in this
10· precinct at those ratios, then you'll get 300,000
11· total and a hundred thousand for Trump.· It's
12· predetermined.· it's a predetermined aggregate.
13· · · · · · And now when you go combine these, Trump
14· would be 364,000 for natural set plus a hundred
15· thousand, so he gets 464,000, and then Biden gets
16· 336,000 plus 200,000.· That's 536,000.· So Trump
17· would get that 46.4 percent of the vote and Biden
18· would get 53.6 percent in this example.· So we're
19· going to take a look at how this process works and
20· how we end up with this image here.
21· · · · · · And we're going to look at the second
22· virtual precinct has a one to five ratio that
23· requires 40,285 ballots, and the algorithm we'll see
24· is three elementary schools, okay.· They'll have a
25· total of ten thousand votes between them, three


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·1· thousand plus four thousand plus three thousand.· So
·2· Trump will get two thousand out of these ten thousand
·3· combined votes.· So now you've fed ten thousand
·4· ballots into the second virtual precinct, and then it
·5· will release these into a trove, and it will let them
·6· go on their own without any further manipulation.
·7· And we'll pick these up.· This will be another
·8· elementary school.· These will have another 10,000
·9· votes between them.· So Trump will get two thousand
10· out of these ten thousand votes, which is one to
11· five, 20 percent Trump.· And now you've fed a grand
12· total of 20,000 ballot into this virtual precinct.
13· Then it will release control and maybe takes control
14· of a stadium, high school, church, and these add up
15· to 20,285 votes.· Of course, there's an inequality
16· than the actual algorithm.· It doesn't have to be
17· that exact, but pretty much.· You'll get what you
18· need, and now you'll have fed a total of 40,285 votes
19· into this virtual precinct.· Now you've satisfied
20· this ratio, and you've managed to flip a total of
21· 40,285 ballots into only 8,057 for Trump.· That's how
22· you flip votes.
23· · · · · · When the algorithm was running in the 371
24· precincts in Atlanta we seized, you see Trump was only
25· gettin 14.65 percent of the vote.· But when the algorithm


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·1· stopped operating, Trump started to receive
·2· 23.57 percent of the vote in all these precincts.
·3· · · · · · So to get this drastic of a difference
·4· before and after the application is out defies any
·5· explain that I can come up with.· Good luck and God
·6· bless America.
·7· · · · · · ·(End of recording.)
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·3· · · · · · · · · ·CERTIFICATE OF REPORTER

·4

·5· · · · · · I, Charlotte Crandall, certify that I was

·6· authorized to and did transcribe the foregoing audio

·7· recorded proceedings and that the transcript is a

·8· true and complete record of my stenographic notes

·9· from an audio recording and was transcribed to the

10· best of my ability.

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12· · · · · · Dated this 6th day of August, 2021.

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23· Transcribed by:
24· Charlotte Crandall
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·1· · · · · · EDWARD SOLOMON:· Okay, guys.· I have all the
·2· data from Philadelphia, all the tabulations done over
·3· time for the entire week after election day and I have
·4· discovered the way Dominion actually distributes the
·5· votes, and it transfers -- it does fraction magic, which
·6· I'm sure many of you heard about it already, but
·7· actually transfers fractions between precincts.
·8· · · · · · So this here, this is the original data for
·9· the New York Times data feed.· You'll see this starts
10· on November 4th at 3:00 in the morning, 4:00 in the
11· morning.· That's when everything went crazy,
12· remember?· And you see you'll get dates all the way
13· up to this is November 7th, and somewhere in here
14· it's like November 9th, so it's like an entire week
15· of data, every time stamp of every tabulation for the
16· total votes, the Biden votes and Trump's votes.
17· · · · · · Now, Biden's votes and Trump's votes don't
18· always add up to the total because you have a third
19· party candidate, and I discovered that the fraction
20· logic, what it does is it sets a specific number of
21· votes that Trump is allowed to get an integer out of
22· a total number of votes, and then it puts a minimum
23· on Biden, and then the remainder can be split evenly
24· between the third party candidate or to Biden.
25· · · · · · So I took only Philadelphia, only


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·1· Philadelphia's time stamps, and then I sorted them by
·2· the -- it's called the major ratio.· The major ratio
·3· is Trump's votes divided by the total votes, okay.
·4· · · · · · The second way, it was sorted after the
·5· major ratio.· The second priority was the date and
·6· time and then by the precinct.· Hold on one second.
·7· · · · · · Okay.· So I found a lot of irregularities.
·8· I'm only going to show you nine exhibits of these
·9· irregularities, but there's hundreds and hundreds of
10· them just on the day of November 4th.· So this data
11· is only Philadelphia's data on the day of
12· November 4th.
13· · · · · · See, this says 11:04.· It's all
14· November 4th.· Now, there's 90,000 rows.· There's
15· 90,000 entries for November 4th for Philadelphia.
16· And before I get into the Dominion vote switching,
17· let's just look at something that's statistically
18· very strange even in this sheet.
19· · · · · · So remember there's 90,000 rows, and it's
20· not until row 40,000, that's half the sheet, until
21· Trump even receives ten percent of the votes in the
22· precincts.· It's not until row 60 something thousand,
23· 65, 63 thousand until Trump starts to get a quarter
24· of the votes.· We're already two-thirds down the
25· sheet.


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·1· · · · · · Trump doesn't get a third of the votes
·2· until row 70,000.· He doesn't even start getting
·3· 50 percent of the votes until near the end, around
·4· 80,000.· And then row 80,000 to 90,000, the last ten
·5· thousand rows are the only entries where Trump
·6· receives more votes than Biden, and by very, very
·7· little.
·8· · · · · · So we're going to look at some particular
·9· exhibits here of the shenanigans that I found, and
10· this is how I finally figured out how Dominion works.
11· So Exhibit one, this starts on row 32,249.· Sorry.
12· It starts s on row 8,300.· This is the first exhibit.
13· November 4th, Philadelphia.
14· · · · · · So four precincts at 3:00 in the afternoon,
15· they report a ratio of one to 48.· So Trump gets one
16· vote exactly for every 48 votes.· That's this right
17· here.· So now that's possible.
18· · · · · · So at first there's nothing weird about
19· that.· You have four precincts that reported.· What
20· makes it weird is that this ratio of one to 48, when
21· it stops because it eventually should stop, and it
22· stops at 10:00 -- it stops at 8:00 in the afternoon,
23· 8:00 p.m.· The original precincts that this ratio,
24· one to 48 were occurring in, which is precincts
25· 06-13, 50-18, 50-26 and 59-23, it transfers that


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·1· ratio one to 48 to precincts 17-06 and 28-16, and the
·2· difference in time is less than five minutes.· So
·3· we're to believe that these four precincts that held
·4· this ratio for many hours, which is normal because
·5· that means they didn't update the tabulation yet.
·6· When they finally update near the end of the hour,
·7· 8:00, the exact same ratio appears in two more
·8· districts.
·9· · · · · · Now, if this was the only example on the
10· whole spreadsheet of this happening with this very
11· short time interval then I wouldn't be making this
12· video.· So now we're going the look at another
13· exhibit here, and this one is really, really
14· suspicious.
15· · · · · · We see at 7:00 in the morning precincts
16· 12-04, 12-08 and 60-13 report they have a one to 18
17· ratio.· So Trump gets one vote exactly for every 18
18· votes here, exactly.· It's not even a fraction.· So
19· that's at 7:00 in the morning.
20· · · · · · At 9:00 in the morning these original three
21· precincts, 12-08, 12-04, 60-13, that ratio gets
22· transferred in the same hour to these three
23· precincts, so basically on the next global update
24· city wide.· It transfers to precincts 13-23, 30-06,
25· 51-07, so that's at 9:00, 9:30.· That stays that way


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·1· until 2:00, 2:30.· Then these three precincts within
·2· a ten-minute time, so this is the global update,
·3· okay.· What updates globally, the whole Dominion
·4· software across the entire city, it transfers that
·5· one to 48 ratio from these three precincts into
·6· 12-16, into district 12-16.
·7· · · · · · Now, if there was many hours between this
·8· same ratio occurring there would be nothing
·9· suspicious.· You're going to have a ratio of one to
10· 48 occur multiple times, but they shouldn't be within
11· ten minutes of each other or generally within the
12· same hour.· That's what makes this suspicious.
13· · · · · · So now precinct 12-16 holds that ratio
14· until 10:00 at night, and it transfers it within the
15· same five-minute interval to precinct 47-10.· What
16· would have been more normal, for instance, is if
17· precinct 47-10 got the same ratio earlier in the day,
18· and then both of those precincts were reporting that
19· number, meaning that this one hadn't updated.· But
20· since what you see here is almost no time difference
21· between these two precincts reporting the same ratio,
22· so it actually transferred the fraction one to 18,
23· one vote per 18 votes Trump to the total to this
24· precinct 47-10 at around 10:00, and then stayed that
25· way until midnight.· And wait until tomorrow I'm


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·1· going to analyze this not for just for November 4th
·2· but for every day of the week.· I'm going to find all
·3· the examples, by the way.· That's Exhibit 3.               I
·4· thought I had two exhibits there.· I did, which is up
·5· here.
·6· · · · · · This is the third exhibit, so this is a
·7· ratio of four to 65.· Four to 65 for the greatest
·8· common factor of the denominator, which is the total
·9· votes which is 13.· We see that precinct 20-066 at
10· 7:00 in the morning holds that ratio.· Then on the
11· next update it transfers it to precincts 20 -- I
12· should put this in gray.· It transfers that ratio
13· simultaneously of four to 65, which is very unusual
14· because of the prime number 13, the denominator, to
15· four different precincts.· · ·So at 7:00 it starts
16· with that, which is fine.· You have to start with
17· something, but then it transfers that ratio all at
18· the same time to these four precincts.
19· · · · · · Let's look at Exhibit 4.· Exhibit 4 the
20· ratio is three to 48, and we see that precinct 34-17
21· holds this ratio from 7:00 in the morning until 9:00,
22· and then at 9:30, this seems to be the theme, it
23· switches around 9:30, right.· It starts at 7, 00 and
24· then -- the ratio starts at 7:00 if you go back in
25· the video and listen, and then the next switch


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·1· happens at 9:00 to 9:30.· So it transfers the ratio
·2· three to 48.· That means Trump gets three votes for
·3· every 48 total from precincts 34-17 to precincts
·4· 11-12 and 36-36.· Then at 3:00 it transfers that
·5· ratio from 11-12 and precincts 36-36 within the same
·6· global tick of the whole city, about ten minutes, to
·7· precincts 16-08 and 20-05.
·8· · · · · · Then at 10:00 at night precinct 60-01 gets
·9· added to this ratio.· Now that's actually not
10· suspicious believe it or not.· That's actually a good
11· thing.· That works in the favor of our adversaries.
12· Not the whole example here, this whole exhibit, just
13· this part of the exhibit.· So that means that
14· precinct 60-01 got this ratio of three to 48 towards
15· the end of the night, and then it got lumped in with
16· the other two precincts, so no transfer has occurred
17· yet.· We just added a precinct.· So it's perfectly
18· fine for this extra precinct to come in in the middle
19· of nowhere with that ratio.
20· · · · · · If you go over to the global sheet since,
21· you know, most of it is okay.· That's generally what
22· you see for these things.· So we give precinct 60-01
23· the benefit of the doubt until, until we notice that
24· all three of those precincts, 16-08, 20-05 and 60-01
25· simultaneously stop reporting that ratio at the exact


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·1· same time, and that's near the end of the hour at
·2· 10:00, and then it transfers that ratio to the
·3· precincts 43-09 and 52-14 and it stays that way until
·4· midnight.· So we started with 60-01 having the
·5· benefit of the doubt of being the only legitimate
·6· entry in this fraudulent exhibit, and then it turns
·7· out that it's actually part of the fraud.· That's
·8· sad.· Okay.
·9· · · · · · Let's go to the next exhibit.· Again we
10· start at 7:00 in the morning.· We have a ratio of
11· four to 63.· The greatest common factor of all these
12· columns is 63.· That's just really weird.· Anyway, so
13· we have this -- that means here again Trump here is
14· getting four votes for every 63 total votes.· So at
15· 7:00 we start, and then again at this 9:00 to 9:30
16· you have this global update, and it transfers this
17· ratio to these two precincts.· So from 61-11 that
18· holds the original ratio, four to 63, it transfers to
19· 13-05 and precinct 60-22 -- 61-22.· 13-05 and 61-22.
20· · · · · · Now again, if this was the only example of
21· this happening it wouldn't be that suspicious.· We
22· don't see this ratio transferred multiple times like
23· we did in the other exhibits, so it's possible this
24· one is legitimate.· This may not be fraudulent.· It
25· could just be a weird occurrence.· So we'll give them


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·1· the benefit of the doubt on that one, but it's weird.
·2· All right.
·3· · · · · · So exhibit -- this is the sixth exhibit,
·4· and we get this ratio of five to 31, which is
·5· something a computer would do because it's a prime
·6· number to a prime number.· And by the way, all these
·7· columns total, they can all be divided by 31.· So we
·8· get to precincts 13 and 38 start with this ratio of
·9· five to 31 at 7:00 in the morning, and then there is
10· a jump of many, many hours which is good, like it's a
11· good thing, means there's no fraud occurring.· So we
12· can say that these entries, these here is actually
13· not fraudulent.· But then we continue to analyze it
14· for county -- for district No. 01-17 starting at
15· 3:00 in the afternoon.
16· · · · · · Now, I notice that this ratio transfers, so
17· this is district 01-17.· It transfers to districts
18· 36-09 and 37-10 within the same five-minute slot.
19· This is a -- it's near the end of 8:00 in the
20· evening.· This seems to be a very common time when
21· the global update happens in the other exhibits, so
22· that looks pretty suspicious but it's still
23· plausible.· It could technically happen.
24· · · · · · So these exhibits here, Exhibit 2 was an
25· example of something that absolutely cannot happen if


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·1· we go back for a moment.· You can't have that many
·2· transfers within minutes of each other or within the
·3· same hour of the same ratio.· That just can't happen.
·4· · · · · · Okay.· Sheet three.· Let's take a look up
·5· here.· This is the ratio of one to five.· So what I
·6· did was I just scrolled until I got to 20 percent
·7· because I wanted to make this video while I was still
·8· young.· So I went to 20 percent, which is a ratio I
·9· wanted to see what happened at that time, and we see
10· that precinct 05-30 reports a split of one to five,
11· so one vote for Trump for every vote overall.· And at
12· 9:30 that ratio is transferred to precinct 01-05,
13· 05-13, 05-24 and 19-02, and then it's transferred
14· again at 3:00 to precincts 25-16 and 36-29.· And it's
15· transferred again at 10:00 at night to precinct
16· 48-18.· Very strange.· To me that's fraud.· That's
17· like Exhibit 2.· So Exhibit 2 and Exhibit 9 are the
18· strongest examples so far in this video of things
19· that just can't happen.· And I actually went looking
20· for it.· I said what happened at 20 percent in the
21· big sheet and I found fraud.· And in general it's not
22· like it was hard for me to find these examples.               I
23· literally just went like eeny, meeny, miny, mo, catch
24· a tiger by the toe and stopped, and then would find a
25· bunch of numbers like here is 46 to 46.· You saw me


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·1· do this randomly in the video and you just see all
·2· these examples of ratios being transferred within
·3· minutes of each other to different precincts.
·4· · · · · · So here's one to six.· That's 1.6
·5· repeating.· Before I go to the next exhibits let me
·6· show you.· Okay.· So that starts sat 7:00 in the
·7· morning.· Let's just do an example.
·8· · · · · · So this is the ratio one to six, right.· So
·9· let's see if the -- so let's copy this.· I'm just
10· going to do an example live.· Oh, look.· I don't even
11· have a ninth exhibit, so you know what, it's a good
12· thing we're doing this live because I wouldn't have
13· had a ninth exhibit to show you.
14· · · · · · So let's look at what's funny here.· So
15· this is when the ratio is one to six.· I assume the
16· common denominator here is six.· I'm just trying to
17· see if I can get something better out of it.· Well, I
18· don't have time to figure that out.· This is the
19· actual video right now.· So let's see, 07-20, 15-40,
20· 21 -- when does seven repeat.· Right here.· So it's
21· five precincts.· Get this ratio at 7:00 in the
22· morning seven to 40.· So it switched here somewhere.
23· So this is the first block.· The transfer happens
24· here.· It's too dark for the video.· So this transfer
25· happens at 9:00 in the morning at 9:30 to these two


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·1· precincts.· Again, it's that same time stamp of
·2· 9:00 to 9:30, around the time of the global update.
·3· 19-10, 19-10.· Here it is.
·4· · · · · · Here is the next transfer, this ratio of
·5· one to six.· We still didn't do Exhibit 8 yet.· We'll
·6· go back to Exhibit 8.· Exhibit 9 is a wide exhibit.
·7· you can see it's not very hard for me to find these
·8· things.· It's too dark.
·9· · · · · · So this is at the 3:00.· That's 15:00.
10· 15:00 is 3:00.· This is ten minutes later.· So it
11· transferred this ratio again from precincts 19-10,
12· 40, 42-23 to 17-17 and 23-03, 19 -- and 62-66, okay.
13· So this is three precincts it transferred to.· So it
14· transfers it from two precincts to three precincts.
15· Pretty sure that will go to the end.· That would be
16· scary.· Oh, my God.· It keeps transferring.· 07-62 is
17· what I'm looking for.· That's clever too.· They try
18· to hide it.· So watch this.· I just found like
19· another funny way to do this, to hide it from you.
20· · · · · · So this is precinct 07-17, 23-03 and 62-06.
21· These are the ones that received the transfer from
22· these two precincts, and that goes on until 10:40,
23· and then on that global reset in the previous
24· exhibits, about five minutes later at 10:47 transfers
25· them to this precinct, 62-26.· Notice how close that


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·1· is to number 62-06.· I'm pretty sure that's done
·2· deliberately to confuse somebody visually because I
·3· almost overlooked that transfer.
·4· · · · · · So there's a live example I just did for
·5· you.· I really just went to somewhere randomly in the
·6· sheet sort of because I was kind of looking for the
·7· fraction one over six, but almost random.· If I
·8· wanted to, I don't have time in the video, I could
·9· literally just stop this scroll bar in the big data
10· set just anywhere and just find an example, like
11· 38.78, this fraction here.· 173, I'm pretty sure
12· that's a prime number.· 449.· That's a prime number.
13· What this hell.· How does that happen.· It better be
14· the same precinct the whole way through.· Okay.· At
15· least it's the same precinct, so that's fine.
16· · · · · · But you can find examples of the same ratio
17· occurring in multiple precincts pretty much anywhere
18· just by dropping your cursor in the middle of the
19· sheet somewhere.· We'll go back to Exhibit 8.
20· Anyway.· Let's go back to Exhibit 8.· That wasn't
21· covered yet.
22· · · · · · So we have here a ratio of one to four, so
23· that means the major ratio is 25, so Trump gets one
24· vote to every four total.· We see that's reported at
25· 7:00 in the morning from precincts 01-02, 15-17,


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·1· 2309, 45-13, 62-15 at 7:00 in the morning
·2· November 4th.
·3· · · · · · That ratio persists until 8, 00 about an
·4· hour, until 9:00.· Remember, at 9:06, 9:10 is when
·5· this transfer keeps happening, and it you transfers
·6· that ratio of one to four to Philadelphia district
·7· 02-01.· Pretty weird.· Then at 3:00, it -- let me
·8· see.· Let me make sure.· So there's a five-hour jump
·9· from here to here, which is a good thing.· That means
10· it wasn't transferred to another precinct
11· immediately.· Okay.· Sorry about that.
12· · · · · · Let's take a look here.· So this is
13· actually -- this is probably clean because one to
14· four isn't that hard of a ratio to get.· So Exhibit 8
15· is something that's plausible.· I definitely wouldn't
16· bring this one to court.· But the last exhibit that
17· we did here, Exhibit 9 -- I had to take care of a
18· microwave there.
19· · · · · · So the last Exhibit we did at random,
20· Exhibit 7 was pretty bad, especially since the ratio
21· was weird, three to 48, Exhibit 4.· I'm going to have
22· to cut this part of the video.
23· · · · · · Hey, I'm back.· I had to cut part of the
24· video.· Some things happened at home.· Okay.
25· · · · · · So let me explain how I think this whole


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·1· system works.· So let's just take the ratios we see
·2· here.· I'm going to write them down.· One to 48, one
·3· to 18, four to 65, three to 48, very strange ratio,
·4· four to 63, five to 31, four to 63, five to 31.· The
·5· last ratios are one to five, one to four, one to six.
·6· Now, a couple of these exhibits were plausible, but
·7· for the sake of this example how I think it works,
·8· we're just going to say that they were all
·9· fraudulent.· Okay.
10· · · · · · So this is how I think it works.· Get rid
11· of all this.· I think Dominion needs a certain amount
12· of votes it needs to flip.· Total amount to flip,
13· okay.· Now, let's say that it needs to flip them at
14· the ratio, because Trump has such a huge margin,
15· let's say that it needs to flip them -- they need to
16· make sure that Biden gets about 66 votes to every 33
17· votes that Trump gets with one vote left over for a
18· third party candidate, or it just can be added to
19· Biden and what it does, it just splits into blocks,
20· these fractional blocks.
21· · · · · · What was there, nine?· So let's see if
22· there's nine exhibits.· One, two, three, four, five,
23· six, seven.· Now there's more obviously in this
24· gigantic sheets, these oddities happen many, many
25· times.· There are many more exhibits, hundreds of


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·1· exhibits in here I would imagine where you have
·2· ratios being transferred.· But for the sake of my
·3· theory we're just going to pretend these are the only
·4· ratios that got transferred on November 4th.
·5· · · · · · So it says we're going to take a certain
·6· ratio.· So this box will have one to 48 ratio of
·7· ballots.· I'm just going to kind of make the numbers
·8· up because I don't want to keep going back to the
·9· machine.· Too much.· Four to 65.· So X equal the
10· total amount to flip.· Actually, we'll just read them
11· off.· Three to 48, four to 63, and this wouldn't be
12· very hard for a computer to do.· Four to 63, five to
13· 31.· I purposefully didn't want to make them the same
14· size.· I just sort of dragged the cursor because
15· they're not then the same size in reality either.
16· One to six, one to five, one to four.
17· · · · · · So what I think it does, I'm pretty sure
18· this is what it does.· I'm going to take the total
19· amount of votes that needs to be flipped and I'm
20· going to separate them like this.· So it will split
21· the X into nine parts that it needs.· So let's just
22· say to make up the amount, Biden needs a hundred
23· thousand votes.· He needs 200,000 votes and Trump
24· needs a 100,000 votes.· This is how we need to change
25· the margins.


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·1· · · · · · So it redistribute the number 200,000 and
·2· 100,000 into these boxes in accordance to these nine
·3· ratios, and in order -- okay.· So what it does then,
·4· and this is where it gets really sadistic.· It then
·5· says I'm going to -- we're going to take one of
·6· these -- we'll do two of these boxes.· It· says for
·7· the box one to 48, we're going to split that into
·8· let's say three precincts.· We'll do the four to 65
·9· because that's like the weirdest number.
10· · · · · · So this is what Dominion does.· It says I'm
11· going to split this into three precincts.· To change
12· the amount of votes that come in, and then when
13· there's a global update, since I don't want to look
14· suspicious, so I'm going to transfer the workload of
15· this ratio, four to 65, to two other precincts.· So
16· it goes from three precincts to two, and then it
17· transfers a ratio again.· So this is time going down.
18· It says okay, well, we still don't have as many votes
19· here as we need, so we'll transfer it to two more
20· precincts.· The amount of precincts it transfers to
21· is irrelevant, so I'm going to transfer this ratio to
22· these two precincts.· Then I'm going to transfer it
23· to, we'll do one more branch, let's say to three new
24· precincts.· So these branches are what's happening
25· over time.


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·1· · · · · · So it passes it through all these -- it
·2· transfers these ratios to these precincts, these sets
·3· of precincts over time.· So let's say -- so four to
·4· 65 means Trump needs -- we take that number, 100,000,
·5· right, four to 65.· Four divided by 65, I have a
·6· hand-held calculator in front of me, so 16 percent,
·7· so times a hundred thousand.· So the computer knows
·8· it needs to get in total 6,153 -- not exactly sure
·9· how that works there.· Let me take a look.· Oh, I
10· see.· Four parts to 65.· It wouldn't be That
11· complicated, but it's going to distribute it, so we
12· just have to make up a number here that's four to 65,
13· so let's just multiply it by 50.· So we need to get
14· 200 votes for Trump in this box here, and it needs to
15· get 3200 votes for Biden because that's the ratio.
16· So that's what Dominion is trying to get into this
17· overall red box of four to 65.· That's just a
18· hypothetical.· And when the votes finally add up in a
19· way to where Trump gets 200 total over time, when
20· Trump hits around 200 votes and Biden hits around
21· 3200 votes, it then stops that ratio.· It doesn't
22· need that proportion anymore because it built this
23· ratio of 4-65 for all the votes that it needed, and
24· then this box would now be satisfied.· So now it's
25· satisfied and doesn't need that proportion anymore.


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·1· · · · · · So again, let's go over how I think this
·2· works.· So you need a total amount of votes you need
·3· to flip for Biden to take out Trump's margin.· So
·4· just say hypothetically he needs 200,000 votes for
·5· every 100,000 votes that Trump gets to overtake his
·6· margin, and it splits that into these random, pretty
·7· much random integer ratios.· That's what makes it so
·8· suspicious, right.· It's not like -- I mean,
·9· technically they're all going to be integer ratios,
10· but like these types of ratios.· I don't know how
11· else to explain it.· It's not like you're getting a
12· lot of prime numbers, right.· If I did the prime
13· number theorem, right, a percentage of these numbers
14· should be prime in this T column, and they're not.
15· I'm not counting the repetitions when they don't
16· update.· So if we took all the unique denominators
17· and we said how many of these are prime numbers, I
18· bet we would get less prime numbers than we're
19· supposed to, okay.
20· · · · · · Oh, that's for another video.· So let's go
21· back here.· So, okay.· So it takes this thing and
22· then it I splits it into many, many different of
23· these red boxes, right, that's how the algorithm
24· works of all these ratios.· And then what it does is
25· it assigns that ratio to several precincts.· And in


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·1· order to hide the shenanigans it transfers that ratio
·2· to different sets of precincts throughout the day,
·3· and once the number is reached that it wants it stops
·4· transferring that number.· Now, I don't know how true
·5· that is because this only goes to November 4th.
·6· Well, I know that's true, and then -- but this -- my
·7· data sheet goes out to the 9th or the 10th or maybe
·8· even the 11th.· So I'm pretty sure, I wouldn't doubt
·9· if we see the ratio four to 65 occur from not just on
10· November 4th, but all the way until the end of the
11· counting of tabulations.· I wouldn't doubt it, and it
12· just keeps transferring this number to multiple
13· precincts, and many other ratios as well with little
14· to no time between the jumps.· So that's how I think
15· this fraction magic actually words.· So the magic
16· occurs right here.· And then it hides its own paper
17· trail, so to speak, by switching it between the
18· precincts.· And even being so clever as we saw in the
19· last exhibit I did live to sometimes to transfer it
20· to precincts that almost have the same number.· So
21· 62-06 to 62-26.· So any human being like you and me
22· going over data might not even notice the transfer.
23· So that's my theory on how Dominion is working and
24· how it's flipping votes.
25· · · · · · So it's not just taking every precinct and


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·1· applying one ratio to it.· It's taking multiple sets
·2· of precincts and applying multiple ratios such that
·3· when they all come back to a certain number they add
·4· up to the total number that is required to flip the
·5· margin.
·6· · · · · · So that's the end of the video.              I
·7· apologize for stuff going on in the kitchen and --
·8· well, that's it.· I'm going to upload all the files
·9· so you guys can check it yourself so you know I
10· didn't fabricate this data for some political agenda.
11· I just took the data straight off the New York Times
12· feed.
13· · · · · · Like I said, when you get the file what
14· you're going to do is you're going to sort it by --
15· you want to sort it first -- you want to sort it by
16· time, the initial file, and then by the locality and
17· then by the precinct.· Then you'll put that -- you'll
18· copy and paste the dates you want.· So let's say you
19· want all of Philadelphia on November 4th.· That's the
20· second one you want after you sort it into a new
21· spreadsheet, and you're going to create the ray
22· (phonetic) formula that divides Trumps votes by the
23· total vote.· Then you're going to resort the data
24· again by that major ratio that you entered, then by
25· the date and time, and then by the precinct, and


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·1· that's how you get this information the same way I
·2· got it.· All right.· I'm going to close the video and
·3· start uploading.
·4· · · · · · (End of recording.)
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·2· · · · · · · · · ·CERTIFICATE OF REPORTER

·3

·4· · · · · · I, Charlotte Crandall, certify that I was

·5· authorized to and did transcribe the foregoing audio

·6· recorded proceedings and that the transcript is a

·7· true and complete record of my stenographic notes

·8· from an audio recording and was transcribed to the

·9· best of my ability.

10

11· · · · · · Dated this 6th day of August, 2021.

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17· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
18· · · · · · · · · · · Registered Professional Reporter

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